Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 1 of 441 PageID: 3996



  James E. Cecchi
  CARELLA, BYRNE, CECCHI,
  OLSTEIN, BRODY & AGNELLO, P.C.
  5 Becker Farm Road
  Roseland, New Jersey 07068
  Tel: (973) 994-1700
  Fax: (973) 994-1744

  Steve W. Berman
  Sean R. Matt
  HAGENS BERMAN SOBOL SHAPIRO LLP
  1301 Second Avenue, Suite 2000
  Seattle, Washington 98101
  Tel: (206) 623-7292
  Fax: (206) 623-0594
  steve@hbsslaw.com
  sean@hbsslaw.com

  Interim Lead Counsel for Plaintiffs and the Proposed Classes

  [Other counsel appear on the signature page]

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

  SUSAN ALBERS, DAVID I. ASHCRAFT, JIMMY                   Civil Action No. 16-881(JLL)(JAD
  BIRD, KEITH CANIERO, LARS DANNBERG,
  ANDREW DEUTSCH, SEID DILGISIC, WENDELL
  DINGLE, JEFF FINDLAY, GUSTAVO FRAGA-
  ERRECART, TERRENCE GARMEY, ROBERT
  GERSHBERG, KEITH HALL, BOBBY HAMILTON,
  FREDDIE T. HOLBROOK, MELANIE JOHNSON,
  SHELBY A. JORDAN, TIFFANY KNIGHT,
  ZBIGNIEW KURZAWA , JOHN LAURINO,                         FIFTH CONSOLIDATED AND
  CAROLINE A. LEDLIE, WALTER LOUIS, JR.,                   AMENDED CLASS ACTION
  JOHN LINGUA, ULYANA LYNEVYCH, MICHAEL                    COMPLAINT AND DEMAND
  MEDLER, MARYANA MELNYK, VINCENT                          FOR JURY TRIAL
  MINERVA, SCOTT MORGAN, CATHERINE
  ROBERTS, DR., ADRIAN CLIVE ROBERTS,
  RANDOLPH ROLLE, JORGE SALVADOR
  SERVIN, JANICE SHEEHY,




  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 2 of 441 PageID: 3997



  CRAIG THORSON, ROBERT TREPPER, THOMAS
  WEISS, CHARLES WOLFORD, RICHARD
  YANUS, and HASSAN ZAVAREEI on behalf of
  themselves and all others similarly situated,

                                Plaintiffs,
           v.

  MERCEDES-BENZ USA, LLC, a Delaware Limited
  Liability Company, DAIMLER AG, a foreign
  corporation, ROBERT BOSCH LLC, a Delaware
  Limited Liability Company, and ROBERT BOSCH
  GMBH, a foreign corporation,

                             Defendants.




  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 3 of 441 PageID: 3998



                                                         TABLE OF CONTENTS
                                                                                                                                                 Page

               INTRODUCTION ............................................................................................................. 1 

               JURISDICTION ................................................................................................................ 9 

               VENUE .............................................................................................................................. 9 

               PARTIES ........................................................................................................................... 9 

               A.         Plaintiffs ................................................................................................................. 9 

                          1.         New Jersey Plaintiff ................................................................................. 10 

                          2.         Alabama Plaintiff ..................................................................................... 11 

                          3.         California Plaintiffs .................................................................................. 12 

                          4.         Colorado Plaintiffs ................................................................................... 16 

                          5.         Connecticut Plaintiff ................................................................................ 19 

                          6.         Georgia Plaintiff....................................................................................... 20 

                          7.         Idaho Plaintiff .......................................................................................... 22 

                          8.         Illinois Plaintiff ........................................................................................ 23 

                          9.         Indiana Plaintiff ....................................................................................... 25 

                          10.        Maryland Plaintiffs .................................................................................. 26 

                          11.        Massachusetts Plaintiff ............................................................................ 30 

                          12.        Minnesota Plaintiff................................................................................... 32 

                          13.        Mississippi Plaintiff ................................................................................. 34 

                          14.        Missouri Plaintiff ..................................................................................... 35 

                          15.        Nevada Plaintiff ....................................................................................... 36 

                          16.        New York Plaintiffs ................................................................................. 37 

                          17.        North Carolina Plaintiffs .......................................................................... 40 

                          18.        Ohio Plaintiff ........................................................................................... 44 




                                                                           -i-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 4 of 441 PageID: 3999



                    19.        Pennsylvania Plaintiff .............................................................................. 45 

                    20.        South Carolina Plaintiff ........................................................................... 46 

                    21.        Texas Plaintiffs ........................................................................................ 47 

                    22.        Utah Plaintiffs .......................................................................................... 50 

                    23.        Virginia Plaintiffs..................................................................................... 53 

                    24.        Washington Plaintiffs............................................................................... 54 

                    25.        West Virginia Plaintiffs ........................................................................... 58 

                    26.        Wisconsin Plaintiffs ................................................................................. 60 

           B.       Defendants ........................................................................................................... 62 

                    1.         The Mercedes Defendants........................................................................ 62 

                    2.         Daimler AG. ............................................................................................. 63 

                    3.         The Bosch Defendants. ............................................................................ 65 

           FACTUAL ALLEGATIONS .......................................................................................... 72 

           A.       The environmental challenges posed by diesel engines and the
                    United States regulatory response thereto............................................................ 72 

                    1.         The BlueTEC technology. ....................................................................... 74 

                    2.         The Mercedes and Daimler deception by omission. ................................ 76 

                    3.         European studies and reports. .................................................................. 78 

                    4.         Plaintiffs’ testing of BlueTEC Clean Diesels in the United
                               States. ....................................................................................................... 85 

                    5.         2014 GLK250 BlueTEC. ......................................................................... 94 

                    6.         2012 R350 BlueTEC. ............................................................................. 109 

                    7.         2014 Mercedes/Freightliner Sprinter 2500 BlueTEC. ........................... 120 

                    8.         Summary. ............................................................................................... 134 

                    9.         Bosch’s critical role in Mercedes’ Emissions Scheme. ......................... 140 




                                                                    - ii -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 5 of 441 PageID: 4000



           B.       Bosch played a critical role in the defeat device scheme in many
                    diesel vehicles in the U.S., giving rise to a strong inference that
                    Bosch played a key role in implementing the Mercedes emission
                    strategy. .............................................................................................................. 145 

                    1.         Although this case is not about Volkswagen, Bosch’s
                               history with Volkswagen provides background and support
                               for its participation in the RICO enterprise alleged herein,
                               of which Bosch and Mercedes were participants. On
                               information and belief, Plaintiffs allege that the same level
                               of coordination between Bosch and Volkswagen also
                               occurred between Bosch and Mercedes to develop the
                               illegal defeat device. .............................................................................. 145 

                    2.         Volkswagen and Bosch conspire to conceal the illegal
                               “akustikfunktion.” .................................................................................. 149 

                    3.         Volkswagen and Bosch conspire in the U.S. and Germany
                               to elude U.S. regulators who regulated not just
                               Volkswagen diesels, but all diesels. ....................................................... 149 

                    4.         Bosch keeps the emissions cheating secret safe and pushes
                               “clean” diesel in the U.S. as a concept applicable to all
                               diesel car manufacturers. ....................................................................... 150 

                    5.         Bosch’s EDC 17 is at the core of the FCA emission
                               scandal.................................................................................................... 152 

           C.       Mercedes’ material omissions are actionable. ................................................... 154 

           D.       Mercedes’ affirmative misrepresentations of the environmental
                    benefits of the BlueTEC Clean Diesels and Mercedes’ promotion
                    of the environmental benefits of the BlueTEC evidences the
                    materiality of the omissions. .............................................................................. 156 

                    2.         Mercedes advertised and promoted BlueTEC Clean Diesel
                               vehicles as low-emitting, because Mercedes understood it
                               was material to a reasonable consumer .................................................. 157 

           E.       Mercedes advertised and promoted BlueTEC Clean Diesel as
                    environmentally friendly, because Mercedes understood it was
                    material to a reasonable consumer. .................................................................... 160 

           F.       Mercedes advertised and promoted BlueTEC Clean Diesel as
                    meeting and exceeding compliance with U.S. emissions standards
                    in all 50 states, because Mercedes understood it was material to a
                    reasonable consumer. ......................................................................................... 162 



                                                                   - iii -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 6 of 441 PageID: 4001



                 G.         Bosch Promoted “Clean Diesel” To Help Create The Market For
                            Diesel Cars Including Mercedes Vehicles. ........................................................ 162 

                 H.         The damage to the environment is at odds with what a reasonable
                            purchaser of a BlueTEC expected...................................................................... 169 

                 TOLLING OF THE STATUTE OF LIMITATIONS .................................................... 171 

                 A.         Discovery rule tolling. ....................................................................................... 171 

                 B.         Fraudulent concealment tolling.......................................................................... 172 

                 C.         Estoppel.............................................................................................................. 173 

                 CLASS ALLEGATIONS .............................................................................................. 173 

                CLAIMS ........................................................................................................................ 179 

                 A.         Claims brought on behalf of the nationwide RICO class. ................................. 179 

  COUNT I VIOLATIONS OF RACKETEER INFLUENCED AND CORRUPT
      ORGANIZATIONS ACT (RICO) VIOLATION OF 18 U.S.C. § 1962(C)
      - (D) ................................................................................................................................ 179 

                            1.         The members of the emissions fraud enterprise. ................................... 180 

                            2.         The predicate acts. ................................................................................. 188 

                 B.         Claims brought on behalf of the nationwide Unfair and Deceptive
                            Practices Act Class and the New Jersey Subclass under New Jersey
                            law. ..................................................................................................................... 196 

  COUNT I VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
      (N.J.S.A.. §§ 56:8-1, ET SEQ.) ...................................................................................... 196 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON NEW JERSEY
      LAW) ............................................................................................................................. 201 

                 C.         Claims brought on behalf of the Alabama Subclass. ......................................... 206 

  COUNT I VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE
      PRACTICES ACT (ALA. CODE §§ 8-19-1, ET SEQ.)................................................ 206 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON ALABAMA
      LAW) ............................................................................................................................. 210 

                 D.         Claims brought on behalf of the California Subclass. ....................................... 215 




                                                                            - iv -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 7 of 441 PageID: 4002



  COUNT I VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION
      LAW (CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.) ............................................ 215 

  COUNT II VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL
      REMEDIES ACT (CAL. CIV. CODE §§ 1750, ET SEQ.) ........................................... 218 

  COUNT III VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING
      LAW (CAL. BUS. & PROF. CODE §§ 17500, ET SEQ.) ............................................ 222 

  COUNT IV FRAUDULENT CONCEALMENT (BASED ON CALIFORNIA
      LAW) ............................................................................................................................. 224 

            E.         Claims brought on behalf of the Colorado Subclass. ......................................... 229 

  COUNT I VIOLATIONS OF THE COLORADO CONSUMER PROTECTION
      ACT (COLO. REV. STAT. §§ 6-1-101, ET SEQ.) ....................................................... 229 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON COLORADO
      LAW) ............................................................................................................................. 233 

            F.         Claims brought on behalf of the Connecticut Subclass. .................................... 238 

  COUNT I VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE
      PRACTICES ACT (CONN. GEN. STAT. ANN. §§ 42-110A, ET SEQ.) .................... 238 

  COUNT II FRAUDULENT NON-DISCLOSURE (BASED ON
      CONNECTICUT LAW) ................................................................................................ 241 

            G.         Claims brought on behalf of the Georgia Subclass. ........................................... 246 

  COUNT I VIOLATION OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
      (GA. CODE ANN. § 10-1-390, ET SEQ.) ..................................................................... 246 

  COUNT II VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE
      PRACTICES ACT (GA. CODE ANN § 10-1-370 ET SEQ.) ....................................... 250 

  COUNT III FRAUDULENT CONCEALMENT (BASED ON GEORGIA LAW) ................ 250 

            H.         Claims brought on behalf of the Idaho Subclass. .............................................. 256 

  COUNT I VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
      (IDAHO CIV. CODE §§ 48-601, ET SEQ.) .................................................................. 256 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON IDAHO LAW) ....................... 259 

            I.         Claims brought on behalf of the Illinois Subclass. ............................................ 264 




                                                                    -v-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 8 of 441 PageID: 4003



  COUNT I VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND
      DECEPTIVE BUSINESS PRACTICES ACT (815 ILCS 505/1, ET SEQ.
      AND 720 ILCS 295/1A) ................................................................................................ 264 

            J.         Claims brought on behalf of the Indiana Subclass............................................. 272 

  COUNT I VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER
      SALES ACT (IND. CODE § 24-5-0.5-3) ...................................................................... 272 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON INDIANA LAW) .................. 276 

            K.         Claims brought on behalf of the Maryland Subclass. ........................................ 281 

  COUNT I VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION
      ACT (MD. CODE COM. LAW §§ 13-101, ET SEQ.) ................................................. 281 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON MARYLAND
      LAW) ............................................................................................................................. 284 

            L.         Claims brought on behalf of the Massachusetts Subclass. ................................ 289 

  COUNT I VIOLATIONS OF THE MASSACHUSETTS CONSUMER ACT
      (MASS. GEN. LAWS CH. 93A) ................................................................................... 289 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON
      MASSACHUSETTS LAW) .......................................................................................... 293 

            M.         Claims brought on behalf of the Minnesota Subclass. ....................................... 298 

  COUNT I VIOLATION OF THE MINNESOTA PREVENTION OF
      CONSUMER FRAUD ACT (MINN. STAT. § 325F.68, ET SEQ.) ............................. 298 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON MINNESOTA
      LAW) ............................................................................................................................. 301 

            N.         Claims brought on behalf of the Mississippi Subclass. ..................................... 306 

  COUNT I VIOLATIONS OF THE MISSISSIPPI CONSUMER PROTECTION
      ACT (MISS. CODE ANN. §§ 75-24-1, ET SEQ.) ....................................................... 306 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON MISSISSIPPI
      LAW) ............................................................................................................................. 310 

            O.         Claims brought on behalf of the Missouri Subclass. ......................................... 315 

  COUNT I VIOLATIONS OF THE MISSOURI MERCHANDISING
      PRACTICES ACT (MO. REV. STAT. §§ 407.010, ET SEQ.) ..................................... 315 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON MISSOURI LAW) ................ 318 


                                                                    - vi -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 9 of 441 PageID: 4004



            P.         Claims brought on behalf of the Nevada Subclass. ........................................... 323 

  COUNT I VIOLATIONS OF THE NEVADA DECEPTIVE TRADE
      PRACTICES ACT (NEV. REV. STAT. §§ 598.0903, ET SEQ.) ................................. 323 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON NEVADA LAW) ................... 327 

            Q.         Claims brought on behalf of the New York Subclass. ....................................... 332 

  COUNT I VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
      (N.Y. GEN. BUS. LAW § 349) ..................................................................................... 332 

  COUNT II VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 350
      (N.Y. GEN. BUS. LAW § 350) ..................................................................................... 335 

  COUNT III FRAUDULENT CONCEALMENT (BASED ON NEW YORK
      LAW) ............................................................................................................................. 338 

            R.         Claims brought on behalf of the North Carolina Subclass. ............................... 343 

  COUNT I VIOLATIONS OF THE NORTH CAROLINA UNFAIR AND
      DECEPTIVE ACTS AND PRACTICES ACT (N.C. GEN. STAT. §§ 75-
      1.1, ET SEQ.) ................................................................................................................. 343 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON NORTH
      CAROLINA LAW) ....................................................................................................... 346 

            S.         Claims brought on behalf of the Ohio Subclass................................................. 351 

  COUNT I VIOLATIONS OF THE CONSUMER SALES PRACTICES ACT
      (OHIO REV. CODE ANN. §§ 1345.01, ET SEQ.) ....................................................... 351 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON OHIO LAW).......................... 355 

            T.         Claims brought on behalf of the Pennsylvania Subclass. .................................. 360 

  COUNT I VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE
      PRACTICES AND CONSUMER PROTECTION LAW (73 P.S. §§ 201-
      1, ET SEQ.) .................................................................................................................... 360 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON PENNSYLVANIA
      LAW) ............................................................................................................................. 363 

            U.         Claims brought on behalf of the South Carolina Subclass. ............................... 368 

  COUNT I VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE
      PRACTICES ACT (S.C. CODE ANN. §§ 39-5-10, ET SEQ.) ..................................... 368 




                                                                   - vii -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 10 of 441 PageID: 4005



  COUNT II FRAUDULENT CONCEALMENT (BASED ON SOUTH
      CAROLINA LAW) ....................................................................................................... 372 

            V.         Claims brought on behalf of the Texas Subclass ............................................... 376 

  COUNT II FRAUD BY CONCEALMENT (BASED ON TEXAS LAW) ............................. 380 

            W.         Claims brought on behalf of the Utah Subclass. ................................................ 385 

  COUNT I VIOLATIONS OF THE UTAH CONSUMER SALES PRACTICES
      ACT (UTAH CODE ANN. §§ 13-11-1, ET SEQ.)........................................................ 385 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON UTAH LAW) ........................ 389 

            X.         Claims brought on behalf of the Virginia Subclass. .......................................... 394 

  COUNT I VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION
      ACT (VA. CODE ANN. §§ 59.1-196, ET SEQ.) .......................................................... 394 

  COUNT II FRAUD BY CONCEALMENT (UNDER VIRGINIA LAW) .............................. 398 

            Y.         Claims brought on behalf of the Washington Subclass. .................................... 403 

  COUNT I VIOLATION OF THE WASHINGTON CONSUMER
      PROTECTION ACT (WASH. REV. CODE ANN. §§ 19.86.010, ET
      SEQ.) .............................................................................................................................. 403 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON WASHINGTON
      LAW) ............................................................................................................................. 406 

            Z.         Claims brought on behalf of the West Virginia Subclass. ................................. 411 

  COUNT I VIOLATIONS OF THE WEST VIRGINIA CONSUMER CREDIT
      AND PROTECTION ACT (W. VA. CODE §§ 46A-1-101, ET SEQ.) ........................ 411 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON WEST VIRGINIA
      LAW) ............................................................................................................................. 416 

            AA.        Claims brought on behalf of the Wisconsin Subclass. ....................................... 421 

  COUNT I VIOLATIONS OF THE WISCONSIN DECEPTIVE TRADE
      PRACTICES ACT (WIS. STAT. § 110.18) .................................................................. 421 

  COUNT II FRAUDULENT CONCEALMENT (BASED ON WISCONSIN
      LAW) ............................................................................................................................. 424 

  REQUEST FOR RELIEF .......................................................................................................... 429 

  DEMAND FOR JURY TRIAL ................................................................................................. 430


                                                                    - viii -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 11 of 441 PageID: 4006



           Plaintiffs, individually and on behalf of all others similarly situated (the “Class”), allege the

  following based upon the investigation of counsel, the review of scientific papers, and the

  investigation of experts.

                                                INTRODUCTION

           1.       When Mercedes sold its popular BlueTEC “Clean Diesel” vehicles, it promised that

  they convert nitrous oxide emissions into “pure, earth-friendly nitrogen and water,” that they

  produce “fewer greenhouse gases than gasoline,” that they exceed “statutory [emissions]

  requirements,” that they reduce “Nitrogen Oxides by up to 80%,” and that they are “for the air we

  breathe.”




  And Mercedes could not have sold a single diesel vehicle without applying for a certificate in which

  Mercedes attested to the EPA and other agencies as to emissions test results.

           2.       As explained in detail below, this is not what Mercedes delivered. In contrast to

  Mercedes promises, scientifically valid real world emissions testing by Plaintiffs on Mercedes

  vehicles certified as compliant in the United States has revealed that these vehicles emit dangerous

  oxides of nitrogen (NOx) at levels many times higher than (i) their gasoline counterparts, (ii)

  what a reasonable consumer would expect from a “Clean Diesel,” (iii) what Mercedes had


                                                    -1-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 12 of 441 PageID: 4007



  advertised, and (iv) United States Environmental Protection Agency and California Air

  Resources Board maximum standards. The Mercedes “Clean Diesel” is far from “clean.”

           3.       In the last two years, there have been major scandals involving diesel vehicles made

  by Volkswagen, Audi, Porsche, Mercedes, and FCA. Volkswagen pled guilty to criminal violations

  of the Clean Air Act, Mercedes and Bosch are under investigation by the Department of Justice,

  and FCA has been sued by the EPA for violating the Clean Air Act for improper emissions in

  thousands of 2014-2016 Dodge Ram 1500 EcoDiesels and 2014-2016 Jeep Grand Cherokee

  EcoDiesels and settled their claims on January 10, 2019. The diesel vehicles made by these

  manufacturers evade emissions standards with the help of certain software supplied by Bosch that

  turns off or down emissions controls when the vehicles sense they are not in a test environment

           4.       Testing conducted by engineering experts in emissions testing indicates that

  Mercedes, like Volkswagen, is a serious and serial emissions cheater. Its BlueTEC vehicles emit

  far more pollution on the road than in the emission certification testing environment. These vehicles

  exceed federal and state emission standards and employ “defeat devices” to turn down the emissions

  controls when the vehicle senses that it is not in the laboratory certification test cycle. A defeat

  device as used in this complaint means an auxiliary emissions control device that reduces the

  effectiveness of the emission control system under conditions which may reasonably be expected

  to be encountered in normal vehicle operation and use.

           5.       The Mercedes vehicles employ an astonishing wide range of Defeat Devices

  including: (1) a timer that reduces effectiveness of emissions controls after a short period; (2) a

  defeat device that detects road grade and reduces overall emissions system performance; and (3) a

  defeat device that turns off or down emissions controls when certain temperature parameters are

  met.



                                                   -2-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 13 of 441 PageID: 4008



           6.       The results of expert testing, summarized below, reveals a shocking case of

  emissions cheating. The chart indicates how many times emissions exceed the stop and go and

  highway standards, and indicates what percent of time (drive miles) emissions exceed a standard:




           7.       Diesel engines pose a difficult challenge to the environment because they have an

  inherent trade-off between power, fuel efficiency, and emissions. Compared to gasoline engines,

                                                  -3-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 14 of 441 PageID: 4009



  diesel engines generally produce greater torque, low-end power, better drivability and much higher

  fuel efficiency. But these benefits come at the cost of much dirtier and more harmful emissions.

           8.       One by-product of diesel combustion is NOx, which generally describes several

  compounds comprised of nitrogen and oxygen atoms. These compounds are formed in the cylinder

  of the engine during the high temperature combustion process. NOx pollution contributes to

  nitrogen dioxide, particulate matter in the air, and reacts with sunlight in the atmosphere to form

  ozone. Exposure to these pollutants has been linked with serious health dangers, including serious

  respiratory illnesses and premature death due to respiratory-related or cardiovascular-related

  effects. The United States Government, through the Environmental Protection Agency (EPA), has

  passed and enforced laws designed to protect United States citizens from these pollutants and

  certain chemicals and agents known to cause disease in humans. Automobile manufacturers must

  abide by these U.S. laws and must adhere to EPA rules and regulations.

           9.       In order to produce a diesel engine that has desirable torque and             power

  characteristics, good fuel economy, and emissions levels low enough to meet the stringent European

  and United States governmental emission standards, Mercedes developed the BlueTEC™ diesel

  engine. The BlueTEC name is a general trade name used to describe a number of in-cylinder and

  after-treatment technologies used to reduce and control emissions in diesel vehicles. The primary

  emission control after-treatment technologies include a diesel particulate filter (DPF) and a selective

  catalytic reduction (SCR) system. The DPF traps and removes particulate (soot) emissions, while

  the SCR system facilitates a chemical reaction to reduce NOx into less harmful substances, such as

  nitrogen and oxygen.

           10.      Seeing a major opportunity for growth, almost all of the major automobile

  manufacturers developed allegedly “Clean Diesel” engines and promoted new diesel vehicles as



                                                  -4-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 15 of 441 PageID: 4010



  environmentally friendly and “clean.” Volkswagen, Mercedes, GM, Fiat Chrysler America (FCA),

  and other manufacturers began selling diesel cars and trucks as more powerful, yet also as an

  environmentally friendly alternative to gasoline vehicles. And the marketing worked, as millions

  of diesel vehicles were purchased between 2007 and 2016.

           11.      Mercedes understood the materiality to consumers of a “clean car message.” Thus,

  Mercedes aggressively and consistently markets its BlueTEC vehicles across all media as “the

  world’s cleanest and most advanced diesel” with “ultra-low emissions, high fuel economy and

  responsive performance” that emits “up to 30% lower greenhouse-gas emissions than gasoline.”

  Mercedes also represents that its BlueTEC vehicles “convert[] the nitrogen oxide emissions into

  harmless nitrogen and oxygen” and “reduces the nitrogen oxides in the exhaust gases by up to 90%.”

           12.      Additionally, Mercedes promotes its Clean Diesel vehicles as “Earth Friendly”:

  “With BlueTEC, cleaner emissions are now an equally appealing benefit.” In fact, Mercedes

  proclaims itself “#1 in CO2 emissions for luxury vehicles.”

           13.      As noted, the “BlueTEC Clean Diesel” is a lie. Just like its Volkswagen, Audi, GM

  and FCA counterparts, the claims, representations, and marketing concerning the environmental

  characteristics of the BlueTEC Clean Diesel are materially false and misleading in that they all rely

  upon the suppression and concealment of critical material facts about the operation and true

  environmental characteristics of the BlueTEC Clean Diesel.          Among other critical, material

  suppressed facts, which were not revealed to consumers, is that Mercedes, with the help of various

  Bosch entities, programmed its BlueTEC vehicles to turn off or otherwise limit the effectiveness of

  the emission reduction systems during normal real world driving. As a consequence of this critical

  concealed material fact, consumers are unaware that—contrary to the clean diesel message




                                                  -5-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 16 of 441 PageID: 4011



  transmitted in a uniform and consistent way by Mercedes—the Polluting Vehicles are not clean

  diesels at all and, to the contrary, emit enormous amounts of NOx pollutants into the atmosphere.

           14.      Mercedes recently admitted, in response to this litigation, that a shut-off device in

  the engine management of certain BlueTEC diesel cars stops NOx cleaning when ambient

  temperatures drop below 50 degrees Fahrenheit and under other, unspecified circumstances.

  Testing by Plaintiffs on American certified vehicles at highway speeds, at low temperatures, and at

  variable speeds, indicate a systemic failure to meet emissions standards. Low temperature testing

  at highway speeds, for example, produced emissions that were 8.1 to 19.7 times the highway

  emissions standard. Testing at low temperatures at variable speeds produced emissions as high as

  30.8 times the standard.

           15.      But, as noted, contrary to its admissions and to what it represents to the public, the

  Mercedes emissions “shut off device” goes well beyond when the temperature drops below 50

  degrees Fahrenheit. Testing by Plaintiffs has also revealed that Mercedes BlueTEC vehicles do not

  meet emission standards in virtually all real world driving conditions. In virtually every road test

  at a variety of speeds and temperatures, the emissions exceeded emissions standards.

           16.      Testing using specialized test equipment also used by EPA and CARB for the same

  purpose reveals that Mercedes intentionally shuts down or severely limits the emissions control

  system when the BlueTEC vehicles are on the road. Plaintiffs’ testing revealed that, while the

  Mercedes BlueTEC vehicle’s on-road emissions were very high and exceeded federal standards,

  the same vehicle when tested on a dynamometer using EPA testing protocols had low emissions

  and either passed the tests, or were within a close margin of doing so. This contrast between real

  world driving and the laboratory test actively demonstrates that Mercedes has programmed its

  emission systems to reduce effectiveness or turn off altogether when the vehicle is on the road. And



                                                    -6-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 17 of 441 PageID: 4012



  this means that when Mercedes cars are tested in the laboratory, they undoubtedly use a defeat

  device to obtain test results that appear to pass emissions standards. As noted, this critical material

  fact has been intentionally concealed and hidden from the consuming public at the same time that

  Mercedes has touted the vehicles as “clean,” “earth friendly,” and “compliant with all relevant

  emissions standards.”

           17.      Mercedes did not act alone. At the heart of the diesel scandal in the United States

  and Europe are Bosch GmbH and Bosch LLC (together, “Bosch”). Each Bosch entity was an active

  and knowing participant in the scheme to evade U.S. emissions requirements. In vehicles

  manufactured by Volkswagen, GM, Mercedes and Fiat Chrysler America, Bosch GmbH

  manufactured, tested, calibrated and distributed the electronic diesel control (“EDC”) that allowed

  Mercedes to implement the defeat device, and Bosch LLC helped promote “Clean Diesel” in the

  United States and acted to deceive regulators and consumers as to compliance with emissions

  standards. Absent Bosch’s active cooperation in the development of the EDC and its constituent

  software, the fraud perpetrated by Mercedes would not have been possible. The entire emission

  architecture, from fuel injection to PDF Regeneration Control, to EGR, and SCR dosing is

  controlled by the Bosch EDC 17. Bosch’s and Bosch GmbH’s business model is not to just sell the

  hardware but also to sell the follow on services, which includes programming the EDC 17 for

  emission testing purposes. Because the EDC 17 software is highly proprietary and contains

  valuable intellectual property, each of Bosch’s entity’s cooperation in programming that software

  to enable the “Clean Diesel” scheme was essential.

           18.      Plaintiffs allege that the following Mercedes models powered by BlueTEC diesel

  fueled engines are affected by the unlawful, unfair, deceptive, and otherwise defective emission

  controls utilized by Mercedes: ML 320, ML 350, GL 320, E320, S350, R320, E Class, GL Class,



                                                   -7-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 18 of 441 PageID: 4013



  ML Class, R Class, S Class, GLK Class, GLE Class, and Sprinter (the Polluting Vehicles). As

  explained below, Plaintiffs testing of certain models, based on the similarity of engine design and

  the common Bosch software, is sufficient to plausibly allege that all Mercedes diesels named herein

  exceed U.S. and state emissions standards and exceed the levels a reasonable consumer would

  expect. It is equally true that in all cases Mercedes concealed from consumers the use of the illegal

  defeat device.

           19.      Mercedes and Bosch never disclosed and actively concealed from consumers a

  variety of critical, material facts including, but not limited to, the fact that: (1) Mercedes diesels

  with BlueTEC engines are only “clean” diesels in very limited circumstances; (2) the BlueTEC

  engines are “dirty” diesels under most normal driving conditions; (3) BlueTEC vehicles emissions

  materially exceed the emissions from gasoline powered vehicles; (4) that the emissions exceeded

  what a reasonable consumer would expect from a purportedly “Clean Diesel,” vehicle; (5) that its

  vehicles emissions materially exceed applicable emissions limits in real world driving conditions,

  and (6) that Mercedes derates its emission control system in a variety of normal driving conditions.

  NOx is one of the most noxious emissions by products and is highly regulated as a result. It is

  readily apparent that, based on (among other things) Mercedes’ marketing of the Polluting Vehicles

  as clean diesels, these concealed facts and omissions would have been material to a reasonable

  consumer. Further, Bosch conceded the fact that “Clean Diesel” that it promoted in the United

  States was a myth as all of the diesels sold in the United States with the Bosch EDC 17 were

  polluting more than a consumer would expect, and contained defeat devices.

           20.      Plaintiffs bring this action individually and on behalf of all other current and former

  owners or lessees of Polluting Vehicles.           Plaintiffs seek damages and equitable relief for




                                                    -8-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 19 of 441 PageID: 4014



  Defendants’ misconduct related to the design, manufacture, marketing, sale, and lease of Polluting

  Vehicles with unlawfully high emissions, as alleged in this Complaint.

                                                 JURISDICTION

           21.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

  because Plaintiffs’ claims arise under the RICO Act, 18 U.S.C. § 1962. The Court also has diversity

  jurisdiction because Plaintiffs and Defendants reside in different states. The Court has supplemental

  jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367. This Court also has original

  jurisdiction over this lawsuit pursuant to 28 U.S.C. § 1332(a)(1), as modified by the Class Action

  Fairness Act of 2005, because Plaintiffs and Defendants are citizens of different states; there are

  more than 100 members of the Class (as defined herein); the aggregate amount in controversy

  exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Class members reside

  across the United States. The citizenship of each party is described further below in the “Parties”

  section.

                                                      VENUE

           22.      Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

  the events or omissions giving rise to Plaintiffs’ claims occurred in this District, where Mercedes

  was headquartered for most of the relevant time period. Moreover, Mercedes has marketed,

  advertised, sold, and leased the Polluting Vehicles within this District.

                                                     PARTIES

  A.       Plaintiffs

           23.      Each and every Plaintiff and each Class member has suffered an ascertainable loss

  as a result of Mercedes’ omissions and/or misrepresentations associated with the BlueTEC Clean

  Diesel engine system, including, but not limited to, loss of the benefit of the bargain, and diminished

  value of the vehicle.


                                                    -9-
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 20 of 441 PageID: 4015



           24.      Neither Mercedes nor any of its agents, dealers, or other representatives informed

  Plaintiffs or Class members of the existence of the comparatively and unlawfully high emissions

  and/or defective nature of the BlueTEC Clean Diesel engine system of the Polluting Vehicles prior

  to purchase.

           1.       New Jersey Plaintiff

           25.      Plaintiff KEITH CANIERO (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of New Jersey domiciled in Colts Neck, New Jersey. In December 2012, Plaintiff purchased

  a new 2012 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle

  ”), from Contemporary Motors, an authorized Mercedes dealer in Little Silver, New Jersey.

  Plaintiff purchased, and still owns, this vehicle. Unknown to Plaintiff, at the time the vehicle was

  purchased, it was equipped with an emissions system that turned off or limited its emissions

  reduction system during normal driving conditions and emitted pollutants such as NOx at many

  multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

  reasonable consumer would expect from a “Clean Diesel”, and at many multiples of that allowed

  by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the ML 350 without proper emission controls has caused Plaintiff

  out-of-pocket loss, future attempted repairs, and diminished value of his vehicle. Mercedes knew

  about, manipulated, or recklessly disregarded, the inadequate emission controls during normal

  driving conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased

  his vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased his vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

                                                   - 10 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 21 of 441 PageID: 4016



  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           2.       Alabama Plaintiff

           26.      Plaintiff WALTER LOUIS, JR. (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Louisiana domiciled in Lafayette, Louisiana. In April 2013, Plaintiff purchased a used

  2012 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle ”),

  from McConnell Honda in Montgomery, Alabama. Plaintiff purchased, and still owns, this vehicle.

  Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions

  system that turned off or limited its emissions reduction system during normal driving conditions

  and emitted pollutants such as NOx at many multiples of emissions emitted from gasoline-powered

  vehicles, at many times the level a reasonable consumer would expect from a “Clean Diesel,” and

  at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive

  conduct in designing, manufacturing, marketing, selling, and leasing the ML 350 without proper

  emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished

  value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate

  emission controls during normal driving conditions, but did not disclose such facts or their effects

  to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle

                                                   - 11 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 22 of 441 PageID: 4017



  was a “clean diesel” as compared to gasoline vehicles, complied with United States emissions

  standards, and would retain all of its operating characteristics throughout its useful life, including

  high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the

  BlueTEC Clean Diesel system, as represented through advertisements and representations made by

  Mercedes. Plaintiff recalls that the advertisements and representations touted the cleanliness of the

  engine system for the environment and the efficiency and power/performance of the engine system.

  None of the advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact

  that Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           3.       California Plaintiffs

           27.      Plaintiff CATHERINE ROBERTS (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Vermont domiciled in Montpelier, Vermont. On or about February 2, 2016, Plaintiff

  purchased a used 2012 Mercedes Sprinter BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle ”), in Fresno, California. Plaintiff purchased, and still owns, this vehicle.

  Plaintiff researched the Mercedes BlueTEC Sprinter on Mercedes’ website and saw that Mercedes

  BlueTEC vehicles were described as “the world’s most advanced diesels” with “ultra- low

  emissions, high fuel economy, and responsive performance.” Unknown to Plaintiff, at the time the

  vehicle was purchased, it was equipped with an emissions system that turned off or limited its

  emissions reduction system during normal driving conditions and emitted pollutants such as NOx

  at many multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

                                                 - 12 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 23 of 441 PageID: 4018



  reasonable consumer would expect from a “Clean Diesel,” and at many multiples of that allowed

  by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the Sprinter without proper emission controls has caused Plaintiff

  out-of-pocket loss, future attempted repairs, and diminished value of her vehicle. Mercedes knew

  about, manipulated, or recklessly disregarded, the inadequate emission controls during normal

  driving conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased

  her vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased her vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the Sprinter actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           28.      Plaintiff DR. ADRIAN CLIVE ROBERTS (for the purpose of this paragraph,

  “Plaintiff”) is a citizen of New Jersey domiciled in Princeton, New Jersey. On or about February 25,

  2012, Plaintiff purchased a used 2009 Mercedes ML 320 BlueTEC (for the purpose of this



                                                   - 13 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 24 of 441 PageID: 4019



  paragraph, the “Polluting Vehicle”), from Smothers European Mercedes of Santa Rosa in Santa

  Rosa, California. Plaintiff purchased, and still owns, this vehicle. Plaintiff conducted extensive

  online research before selecting the Mercedes ML320 BlueTEC and read that the BlueTEC was a

  clean burning diesel with excellent gas mileage. The dealer confirmed these claims in conversations

  during negotiations prior to Plaintiff’s purchase of his 2009 Mercedes ML320

           29.      Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with

  an emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted pollutants such as NOx at many multiples of emissions emitted from

  gasoline-powered vehicles, at many times the level a reasonable consumer would expect from a

  “Clean Diesel”, and at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful,

  and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the ML 320

  without proper emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs,

  and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded,

  the inadequate emission controls during normal driving conditions, but did not disclose such facts

  or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief

  that his vehicle was a “clean diesel” as compared to gasoline vehicles, complied with United States

  emissions standards, and would retain all of its operating characteristics throughout its useful life,

  including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions



                                                   - 14 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 25 of 441 PageID: 4020



  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the ML 320 actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           30.      Plaintiff JORGE SALVADOR SERVIN (for the purpose of this paragraph,

  “Plaintiff”) is a citizen of California domiciled in Lake Elsinore, California. On or about February

  2016, Plaintiff purchased a used 2007 Mercedes E320 BlueTEC (for the purpose of this paragraph,

  the “Polluting Vehicle”), from Car Show Dealership in Corona, California. Plaintiff purchased,

  and still owns, this vehicle. Unknown to Plaintiff, at the time the vehicle was purchased, it was

  equipped with an emissions system that turned off or limited NOx reduction during normal driving

  conditions and emitted many multiples of the allowed level of pollutants such as NOx. Mercedes’

  unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

  leasing the E 320 without proper emission controls has caused Plaintiff out-of-pocket loss, future

  attempted repairs, and diminished value of his vehicle. Mercedes knew about, or recklessly

  disregarded, the inadequate emission controls during normal driving conditions, but did not disclose

  such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but

  mistaken, belief that his vehicle was a “clean diesel,” complied with United States emissions

  standards, was properly EPA certified, and would retain all of its operating characteristics

  throughout its useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because

  of the BlueTEC Clean Diesel system, as represented through advertisements and representations

  made by Mercedes.       Plaintiff recalls that the advertisements and representations touted the



                                                 - 15 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 26 of 441 PageID: 4021



  cleanliness of the engine system for the environment and the efficiency and power/performance of

  the engine system. None of the advertisements reviewed or representations received by Plaintiff

  contained any disclosure relating to the unlawfully high emissions and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the E 320 actually emitted unlawfully

  high levels of pollutants, Plaintiff would not have purchased the vehicle, or would have paid less

  for it.

            4.       Colorado Plaintiffs

            31.      Plaintiff KEITH HALL (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Colorado domiciled in Arvada, Colorado. On or about December 26, 2014, Plaintiff purchased a

  used 2011 Mercedes S Class BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”),

  from a private seller in Denver, Colorado. Plaintiff purchased, and still owns, this vehicle.

  Plaintiff’s belief that the Mercedes BlueTEC Clean Diesel was indeed a clean diesel was pivotal to

  his purchase. In 2014, Plaintiff conducted web research into diesel engines in RVs and reviewed

  online articles about the BlueTEC Clean Diesel, including “How Mercedes-Benz BLUETEC

  Works” (at http://cars.about.com/od/thingsyouneedtoknow/a/ag_BLUETEC.htm), “BlueTEC

  Clean          Diesel    Technology”       (at    http://alternativefuels.about.com/od/researchdevelop

  ment/a/bluetec.htm);“Mercedes-Benz 3.0 V6 Diesel” (at http://ae-plus.com/features/mercedes-

  benz-30-v6-diesel/page:1); and “The New V6 Diesel Engine from Mercedes-Benz” (at

  http://www.whnet.com/4x4/diesel.html). The latter article convinced Plaintiff that Mercedes was

  committed to a “green” philosophy and emission reduction and sold him on the OM642LS engine

  package which appeared in 2010 models of the Sprinter. He was convinced by the data that the

  OM642LS engine with the BlueTEC/AdBlue urea injection system was the cleanest diesel package

  available. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an

                                                    - 16 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 27 of 441 PageID: 4022



  emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted pollutants such as NOx at many multiples of emissions emitted from

  gasoline-powered vehicles, at many times the level a reasonable consumer would expect from a

  “Clean Diesel”, and at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful,

  and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the S Class

  without proper emission controls has caused Plaintiff out-of- pocket loss, future attempted repairs,

  and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded,

  the inadequate emission controls during normal driving conditions, but did not disclose such facts

  or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief

  that his vehicle was a “clean diesel” as compared to gasoline vehicles, complied with United States

  emissions standards, and would retain all of its operating characteristics throughout its useful life,

  including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the S Class actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.



                                                   - 17 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 28 of 441 PageID: 4023



           32.      Plaintiff SUSAN ALBERS (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Colorado domiciled in Oak Creek, Colorado. On or about June 29, 2013, Plaintiff purchased a

  new 2013 Mercedes GL350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”),

  from Mercedes-Benz of Littleton, an authorized Mercedes dealer, in Littleton, Colorado. Unknown

  to Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions system that

  turned off or limited its emissions reduction system during normal driving conditions and emitted

  pollutants such as NOx at many multiples of emissions emitted from gasoline-powered vehicles, at

  many times the level a reasonable consumer would expect from a “Clean Diesel”, and at many

  multiples of that allowed by federal law. Plaintiff traded in the Polluting Vehicle at a loss earlier

  this year because of problems related to the Blue Tec technology. In addition, related to the

  BlueTEC emissions system, the check engine light in the Polluting Vehicle came on and stayed on

  throughout the winter every winter. The Mercedes Benz service department in Westminster told

  Plaintiff the problem could not be fixed. Mercedes’ unfair, unlawful, and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the GL350 without proper emission

  controls has caused Plaintiff out-of-pocket loss and diminished value of her vehicle. Mercedes

  knew about, manipulated, or recklessly disregarded, the inadequate emission controls during normal

  driving conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased

  her vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased her vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the



                                                   - 18 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 29 of 441 PageID: 4024



  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the GL350 actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           5.       Connecticut Plaintiff

           33.      Plaintiff JOHN LINGUA (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Connecticut domiciled in Windsor Locks, Connecticut. On or about July 10, 2015, Plaintiff

  purchased a new 2015 Mercedes ML250 BlueTEC and in or about September 2013, Plaintiff

  purchased a new 2014 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicles”), from New Country Mercedes in Hartford, Connecticut. Plaintiff purchased, and still

  owns, the vehicles. In making his purchase decision, Plaintiff relied on Mercedes literature that

  promoted “clean” diesel. Unknown to Plaintiff, at the time the vehicles were purchased, they were

  equipped with an emissions system that turned off or limited their emissions reduction systems

  during normal driving conditions and emitted pollutants such as NOx at many multiples of

  emissions emitted from gasoline-powered vehicles, at many times the level a reasonable consumer

  would expect from a “Clean Diesel”, and at many multiples of that allowed by federal law.

  Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

  and leasing the ML 250 and ML 350 without proper emission controls has caused Plaintiff out-of-

  pocket loss, future attempted repairs, and diminished value of his vehicles. Mercedes knew about,

  manipulated, or recklessly disregarded, the inadequate emission controls during normal driving

                                                  - 19 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 30 of 441 PageID: 4025



  conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his

  vehicles on the reasonable, but mistaken, belief that his vehicles were “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of their

  operating characteristics throughout their useful life, including high fuel economy. Plaintiff

  selected and ultimately purchased his vehicles, in part, because of the BlueTEC Clean Diesel

  system, as represented through advertisements and representations made by Mercedes. Plaintiff

  recalls that the advertisements and representations touted the cleanliness of the engine system for

  the environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicles had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 250 and ML 350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicles, or would have paid less for them.

           6.       Georgia Plaintiff

           34.      Plaintiff BOBBY HAMILTON (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Alabama domiciled in Phenix City, Alabama. On or about December 24, 2013, Plaintiff

  purchased a used 2012 Mercedes E Class BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from Mercedes Benz of Columbus in Columbus, Georgia. Plaintiff purchased, and still

  owns, this vehicle. Prior to purchasing the 2012 Mercedes E Class BlueTEC, Plaintiff reviewed

  marketing and advertising by Mercedes that promised fuel efficiency and ultra-low emissions in its

  BlueTEC models. The salespeople at Mercedes of Columbus, Gary St. Louis and Debi Lewis,

  represented to Plaintiff that the BlueTEC engine is the “cleanest diesel” engine. Plaintiff also

                                                 - 20 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 31 of 441 PageID: 4026



  recalls discussing expected performance, durability, and fuel economy with the salespeople at the

  Mercedes dealership. Although Plaintiff purchased his 2012 Mercedes E350 BlueTEC used, the

  window sticker on the vehicle indicated the vehicle had a “Global Warming Score” that was above

  average for a new vehicle and a “Smog Score” that was average for a new vehicle. Unknown to

  Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions system that

  turned off or limited its emissions reduction system during normal driving conditions and emitted

  pollutants such as NOx at many multiples of emissions emitted from gasoline-powered vehicles, at

  many times the level a reasonable consumer would expect from a “Clean Diesel”, and at many

  multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the E Class without proper emission

  controls has caused Plaintiff out-of- pocket loss, future attempted repairs, and diminished value of

  his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission

  controls during normal driving conditions, but did not disclose such facts or their effects to Plaintiff,

  so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a

  “clean diesel” as compared to gasoline vehicles, complied with United States emissions standards,

  and would retain all of its operating characteristics throughout its useful life, including high fuel

  economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC

  Clean Diesel system, as represented through advertisements and representations made by

  Mercedes. Plaintiff recalls that the advertisements and representations touted the cleanliness of the

  engine system for the environment and the efficiency and power/performance of the engine

  system. None of the advertisements reviewed or representations received by Plaintiff contained

  any disclosure that the Polluting Vehicle had high emissions compared to gasoline vehicles and the

  fact that Mercedes had designed part of the emissions reduction system to turn off during normal



                                                   - 21 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 32 of 441 PageID: 4027



  driving conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the E Class

  actually emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher

  level than a reasonable consumer would expect, and emitted unlawfully high levels of pollutants,

  Plaintiff would not have purchased the vehicle, or would have paid less for it.

           7.       Idaho Plaintiff

           35.      Plaintiff SCOTT MORGAN (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Idaho domiciled in McCall, Idaho. On or about April 20, 2015, Plaintiff purchased a New

  2015 Sprinter BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from Lyle

  Pearson Auto in Boise, Idaho. Plaintiff purchased, and still owns, this vehicle. Plaintiff spent

  several months doing research prior to purchasing his 2015 Mercedes Sprinter BlueTEC Clean

  Diesel. He discussed the exhaust emissions of Sprinter vehicles with BlueTEC technology with a

  Mercedes salesperson at Mercedes Seattle, and Tom McCabe at the Lyle Pearson Auto Show in

  Boise, Idaho. He recalls generally discussing expected performance, durability and fuel economy

  with both sales people. Plaintiff specifically remembers being told by Mr. Morgan that the

  BlueTEC engine was better than a gasoline engine because it was a cleaner running engine with

  lower emissions and better gas mileage. In addition, Plaintiff researched the Mercedes BlueTEC

  Sprinter motorhome chassis on the Internet.       He reviewed electronic advertisements on the

  Mercedes Sprinter website and the Winnebago website and specifically recalls that the Mercedes

  website specifically discussed emissions for the BlueTEC Clean Diesel Sprinter. Unknown to

  Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions system that

  turned off or limited its emissions reduction system during normal driving conditions and emitted

  pollutants such as NOx at many multiples of emissions emitted from gasoline- powered vehicles,

  at many times the level a reasonable consumer would expect from a “Clean Diesel”, and at many

  multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in

                                                - 22 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 33 of 441 PageID: 4028



  designing, manufacturing, marketing, selling, and leasing the Sprinter without proper emission

  controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of

  his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission

  controls during normal driving conditions, but did not disclose such facts or their effects to Plaintiff,

  so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a

  “clean diesel” as compared to gasoline vehicles, complied with United States emissions standards,

  and would retain all of its operating characteristics throughout its useful life, including high fuel

  economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC

  Clean Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the Sprinter actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           8.       Illinois Plaintiff

           36.      Plaintiff MARYANA MELNYK (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Illinois domiciled in Elmwood Park, Illinois. On or about October 18, 2014, Plaintiff

  purchased a used 2012 Mercedes S350 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from Mercedes-Benz of Chicago in Chicago, Illinois. Plaintiff purchased, and still owns,

  this vehicle. Plaintiff conducted extensive internet research into the BlueTEC Clean Diesel

                                                   - 23 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 34 of 441 PageID: 4029



  technology before she purchased her 2012 Mercedes S350 BlueTEC. She also discussed Mercedes

  BlueTEC exhaust emissions with the salesperson at Mercedes-Benz of Chicago. The salesperson

  told her that even though the 2012 Mercedes S350 BlueTEC she was interested in purchasing was

  used, the emissions would be like new and very clean because of the BlueTEC technology.

  Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions

  system that turned off or limited its emissions reduction system during normal driving conditions

  and emitted pollutants such as NOx at many multiples of emissions emitted from gasoline-powered

  vehicles, at many times the level a reasonable consumer would expect from a “Clean Diesel”, and

  at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive

  conduct in designing, manufacturing, marketing, selling, and leasing the S350 without proper

  emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished

  value of her vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate

  emission controls during normal driving conditions, but did not disclose such facts or their effects

  to Plaintiff, so Plaintiff purchased her vehicle on the reasonable, but mistaken, belief that her vehicle

  was a “clean diesel” as compared to gasoline vehicles, complied with United States emissions

  standards, and would retain all of its operating characteristics throughout its useful life, including

  high fuel economy. Plaintiff selected and ultimately purchased her vehicle, in part, because of the

  BlueTEC Clean Diesel system, as represented through advertisements and representations made by

  Mercedes. Plaintiff recalls that the advertisements and representations touted the cleanliness of the

  engine system for the environment and the efficiency and power/performance of the engine system.

  None of the advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact

  that Mercedes had designed part of the emissions reduction system to turn off during normal driving



                                                   - 24 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 35 of 441 PageID: 4030



  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the S350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           9.       Indiana Plaintiff

           37.      Plaintiff JEFF FINDLAY (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Indiana domiciled in Lafayette, Indiana. In August 2015, Plaintiff purchased a used 2011

  Mercedes Sprinter 3500 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from

  Paul Richard GM Center in Peru, Indiana. Plaintiff purchased, and still owns, this vehicle.

  Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions

  system that turned off or limited its emissions reduction system during normal driving conditions

  and emitted pollutants such as NOx at many multiples of emissions emitted from gasoline-powered

  vehicles, at many times the level a reasonable consumer would expect from a “Clean Diesel,” and

  at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive

  conduct in designing, manufacturing, marketing, selling, and leasing the Sprinter 3500 without

  proper emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and

  diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the

  inadequate emission controls during normal driving conditions, but did not disclose such facts or

  their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief

  that his vehicle was a “clean diesel” as compared to gasoline vehicles, complied with United States

  emissions standards, and would retain all of its operating characteristics throughout its useful life,

  including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

                                                   - 25 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 36 of 441 PageID: 4031



  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the Sprinter 3500 actually emitted pollutants at a much higher

  level than gasoline vehicles do, and at a much higher level than a reasonable consumer would

  expect, and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the

  vehicle, or would have paid less for it.

           10.      Maryland Plaintiffs

           38.      Plaintiff GUSTAVO FRAGA-ERRECART (for the purpose of this paragraph,

  “Plaintiff”) is a citizen of Maryland domiciled in Potomac, Maryland. On or about October 2, 2013,

  Plaintiff purchased a new 2013 Mercedes ML 350 BlueTEC, and on or about November 1, 2012,

  Plaintiff purchased a new 2012 Mercedes S350 BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicles”), from EuroMotorcars in Gaithersburg, Maryland. Plaintiff purchased, and

  still owns, the vehicles. Plaintiff conducted extensive research into Mercedes BlueTEC technology

  prior to purchasing his BlueTEC vehicles from EuroMotorcars in Germantown, Maryland. He

  travelled to the Mercedes-Benz headquarters in Stuttgart, Germany to test-drive all the BlueTEC

  models there. He was assured by Mercedes-Benz representatives that the new BlueTEC technology

  minimized emissions and the environmental impact and was “years away” from the old Mercedes

  diesel vehicles. He also recalls discussing expected performance, durability, and fuel economy with

  the Mercedes representative. Unknown to Plaintiff, at the time the vehicles were purchased, they

  were equipped with an emissions system that turned off or limited its emissions reduction system

  during normal driving conditions and emitted pollutants such as NOx at many multiples of

                                                  - 26 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 37 of 441 PageID: 4032



  emissions emitted from gasoline-powered vehicles, at many times the level a reasonable consumer

  would expect from a “Clean Diesel,” and at many multiples of that allowed by federal law.

  Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

  and leasing the ML 350 and the S350 without proper emission controls has caused Plaintiff out-of-

  pocket loss, future attempted repairs, and diminished value of his vehicles. Mercedes knew about,

  manipulated, or recklessly disregarded, the inadequate emission controls during normal driving

  conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his

  vehicles on the reasonable, but mistaken, belief that his vehicles were “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of their

  operating characteristics throughout their useful life, including high fuel economy. Plaintiff

  selected and ultimately purchased his vehicles, in part, because of the BlueTEC Clean Diesel

  system, as represented through advertisements and representations made by Mercedes. Plaintiff

  recalls that the advertisements and representations touted the cleanliness of the engine system for

  the environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicles had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 and the S350

  actually emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher

  level than a reasonable consumer would expect, and emitted unlawfully high levels of pollutants,

  Plaintiff would not have purchased the vehicles, or would have paid less for them.

           39.      Plaintiff HASSAN ZAVAREEI (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Maryland domiciled in Bethesda, Maryland. On or about February 18, 2013, Plaintiff



                                                 - 27 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 38 of 441 PageID: 4033



  purchased a used 2011 Mercedes E350 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from EuroMotorcars in Gaithersburg, Maryland. Plaintiff purchased, and still owns, the

  vehicle. In making the purchase, Plaintiff relied in general on written and oral communications that

  indicated that BlueTEC was an effective way to reduce emissions.             Plaintiff also recalls

  conversations with a salesman at EuroMotorcars, the dealership where he purchased his vehicle, in

  which Plaintiff asked about the emissions of the Mercedes BlueTEC vehicle he was considering

  purchasing. The salesman represented to Plaintiff that the BlueTEC engines were fuel efficient and

  that the emissions technology employed in these vehicles was top of the line. Plaintiff understood

  that BlueTEC was an effective and legal means of complying with U.S. emissions controls.

  Plaintiff knew he wanted a fuel efficient car and had learned through advertisements that Mercedes’

  BlueTEC technology solved the problem of diesel’s high emissions. He researched and compared

  Mercedes’ “clean diesel” to other competitive eco- friendly cars, relying in part on representations

  on Mercedes’ website about its BlueTEC emissions technology. He also relied on Mercedes’

  representations about how many miles per gallon his vehicle would run, and that the car he

  purchased complied with EPA regulations. In the absence of such representations, Plaintiff would

  not have purchased a Mercedes BlueTEC vehicle. Unknown to Plaintiff, at the time the vehicle

  was purchased, it was equipped with an emissions system that turned off or limited its emissions

  reduction system during normal driving conditions and emitted pollutants such as NOx at many

  multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

  reasonable consumer would expect from a “Clean Diesel”, and at many multiples of that allowed

  by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the E350 without proper emission controls has caused Plaintiff out-

  of-pocket loss, future attempted repairs, and diminished value of his vehicle. Mercedes knew about,



                                                - 28 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 39 of 441 PageID: 4034



  manipulated, or recklessly disregarded, the inadequate emission controls during normal driving

  conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his

  vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean diesel” as compared to

  gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased his vehicle because of the BlueTEC Clean Diesel system, as represented

  through advertisements and representations made by Mercedes.               Plaintiff recalls that the

  advertisements and representations touted the cleanliness of the engine system for the environment

  and the efficiency and power/performance of the engine system. None of the advertisements

  reviewed or representations received by Plaintiff contained any disclosure that the Polluting Vehicle

  had high emissions compared to gasoline vehicles and the fact that Mercedes had designed part of

  the emissions reduction system to turn off during normal driving conditions. Had Mercedes and/or

  Bosch disclosed this design, and the fact that the E350 actually emitted pollutants at a much higher

  level than gasoline vehicles do, and at a much higher level than a reasonable consumer would

  expect, and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the

  vehicle.

           40.      Plaintiff JANICE SHEEHY (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Maryland domiciled in Poolesville, Maryland. On or about January 2009, Plaintiff

  purchased a used 2007 Mercedes E 320 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from EuroMotorcars        Germantown         Mercedes-Benz in   Germantown, Maryland.

  Plaintiff purchased, and still owns, this vehicle. Unknown to Plaintiff, at the time the vehicle was

  purchased, it was equipped with an emissions system that turned off or limited its emissions

  reduction system during normal driving conditions and emitted pollutants such as NOx at many



                                                 - 29 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 40 of 441 PageID: 4035



  multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

  reasonable consumer would expect from a “Clean Diesel,” and at many multiples of that allowed

  by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the E 320 without proper emission controls has caused Plaintiff out-

  of-pocket loss, future attempted repairs, and diminished value of her vehicle. Mercedes knew about,

  manipulated, or recklessly disregarded, the inadequate emission controls during normal driving

  conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased her

  vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean diesel” as compared to

  gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased her vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the E 320 actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           11.      Massachusetts Plaintiff

           41.      Plaintiff TERRENCE GARMEY (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Maine domiciled in Cape Elizabeth, Maine. On or about January 15, 2015, Plaintiff

                                                 - 30 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 41 of 441 PageID: 4036



  purchased a used 2012 Mercedes S350 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle ”), from Herb Chambers Honda in Seekonk, Massachusetts. Plaintiff purchased, and still

  owns, this vehicle. Plaintiff read a lot of material relating to Mercedes BlueTEC technology, some

  of it on the Mercedes website, prior to purchasing his 2012 Mercedes S350 BlueTEC. Mercedes’

  website described BlueTEC as a “clean diesel” with “ultra-low emissions.” In addition, Plaintiff

  recalls that Mercedes described BlueTEC technology as clean and fuel efficient in its

  advertisements and marketing materials. Plaintiff also specifically recalls reviewing the following

  articles:                      https://www.wired.com/2012/04/benz-                            s350/,

  http://www.thedieseldriver.com/2011/09/2012-mercedes-benz-s350-bluetec-review-and-first-test-

  drive/, and http://www.caranddriver.com/reviews/2012-mercedes-benz-s350-bluetec-diesel-road-

  test-review. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an

  emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted many multiples of the allowed level of pollutants. Mercedes’ unfair,

  unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

  S350 without proper emission controls has caused Plaintiff out-of-pocket loss, future attempted

  repairs, and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly

  disregarded, the inadequate emission controls during normal driving conditions, but did not disclose

  such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but

  mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline vehicles, complied

  with United States emissions standards, was properly EPA certified, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased his vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that



                                                 - 31 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 42 of 441 PageID: 4037



  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the S350 actually emitted pollutants

  at a much higher level than gasoline vehicles do, and at a much higher level than a reasonable

  consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff would not have

  purchased the vehicle, or would have paid less for it.

           12.      Minnesota Plaintiff

           42.      Plaintiff CHARLES WOLFORD (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of California domiciled in Three Rivers, California. In June 2013, Plaintiff purchased a new

  2013 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from

  Sears Imported Autos in Minneapolis, Minnesota. Plaintiff purchased, and still owns, this vehicle.

  Plaintiff discussed the 2013 Mercedes ML350 BlueTEC with Glenn Brantley and Christian Even,

  sales representatives at the Sears Imported Autos, and the manager, Gary Emfield. They each

  represented to Plaintiff that the Mercedes BlueTEC was a “clean diesel” vehicle. Plaintiff also

  recalls discussing expected performance, durability, and fuel economy with the sales

  representatives and manager at Sears Imported Autos.         Sears Imported emailed to Plaintiff

  electronic advertisements for Mercedes BlueTEC models including the ML350. Prior to purchasing

  the 2013 Mercedes ML 350 BlueTEC, Plaintiff read about the so-called cleanliness of the BlueTEC

  engine system for the environment and the efficiency and power/performance of the BlueTEC

  engine system in Edmunds, Car & Driver, and on online forums.               He also viewed local

  advertisements by Mercedes in the Minnesota television market, advertising on Mercedes’ website,

                                                 - 32 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 43 of 441 PageID: 4038



  and downloaded the electronic brochure for the vehicle from the website and recalls that they

  specifically discussed emissions. Unknown to Plaintiff, at the time the vehicle was purchased, it

  was equipped with an emissions system that turned off or limited its emissions reduction system

  during normal driving conditions and emitted many multiples of the allowed level of pollutants.

  Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

  and leasing the ML 350 without proper emission controls has caused Plaintiff out-of-pocket loss,

  future attempted repairs, and diminished value of his vehicle. Mercedes knew about, manipulated,

  or recklessly disregarded, the inadequate emission controls during normal driving conditions, but

  did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the

  reasonable, but mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline

  vehicles, complied with United States emissions standards, was properly EPA certified, and would

  retain all of its operating characteristics throughout its useful life, including high fuel economy.

  Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC Clean

  Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.



                                                - 33 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 44 of 441 PageID: 4039



           13.      Mississippi Plaintiff

           43.      Plaintiff DAVID I. ASHCRAFT (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Mississippi domiciled in Madison, Mississippi. In June 2013, Plaintiff purchased a new

  2013 Mercedes S350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from

  Higginbotham Automotive in Jackson, Mississippi. Plaintiff purchased, and still owns, this vehicle.

  Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions

  system that turned off or limited its emissions reduction system during normal driving conditions

  and emitted pollutants such as NOx at many multiples of emissions emitted from gasoline-powered

  vehicles, at many times the level a reasonable consumer would expect from a “Clean Diesel,” and

  at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive

  conduct in designing, manufacturing, marketing, selling, and leasing the S350 without proper

  emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished

  value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate

  emission controls during normal driving conditions, but did not disclose such facts or their effects

  to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle

  was a “clean diesel” as compared to gasoline vehicles, complied with United States emissions

  standards, and would retain all of its operating characteristics throughout its useful life, including

  high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the

  BlueTEC Clean Diesel system, as represented through advertisements and representations made by

  Mercedes. Plaintiff recalls that the advertisements and representations touted the cleanliness of the

  engine system for the environment and the efficiency and power/performance of the engine system.

  None of the advertisements reviewed or representations received by Plaintiff contained any

  disclosure that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact

  that Mercedes had designed part of the emissions reduction system to turn off during normal driving

                                                   - 34 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 45 of 441 PageID: 4040



  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the S350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           14.      Missouri Plaintiff

           44.      Plaintiff CRAIG THORSON (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Missouri domiciled in Columbia, Missouri. On or about June 15, 2013, Plaintiff

  purchased a New 2013 Mercedes GLK 250 BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Joe Machens dealership in Columbia, Missouri. Plaintiff purchased,

  and still owns, this vehicle. Unknown to Plaintiff, at the time the vehicle was purchased, it was

  equipped with an emissions system that turned off or limited its emissions reduction system during

  normal driving conditions and emitted many multiples of the allowed level of pollutants. Mercedes’

  unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

  leasing the GLK 250 without proper emission controls has caused Plaintiff out-of-pocket loss,

  future attempted repairs, and diminished value of his vehicle. Mercedes knew about,

  manipulated, or recklessly disregarded, the inadequate emission controls during normal driving

  conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his

  vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean diesel,” as compared to

  gasoline vehicles, complied with United States emissions standards, was properly EPA certified,

  and would retain all of its operating characteristics throughout its useful life, including high fuel

  economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC

  Clean Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

                                                 - 35 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 46 of 441 PageID: 4041



  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the GLK 250

  actually emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher

  level than a reasonable consumer would expect, and emitted unlawfully high levels of pollutants,

  Plaintiff would not have purchased the vehicle, or would have paid less for it.

           15.      Nevada Plaintiff

           45.      Plaintiff RICHARD YANUS (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of New Hampshire domiciled in Rye, New Hampshire. On or about May 22, 2012, Plaintiff

  purchased a new 2011 Sprinter BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from Mercedes Benz of Henderson in Henderson, Nevada. Plaintiff purchased, and still

  owns, this vehicle. Plaintiff researched the Mercedes Sprinter BlueTEC on the Internet and recalls

  reading about low emissions and “clean” diesel. Plaintiff discussed the exhaust emissions of the

  Sprinter with the salesperson at Mercedes Benz of Henderson and was told that the Sprinter

  BlueTEC was “cleaner” than his Toyota Prius which he drove to the dealership. Unknown to

  Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions system that

  turned off or limited its emissions reduction system during normal driving conditions and emitted

  many multiples of the allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive

  conduct in designing, manufacturing, marketing, selling, and leasing the Sprinter without proper

  emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished

  value of his vehicle. Mercedes knew about, or recklessly disregarded, the inadequate emission

  controls during normal driving conditions, but did not disclose such facts or their effects to Plaintiff,

  so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a

                                                   - 36 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 47 of 441 PageID: 4042



  “clean diesel,” as compared to gasoline vehicles, complied with United States emissions standards,

  was properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the Sprinter actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           16.      New York Plaintiffs

           46.      Plaintiff THOMAS WEISS (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of New York domiciled in Rome, New York. On or about November 30, 2015, Plaintiff

  purchased a new 2015 Mercedes Sprinter BlueTEC (Itasca Navion 24G) (for the purpose of this

  paragraph, the “Polluting Vehicle”), from Camping World of Syracuse in Syracuse, New York.

  Plaintiff purchased, and still owns, this vehicle. Plaintiff researched the Mercedes BlueTEC

  Sprinter motorhome chassis on the Internet.         He reviewed electronic advertisements on the

  Mercedes Sprinter website and the Winnebago website and specifically recalls that the Mercedes

  website specifically discussed emissions for the BlueTEC Sprinter. Plaintiff discussed the exhaust

  emissions of diesel vehicles with the salesperson at Camping World RV Sales and was assured that

                                                  - 37 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 48 of 441 PageID: 4043



  the BlueTEC urea injection system of the Sprinter chassis minimized emissions and environmental

  impact. This information was later confirmed with statements contained in the online product

  brochure for the Sprinter Cab Chassis. Unknown to Plaintiff, at the time the vehicle was purchased,

  it was equipped with an emissions system that turned off or limited its emissions reduction system

  during normal driving conditions and emitted many multiples of the allowed level of pollutants.

  Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

  and leasing the Sprinter without proper emission controls has caused Plaintiff out-of-pocket loss,

  future attempted repairs, and diminished value of his vehicle. Mercedes knew about, manipulated,

  or recklessly disregarded, the inadequate emission controls during normal driving conditions, but

  did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the

  reasonable, but mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline

  vehicles, complied with United States emissions standards, was properly EPA certified, and would

  retain all of its operating characteristics throughout its useful life, including high fuel economy.

  Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC Clean

  Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the Sprinter actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than




                                                - 38 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 49 of 441 PageID: 4044



  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           47.      Plaintiff JOHN LAURINO (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Massachusetts domiciled in Orleans, Massachusetts. On or about December 26, 2012, Plaintiff

  purchased a new 2013 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from Estate Motors in Golden’s Bridge, New York. Plaintiff purchased, and still owns,

  this vehicle. Plaintiff discussed the low exhaust emissions of BlueTEC Clean Diesel vehicles with

  the manager (Jeff Bertrant) and sales representative (Michael Torres) at Estate Motors, in addition

  to discussing expected performance, durability, and fuel economy. Plaintiff also researched

  Mercedes BlueTEC technology on the Mercedes website and on internet car sites that provide

  reviews and side-by-side comparisons of vehicles. Mr. Laurino recalls reading positive reviews for

  Mercedes BlueTEC technology and representations by Mercedes that the ML350 BlueTEC is a

  “clean” diesel with low emissions. Unknown to Plaintiff, at the time the vehicle was purchased, it

  was equipped with an emissions system that turned off or limited its emissions reduction system

  during normal driving conditions and emitted many multiples of the allowed level of pollutants.

  Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

  and leasing the ML 350 without proper emission controls has caused Plaintiff out-of-pocket loss,

  future attempted repairs, and diminished value of his vehicle. Mercedes knew about, manipulated,

  or recklessly disregarded, the inadequate emission controls during normal driving conditions, but

  did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the

  reasonable, but mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline

  vehicles, complied with United States emissions standards, was properly EPA certified, and would

  retain all of its operating characteristics throughout its useful life, including high fuel economy.



                                                   - 39 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 50 of 441 PageID: 4045



  Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC Clean

  Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           17.      North Carolina Plaintiffs

           48.      Plaintiff VINCENT MINERVA (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of North Carolina domiciled in Denver, North Carolina. On or about November 2013,

  Plaintiff purchased a new Sprinter BlueTEC from Hendrick Mercedes in Charlotte, North Carolina.

  On or about February 2014, Plaintiff purchased a used E350 BlueTEC (for the purpose of this

  paragraph, the “Polluting Vehicles”), from Hendrick in Charlotte, North Carolina.          Plaintiff

  purchased, and still owns, these vehicles. Unknown to Plaintiff, at the time the vehicles were

  purchased, they were equipped with an emissions system that turned off or limited their emissions

  reduction systems during normal driving conditions and emitted pollutants such as NOx at many

  multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

  reasonable consumer would expect from a “Clean Diesel”, and at many multiples of that allowed

  by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the E350 and Sprinter without proper emission controls has caused

                                                 - 40 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 51 of 441 PageID: 4046



  Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicles.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased his vehicles on the reasonable, but mistaken, belief that his vehicles were “clean

  diesels,” complied with United States emissions standards, were properly EPA certified, and would

  retain all of their operating characteristics throughout their useful life. Plaintiff selected and

  ultimately purchased his vehicles, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicles had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the E350 and Sprinter actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicles, or would have paid less for them.

           49.      Plaintiff FREDDIE T. HOLBROOK (for the purpose of this paragraph, “Plaintiff”)

  is a citizen of North Carolina domiciled in Morganton, North Carolina. On or about January 20,

  2014, Plaintiff purchased a new 2013 Mercedes Sprinter 2500 BlueTEC from Leith Mercedes in

  Raleigh, North Carolina. On or about July 2014, Plaintiff purchased another new 2013 Mercedes

  Sprinter BlueTEC (for the purpose of this paragraph, the “Polluting Vehicles”), from the same

  dealership. Plaintiff purchased, and still owns, these vehicles. Unknown to Plaintiff, at the time



                                                 - 41 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 52 of 441 PageID: 4047



  the vehicles were purchased, they were equipped with an emissions system that turned off or limited

  their emissions reduction systems during normal driving conditions and emitted pollutants such as

  NOx at many multiples of emissions emitted from gasoline-powered vehicles, at many times the

  level a reasonable consumer would expect from a “Clean Diesel”, and at many multiples of that

  allowed by federal law.      Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the Sprinters without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicles.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased his vehicles on the reasonable, but mistaken, belief that his vehicles were “clean

  diesels,” complied with United States emissions standards, were properly EPA certified, and would

  retain all of their operating characteristics throughout their useful life. Plaintiff selected and

  ultimately purchased his vehicles, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicles had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the Sprinters actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicles, or would have paid less for them.



                                                 - 42 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 53 of 441 PageID: 4048



           50.      Plaintiff ROBERT TREPPER (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of North Carolina domiciled in Cary, North Carolina. On or about October 14, 2011,

  Plaintiff purchased a new 2012 Mercedes E350 BlueTEC (for the purpose of this paragraph, one of

  the “Polluting Vehicles”), from Mercedes of Cary, an authorized Mercedes dealership in Cary,

  North Carolina. On June 11, 2013, Plaintiff purchased a new 2013 Mercedes ML 350 BlueTEC

  (for the purpose of this paragraph, one of the “Polluting Vehicles”), from Mercedes of Cary, an

  authorized Mercedes dealership in Cary, North Carolina. Plaintiff purchased, and still owns, these

  vehicles. Unknown to Plaintiff, at the time the Polluting Vehicles were purchased, the Polluting

  Vehicles were equipped with an emissions system that turned off or limited NOx reduction during

  normal driving conditions and emitted many multiples of the allowed level of pollutants such as

  NOx. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

  selling, and leasing the Polluting Vehicles without proper emission controls has caused Plaintiff

  out-of-pocket loss, future attempted repairs, and diminished value of his vehicles. Mercedes knew

  about, or recklessly disregarded, the inadequate emission controls during normal driving conditions,

  but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased the Polluting

  Vehicles on the reasonable, but mistaken, belief that the Polluting Vehicles were “clean diesels,”

  complied with United States emissions standards, were properly EPA certified, and would retain all

  of their operating characteristics throughout their useful lives. Plaintiff selected and ultimately

  purchased the Polluting Vehicles in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure relating



                                                - 43 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 54 of 441 PageID: 4049



  to the unlawfully high emissions and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes disclosed this design,

  and the fact that the Polluting Vehicles actually emitted unlawfully high levels of pollutants,

  Plaintiff would not have purchased the Polluting Vehicles, or would have paid less for them.

           18.      Ohio Plaintiff

           51.      Plaintiff ANDREW DEUTSCH (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Ohio domiciled in Moreland Hills, Ohio. On or about January 14, 2016, Plaintiff leased

  a new 2015 Mercedes GLK Class BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from a dealership in Cleveland, Ohio. Plaintiff is currently leasing this vehicle. Prior to

  entering into the lease, Plaintiff discussed the vehicle with the sales representative at the Mercedes

  dealership. He was debating between a vehicle with a gasoline engine and one with a diesel engine.

  The sales person at the Mercedes dealership told Plaintiff that the Mercedes BlueTEC produces far

  less pollution and gets much better gas mileage than a vehicle with a gasoline engine. These

  representations were consistent with statements Plaintiff read about BlueTEC technology on the

  Mercedes’ website, which described BlueTEC vehicles as having low emissions, high fuel

  economy, and great performance. Unknown to Plaintiff, at the time he entered into the lease for

  this vehicle, it was equipped with an emissions system that turned off or limited NOx reduction

  during normal driving conditions and emitted many multiples of the allowed level of pollutants

  such as NOx. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the GLK Class without proper emission controls has caused Plaintiff

  out-of-pocket loss, future attempted repairs, and diminished value of his vehicle. Mercedes knew

  about, manipulated, or recklessly disregarded, the inadequate emission controls during normal

  driving conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff leased his

  vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean diesel,” as compared to

                                                   - 44 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 55 of 441 PageID: 4050



  gasoline vehicles, complied with United States emissions standards, was properly EPA certified,

  and would retain all of its operating characteristics throughout its useful life, including high fuel

  economy. Plaintiff selected and ultimately leased his vehicle, in part, because of the BlueTEC

  Clean Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the GLK Class

  actually emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher

  level than a reasonable consumer would expect, and emitted unlawfully high levels of pollutants,

  Plaintiff would not have leased the vehicle, or would have paid less for it.

           19.      Pennsylvania Plaintiff

           52.      Plaintiff WENDELL A. DINGLE (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Pennsylvania domiciled in Philadelphia, Pennsylvania. On or about December 2015,

  Plaintiff purchased a used 2011 Mercedes GL 350 BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Mercedes-Benz of Fort Washington in Fort Washington, Pennsylvania.

  Plaintiff purchased, and still owns, this vehicle. The salesperson at Mercedes-Benz of Fort

  Washington assured Plaintiff that the vehicle was quiet with low emissions. Unknown to Plaintiff,

  at the time the vehicle was purchased, it was equipped with an emissions system that turned off or

  limited its emissions reduction system during normal driving conditions and emitted many multiples

  of the allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the GL 350 without proper emission controls has

                                                 - 45 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 56 of 441 PageID: 4051



  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean

  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the GL 350 actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           20.      South Carolina Plaintiff

           53.      Plaintiff CAROLINE A. LEDLIE is a citizen and domiciliary of the State of South

  Carolina. In August 2011, Plaintiff purchased a Mercedes BlueTEC E350 from an authorized

  Mercedes dealer in Charleston, South Carolina (for purposes of this paragraph, the “Polluting

  Vehicle”). Plaintiff purchased, and still owns, this vehicle. Unknown to Plaintiff, at the time the

  vehicle was purchased, it was equipped with an emissions system that turned off or limited its

                                                 - 46 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 57 of 441 PageID: 4052



  emissions reduction system during normal driving conditions and emitted many multiples of the

  allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the E350 without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of her vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased her vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean

  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased her vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the E350 actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           21.      Texas Plaintiffs

           54.      Plaintiff SHELBY A. JORDAN (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Texas domiciled in Corpus Christi, Texas. On or about July 2009, Plaintiff purchased a

                                                 - 47 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 58 of 441 PageID: 4053



  new 2009 Mercedes GL 320 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”),

  from Ed Hicks Imports in Corpus Christi, Texas. Plaintiff purchased, and still owns, this vehicle.

  Plaintiff spoke to a salesperson at Ed Hicks Imports in Corpus Christi, Texas. He specifically

  remembers that the salesperson directed him toward the BlueTEC and represented to him that the

  BlueTEC was the cleanest diesel burning engine manufactured. The salesperson also took out a

  white paper towel from his pocket and rubbed it on the exhaust to show him no black residue.

  Plaintiff also reviewed Mercedes promotional materials provided to him by the dealership which

  discussed low emissions in BlueTEC vehicles and the environmental impact. Plaintiff visited the

  Mercedes website to learn more about BlueTEC technology and researched “clean diesel” and

  BlueTEC on the Internet and read about the environmentally clean and efficient diesel being built

  by Mercedes. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an

  emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted many multiples of the allowed level of pollutants. Mercedes’ unfair,

  unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

  GL 320 without proper emission controls has caused Plaintiff out-of-pocket loss, future attempted

  repairs, and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly

  disregarded, the inadequate emission controls during normal driving conditions, but did not disclose

  such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but

  mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline vehicles, complied

  with United States emissions standards, was properly EPA certified, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased his vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that



                                                 - 48 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 59 of 441 PageID: 4054



  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the GL 320 actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           55.      Plaintiff JIMMY BIRD (for the purpose of this paragraph, “Plaintiff”) is a citizen of

  Texas domiciled in Houston, Texas. In March 2007, Plaintiff purchased a new 2007 Mercedes

  E320 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from Mercedes Benz

  of Houston in Houston, Texas. Plaintiff purchased, and still owns, this vehicle. Unknown to

  Plaintiff, at the time the vehicle was purchased, it was equipped with an emissions system that

  turned off or limited its emissions reduction system during normal driving conditions and emitted

  pollutants such as NOx at many multiples of emissions emitted from gasoline- powered vehicles,

  at many times the level a reasonable consumer would expect from a “Clean Diesel,” and at many

  multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive conduct in

  designing, manufacturing, marketing, selling, and leasing the E320 without proper emission

  controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of

  his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission

  controls during normal driving conditions, but did not disclose such facts or their effects to Plaintiff,

  so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a



                                                   - 49 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 60 of 441 PageID: 4055



  “clean diesel” as compared to gasoline vehicles, complied with United States emissions standards,

  and would retain all of its operating characteristics throughout its useful life, including high fuel

  economy. Plaintiff selected and ultimately purchased his vehicle, in part, because of the BlueTEC

  Clean Diesel system, as represented through advertisements and representations made by Mercedes.

  Plaintiff recalls that the advertisements and representations touted the cleanliness of the engine

  system for the environment and the efficiency and power/performance of the engine system. None

  of the advertisements reviewed or representations received by Plaintiff contained any disclosure

  that the Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that

  Mercedes had designed part of the emissions reduction system to turn off during normal driving

  conditions. Had Mercedes and/or Bosch disclosed this design, and the fact that the E320 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           22.      Utah Plaintiffs

           56.      Plaintiff SEID DILGISIC (for the purpose of this paragraph, “Plaintiff”) is a citizen

  of Utah domiciled in Salt Lake City, Utah. On or about February 1, 2013, Plaintiff leased a new

  2013 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from

  Mercedes Benz of Salt Lake City in Salt Lake City, Utah. Salt Lake City Mercedes-Benz

  salesperson, Brett Robinson, told Plaintiff that the resale value for the vehicle was better than any

  other in its class. The Mercedes-Benz salesperson promised Mr. Dilgisic that the vehicle had low

  emissions, great fuel efficiency and performance. He also told him that the BlueTEC had greater

  value than its competitors with gasoline engines. Plaintiff extensively researched the vehicle prior

  to entering into the lease. He read a BBC article about the Mercedes-Benz ML 350 BlueTEC titled,

  “Is this Mercedes’ Best kept secret?” In addition, he read an article in the New York Times dated

                                                   - 50 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 61 of 441 PageID: 4056



  March 23, 2013, titled, “A Lower-Cost Filling Solution for the Mercedes-Benz ML350 BlueTEC.”

  He also read a review of the 2013 Mercedes- Benz M-Class in U.S. News and World Report and a

  Car and Driver review of the 2013 Mercedes-Benz 350 RWD/4Matic. Plaintiff also viewed

  Mercedes BlueTEC advertisements on KSL, YouTube, Google, and CNN. Unknown to Plaintiff,

  at the time the vehicle was purchased, it was equipped with an emissions system that turned off or

  limited its emissions reduction system during normal driving conditions and emitted many multiples

  of the allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the ML 350 without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff leased his vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean

  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately leased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the ML 350 actually emitted pollutants at a much higher level



                                                 - 51 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 62 of 441 PageID: 4057



  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have leased the vehicle, or

  would have paid less for it.

           57.      Plaintiff TIFFANY KNIGHT (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Utah domiciled in Salt Lake City, Utah. Plaintiff purchased a used 2012 Mercedes ML

  350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle ”), from Mercedes-Benz of

  Lindon in Provo, Utah. Plaintiff purchased, and still owns, this vehicle. Plaintiff discussed low

  emissions, expected performance, durability, and fuel economy with the Mercedes sales people.

  The salesperson at Mercedes Benz of Lindon gave Plaintiff several brochures and information

  sheets on the efficiency of Mercedes BlueTEC vehicles. Unknown to Plaintiff, at the time the

  vehicle was purchased, it was equipped with an emissions system that turned off or limited its

  emissions reduction system during normal driving conditions and emitted many multiples of the

  allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the ML 350 without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of her vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased her vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean

  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased her vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations



                                                 - 52 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 63 of 441 PageID: 4058



  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the ML 350 actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           23.      Virginia Plaintiffs

           58.      Plaintiff ULYANA LYNEVYCH (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Illinois domiciled in Schiller Park, Illinois. In August 2014, Plaintiff purchased a used

  2014 Mercedes ML 350 BlueTEC (for the purpose of this paragraph, the “Polluting Vehicle”), from

  Tysinger Motor Co., Inc. of Hampton, Virginia. Plaintiff purchased, and still owns, this vehicle.

  Plaintiff conducted extensive research on BlueTEC technology. She picked up product brochures

  for Mercedes BlueTEC vehicles at a local dealership, visited the Mercedes website and watched

  YouTube videos on BlueTEC technology. Plaintiff also discussed Mercedes BlueTEC exhaust

  emissions with the salesperson at Tysinger Motor Co., Chai Gouanglee. The salesperson assured

  her that the 2014 Mercedes ML350 BlueTEC was clean and efficient with low-emissions and high

  fuel economy. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with

  an emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted many multiples of the allowed level of pollutants. Mercedes’ unfair,

  unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

  ML 350 without proper emission controls has caused Plaintiff out-of-pocket loss, future attempted

                                                 - 53 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 64 of 441 PageID: 4059



  repairs, and diminished value of her vehicle. Mercedes knew about, manipulated, or recklessly

  disregarded, the inadequate emission controls during normal driving conditions, but did not disclose

  such facts or their effects to Plaintiff, so Plaintiff purchased her vehicle on the reasonable, but

  mistaken, belief that her vehicle was a “clean diesel,” as compared to gasoline vehicles, complied

  with United States emissions standards, was properly EPA certified, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased her vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes

  had designed part of the emissions reduction system to turn off during normal driving conditions.

  Had Mercedes and/or Bosch disclosed this design, and the fact that the ML 350 actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           24.      Washington Plaintiffs

           59.      Plaintiff MICHAEL MEDLER (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Washington domiciled in Bellingham, Washington. On or about December 24, 2015,

  Plaintiff purchased a used 2015 Mercedes Sprinter BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Wilson Motors in Bellingham, Washington. Plaintiff purchased, and

  still owns, this vehicle. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped

  with an emissions system that turned off or limited its emissions reduction system during normal

                                                 - 54 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 65 of 441 PageID: 4060



  driving conditions and emitted many multiples of the allowed level of pollutants. Mercedes’ unfair,

  unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

  Sprinter without proper emission controls has caused Plaintiff out-of- pocket loss, future attempted

  repairs, and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly

  disregarded, the inadequate emission controls during normal driving conditions, but did not disclose

  such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but

  mistaken, belief that his vehicle was a “clean diesel,” as compared to gasoline vehicles, complied

  with United States emissions standards, was properly EPA certified, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased his vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the

  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the Sprinter actually emitted

  pollutants at a much higher level than gasoline vehicles do, and at a much higher level than a

  reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have purchased the vehicle, or would have paid less for it.

           60.      Plaintiff ROBERT GERSHBERG (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Washington domiciled in Bothell, Washington. On or about December 24, 2015,

  Plaintiff purchased a new Mercedes GL 350 BlueTEC (for the purpose of this paragraph, the



                                                 - 55 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 66 of 441 PageID: 4061



  “Polluting Vehicle”), from Mercedes-Benz of Seattle in Seattle, Washington. Plaintiff purchased,

  and still owns, this vehicle. In 2010-2011, Plaintiff leased a 2011 ML 350 BlueTEC from Mercedes-

  Benz of Lynnwood. Plaintiff conducted extensive internet research into the BlueTEC Clean Diesel

  technology before leasing the 2011 ML 350 BlueTEC and purchasing the 2015 GL 350 BlueTEC.

  The selling point of both vehicles was fuel economy and low emissions. Unknown to Plaintiff, at

  the time the vehicles were leased and purchased, they were equipped with an emissions system that

  turned off or limited their emissions reduction systems during normal driving conditions and

  emitted pollutants such as NOx at many multiples of emissions emitted from gasoline-powered

  vehicles, at many times the level a reasonable consumer would expect from a “Clean Diesel”, and

  at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful, and deceptive conduct

  in designing, manufacturing, marketing, selling, and leasing the GL 350 and the ML 350 without

  proper emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs, and

  diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded, the

  inadequate emission controls during normal driving conditions, but did not disclose such facts or

  their effects to Plaintiff, so Plaintiff leased and purchased his vehicles on the reasonable, but

  mistaken, belief the vehicle were “clean diesel” vehicles, as compared to gasoline vehicles,

  complied with United States emissions standards, and would retain all of their operating

  characteristics throughout their useful lives, including high fuel economy. Plaintiff selected and

  ultimately leased and purchased his vehicles, in part, because of the BlueTEC Clean Diesel system,

  as represented through advertisements and representations made by Mercedes. Plaintiff recalls that

  the advertisements and representations touted the cleanliness of the engine system for the

  environment and the efficiency and power/performance of the engine system. None of the

  advertisements reviewed or representations received by Plaintiff contained any disclosure that the



                                                - 56 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 67 of 441 PageID: 4062



  Polluting Vehicle had high emissions compared to gasoline vehicles and the fact that Mercedes had

  designed part of the emissions reduction system to turn off during normal driving conditions. Had

  Mercedes and/or Bosch disclosed this design, and the fact that the GL 350 and ML 350 actually

  emitted pollutants at a much higher level than gasoline vehicles do, and at a much higher level than

  a reasonable consumer would expect, and emitted unlawfully high levels of pollutants, Plaintiff

  would not have leased and purchased the vehicles, or would have paid less for them.

           61.      Plaintiff RANDOLPH ROLLE (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Washington domiciled in Seabeck, Washington. On or about August 1, 2015, Plaintiff

  purchased a new 2015 Mercedes ML Class BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Larson Mercedes Benz in Tacoma, Washington. Plaintiff purchased,

  and still owns, this vehicle. Plaintiff discussed the exhaust emissions of Mercedes BlueTEC

  vehicles with the salesperson at Larson Mercedes-Benz, being assured that the Mercedes BlueTEC

  was a “clean diesel” and that it met the highest tier emissions standards, Tier 4. Plaintiff also visited

  the Mercedes website several times where he read that Mercedes’ BlueTEC models “are simply the

  world’s most advanced diesels,” with “ultra-low emissions.” Unknown to Plaintiff, at the time the

  vehicle was purchased, it was equipped with an emissions system that turned off or limited its

  emissions reduction system during normal driving conditions and emitted many multiples of the

  allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the ML Class without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean



                                                   - 57 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 68 of 441 PageID: 4063



  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the ML Class actually emitted pollutants at a much higher

  level than gasoline vehicles do, and at a much higher level than a reasonable consumer would

  expect, and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the

  vehicle, or would have paid less for it.

           25.      West Virginia Plaintiffs

           62.      Plaintiff MELANIE JOHNSON (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of West Virginia domiciled in Lewisburg, West Virginia. On or about August 2, 2016,

  Plaintiff purchased a used 2014 Mercedes ML350 BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Mercedes-Benz of Roanoke d/b/a Berglund Luxury Roanoke in

  Roanoke, Virginia. Plaintiff purchased, and still owns, this vehicle. Plaintiff conducted extensive

  internet research into the BlueTEC Clean Diesel technology before she purchased her 2014

  Mercedes ML350 BlueTEC. She also had at least two discussions about Mercedes BlueTEC

  exhaust emissions with the salesman at Mercedes-Benz of Roanoke. When questioned, the salesman

  told her that Mercedes BlueTEC technology did not contain devices such as in Volkswagen

                                                 - 58 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 69 of 441 PageID: 4064



  CleanDiesel vehicles that overrode the emissions system to produce unlawfully high levels of

  pollutants. Contrary to these representations and unknown to Plaintiff, at the time the vehicle was

  purchased, it was equipped with an emissions system that turned off or limited its emissions

  reduction system during normal driving conditions and emitted pollutants such as NOx at many

  multiples of emissions emitted from gasoline-powered vehicles, at many times the level a

  reasonable consumer would expect from a “clean diesel”, and at many multiples of that allowed by

  federal law. Mercedes’ unfair, unlawful, and deceptive conduct in designing, manufacturing,

  marketing, selling, and leasing the ML350 BlueTEC without proper emission controls has caused

  Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of her vehicle. Mercedes

  knew about, manipulated, or recklessly disregarded, the inadequate emission controls during normal

  driving conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff purchased

  her vehicle on the reasonable, but mistaken, belief that her vehicle was a “clean diesel” as compared

  to gasoline vehicles, complied with United States emissions standards, and would retain all of its

  operating characteristics throughout its useful life, including high fuel economy. Plaintiff selected

  and ultimately purchased her vehicle, in part, because of the BlueTEC Clean Diesel system, as

  represented through advertisements and representations made by Mercedes. Plaintiff recalls that the

  advertisements and representations touted the cleanliness of the engine system for the environment

  and the efficiency and power/performance of the engine system. None of the advertisements

  reviewed or representations received by Plaintiff contained any disclosure that the Polluting Vehicle

  had high emissions compared to gasoline vehicles and the fact that Mercedes had designed part of

  the emissions reduction system to turn off during normal driving conditions. Had Mercedes and/or

  Bosch disclosed this design, and the fact that the ML350 BlueTEC actually emitted pollutants at a

  much higher level than gasoline vehicles do, and at a much higher level than a reasonable consumer



                                                   - 59 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 70 of 441 PageID: 4065



  would expect, and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased

  the vehicle.

           26.      Wisconsin Plaintiffs

           63.      Plaintiff LARS DANNBERG (for the purpose of this paragraph, “Plaintiff”) is a

  citizen of Florida domiciled in West Palm Beach, Florida. On or about November 22, 2013,

  Plaintiff purchased a new 2014 Mercedes E Class BlueTEC (for the purpose of this paragraph, the

  “Polluting Vehicle”), from Bergstrom Enterprise Motorcars in Appleton, Wisconsin. Plaintiff

  purchased, and still owns, this vehicle. Prior to the purchase of the vehicle, the sales representative

  at the Mercedes dealership told Plaintiff that the BlueTEC technology provided a “clean” engine

  system with low emissions and low fuel cost that was better for the environment than a gasoline

  engine. Plaintiff also read advertisements and brochures, visited the Mercedes website, and saw

  television ads all touting Mercedes BlueTEC models as having ultra-low emissions, high fuel

  economy, and zippy performance prior to purchasing the vehicle. Unknown to Plaintiff, at the time

  the vehicle was purchased, it was equipped with an emissions system that turned off or limited its

  emissions reduction system during normal driving conditions and emitted many multiples of the

  allowed level of pollutants. Mercedes’ unfair, unlawful, and deceptive conduct in designing,

  manufacturing, marketing, selling, and leasing the E Class without proper emission controls has

  caused Plaintiff out-of-pocket loss, future attempted repairs, and diminished value of his vehicle.

  Mercedes knew about, manipulated, or recklessly disregarded, the inadequate emission controls

  during normal driving conditions, but did not disclose such facts or their effects to Plaintiff, so

  Plaintiff purchased his vehicle on the reasonable, but mistaken, belief that his vehicle was a “clean

  diesel,” as compared to gasoline vehicles, complied with United States emissions standards, was

  properly EPA certified, and would retain all of its operating characteristics throughout its useful

  life, including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

                                                  - 60 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 71 of 441 PageID: 4066



  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the E Class actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

           64.      Plaintiff ZBIGNIEW KURZAWA (for the purpose of this paragraph, “Plaintiff”) is

  a citizen of Illinois domiciled in Glenview, Illinois. On or about December 2015, Plaintiff

  purchased a used 2007 Mercedes E320 BlueTEC (for the purpose of this paragraph, the “Polluting

  Vehicle”), from Krueger Auto Mart in Oshkosh, Wisconsin. Plaintiff purchased, and still owns,

  this vehicle. Unknown to Plaintiff, at the time the vehicle was purchased, it was equipped with an

  emissions system that turned off or limited its emissions reduction system during normal driving

  conditions and emitted pollutants such as NOx at many multiples of emissions emitted from

  gasoline-powered vehicles, at many times the level a reasonable consumer would expect from a

  “Clean Diesel,” and at many multiples of that allowed by federal law. Mercedes’ unfair, unlawful,

  and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the E320

  without proper emission controls has caused Plaintiff out-of-pocket loss, future attempted repairs,

  and diminished value of his vehicle. Mercedes knew about, manipulated, or recklessly disregarded,



                                                  - 61 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 72 of 441 PageID: 4067



  the inadequate emission controls during normal driving conditions, but did not disclose such facts

  or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable, but mistaken, belief

  that his vehicle was a “clean diesel” as compared to gasoline vehicles, complied with United States

  emissions standards, and would retain all of its operating characteristics throughout its useful life,

  including high fuel economy. Plaintiff selected and ultimately purchased his vehicle, in part,

  because of the BlueTEC Clean Diesel system, as represented through advertisements and

  representations made by Mercedes. Plaintiff recalls that the advertisements and representations

  touted the cleanliness of the engine system for the environment and the efficiency and

  power/performance of the engine system. None of the advertisements reviewed or representations

  received by Plaintiff contained any disclosure that the Polluting Vehicle had high emissions

  compared to gasoline vehicles and the fact that Mercedes had designed part of the emissions

  reduction system to turn off during normal driving conditions. Had Mercedes and/or Bosch

  disclosed this design, and the fact that the E320 actually emitted pollutants at a much higher level

  than gasoline vehicles do, and at a much higher level than a reasonable consumer would expect,

  and emitted unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle, or

  would have paid less for it.

  B.       Defendants

           1.       The Mercedes Defendants.

           65.      Defendant Mercedes-Benz USA, LLC (“Mercedes”) is a Delaware limited liability

  corporation whose principal place of business is 303 Perimeter Center North, Suite 202, Atlanta,

  Georgia, 30346. Until approximately July 2015, Mercedes’ principal place of business was 1

  Mercedes Drive, Montvale, New Jersey 07645. Mercedes’ Customer Service Center is at 3

  Mercedes Drive, Montvale, New Jersey 07645, and it operates a Learning and Performance Center

  at the same location. Mercedes operates a regional sales office at Morris Corporate Center 3, Bldg.

                                                   - 62 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 73 of 441 PageID: 4068



  D, 400 Interpace Parkway, Parsippany, New Jersey 07054, and has a parts distribution center at 100

  New Canton Way, Robbinsville, New Jersey 08691. Mercedes’ registered agent for service of

  process is The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

  Wilmington, Delaware 19801.

           66.      Mercedes, through its various entities, designs, manufactures, markets, distributes

  and sell Mercedes automobiles in New Jersey and multiple other locations in the United States and

  worldwide. Mercedes and/or its agents designed, manufactured, and installed the BlueTEC Clean

  Diesel engine systems in the Polluting Vehicles.          Mercedes also developed, approved and

  disseminated the owner’s manuals and warranty booklets, advertisements, and other promotional

  materials relating to the Polluting Vehicles.

           67.      Mercedes intends that its dealerships disseminate brochures, booklets and

  advertisements to potential consumers. Mercedes also communicates with its dealer network

  through Technical Services Bulletins and through electronic mail. All of these communications

  provided Mercedes with an opportunity to disclose the truth about the Polluting Vehicles to dealers

  for dissemination to potential purchasers or owners.

           2.       Daimler AG.

           68.      Defendant Daimler Aktiengesellschaft (“Daimler AG”) is a foreign corporation

  headquartered in Stuttgart, Baden-Württemberg, Germany.

           69.      Daimler AG is engaged in the business of designing, engineering, manufacturing,

  testing, marketing, supplying, selling and distributing motor vehicles, including the Polluting

  Vehicles, in the United States.

           70.      Daimler AG engineered, designed, developed, manufactured and installed the

  emissions systems on the Polluting Vehicles, manipulated the emission systems in such a manner

  so as to reduce the systems’ effectiveness during on-road driving conditions, and exported these

                                                  - 63 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 74 of 441 PageID: 4069



  vehicles with the knowledge and understanding that they would be sold throughout the United

  States.

            71.      Daimler AG is and was at all relevant times doing business in a continuous manner

  through a chain of distribution and dealers throughout the United States, including within the

  District of New Jersey in the State of New Jersey by selling, advertising, promoting and distributing

  Mercedes-Benz motor vehicles.

            72.      Through its wholly-owned subsidiaries and/or agents, Daimler AG markets its

  products in a continuous manner in the United States, including the State of New Jersey.

            73.      Daimler AG is the parent of, controls and communicates with Mercedes-Benz USA,

  LLC concerning virtually all aspects of the Polluting Vehicles distributed in the United States.

            74.      Mercedes-Benz USA, LLC acts as the sole distributor for Mercedes-Benz vehicles

  in the United States, purchasing those vehicles from Daimler in Germany for sale in this country.

            75.      Daimler AG also developed, reviewed, and approved the marketing and advertising

  campaigns designed to sell the Polluting Vehicles.

            76.      On information and belief, the relationship between Daimler AG and Mercedes-

  Benz USA LLC is governed by a General Distributor Agreement that gives Daimler AG the right

  to control nearly every aspect of Mercedes-Benz USA, LLC’s operations—including sales,

  marketing, management policies, information governance policies, pricing, and warranty terms.

            77.      Daimler AG owns 100% of the capital share in Mercedes-Benz USA, LLC.1

            78.      Daimler AG paid 19 million euros (approximately 21.8 million U.S. dollars) in

  relocation expenses for Mercedes-Benz USA, LLC’s headquarters.




      1
          Daimler AG 2015 Annual Report, Notes to the Consolidated Financial Statement, p. 274.


                                                        - 64 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 75 of 441 PageID: 4070



           79.      Communications to investors about emissions investigations in the United States—

  the very object of this Complaint—and the class actions that it faces in the United States come

  directly from Daimler AG, not from Mercedes-Benz USA, LLC. In one communication, Daimler

  AG says that it will defend itself against U.S. class action emissions lawsuits “with all available

  legal means.”2

           80.      Service of process on this defendant is proper by serving it via its wholly owned

  subsidiary and alter ego, Mercedes-Benz USA, LLC, in Montvale, New Jersey.

           3.       The Bosch Defendants.

           81.      From at least 2005 to 2015, Robert Bosch GmbH, Robert Bosch LLC and currently

  unnamed Bosch employees (together, “Bosch”) were knowing and active participants in the

  creation, development, marketing, and sale of illegal defeat devices specifically designed to evade

  U.S. emissions requirements in vehicles sold solely in the United States. These vehicles include

  the Polluting Vehicles, as well as diesels made by Volkswagen, Audi, Porsche, GM, and Fiat

  Chrysler (FCA).

           82.      The following is a list, including the Mercedes vehicles in this case, of diesel models

  in the United States with Bosch-supplied software whose emissions exceed federal and California

  emission standards and whose emissions are beyond what a reasonable consumer would expect

  from cars marketed as “clean” or “low emission”:




      2
        Press Release, Daimler Conducts Internal Investigation Regarding its Certification Process Related to Exhaust
  Emissions in the United States (April 22, 2016), available at https://www.daimler.com/documents/investors/
  nachrichten/kapitalmarktmeldungen/daimler-ir-release-en-20160422-2.pdf.


                                                        - 65 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 76 of 441 PageID: 4071




           83.      Each Bosch entity participated not just in the development of the defeat device, but

  in the scheme to prevent U.S.         regulators from uncovering the device’s true functionality.

  Moreover, Bosch’s participation was not limited to engineering the defeat device (in a collaboration

  described as unusually close). Rather, Bosch LLC marketed “Clean Diesel” in the United States

  and lobbied U.S. regulators to approve “Clean Diesel,” another highly unusual activity for a

                                                   - 66 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 77 of 441 PageID: 4072



  supplier. These lobbying efforts, taken together with evidence of each of Bosch’s entity’s actual

  knowledge that its software could be operated as a defeat device and participation in concealing the

  true functionality of the device from U.S. regulators, can be interpreted only one way under U.S.

  law: Bosch was a knowing and active participant in a massive, decade-long conspiracy with

  Volkswagen, Audi, Mercedes, FCA, GM and others to defraud U.S. consumers, regulators, and

  diesel car purchasers or lessees. Bosch GmbH and Bosch LLC have enabled over 1.3 million

  vehicles to be on the road in the United States polluting at levels that exceed emissions standards

  and which use software that manipulate emissions controls in a manner not expected by a reasonable

  consumer.

           84.        Robert Bosch GmbH is a German multinational engineering and electronics

  company headquartered in Gerlingen, Germany. Robert Bosch GmbH is the parent company of

  Robert Bosch LLC. Robert Bosch GmbH, directly and/or through its North-American subsidiary

  Robert Bosch LLC, at all material times, designed, manufactured, and supplied elements of the

  defeat device to Mercedes for use in the Polluting Vehicles. Bosch GmbH is subject to the personal

  jurisdiction of this Court because it has availed itself of the laws of the United States through its

  management and control over Bosch, LLC, and over the design, development, manufacture,

  distribution, testing, and sale of hundreds of thousands of the defeat devices installed in the

  Polluting Vehicles sold or leased in the U.S. Employees of Bosch GmbH and Bosch LLC have

  collaborated in the emissions scheme with Mercedes in this judicial district and have been present

  in this district.

           85.        Robert Bosch LLC is a Delaware limited liability company with its principal place

  of business located at 38000 Hills Tech Drive, Farmington Hills, Michigan 48331. Robert Bosch

  LLC is a wholly-owned subsidiary of Robert Bosch GmbH. Robert Bosch LLC, directly and/or in



                                                    - 67 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 78 of 441 PageID: 4073



  conjunction with its parent Robert Bosch GmbH, at all material times, designed, manufactured, and

  supplied elements of the defeat device to Mercedes for use in the Polluting Vehicles.

           86.      Both Robert Bosch GmbH and Robert Bosch LLC operate under the umbrella of the

  Bosch Group (“Bosch”), which encompasses some 340 subsidiaries and companies. The Bosch

  Group is divided into four business sectors: Mobility Solutions (formerly Automotive Technology),

  Industrial Technology, Consumer Goods, and Energy and Building Technology. The Mobility

  Solutions sector, which supplies parts to the automotive industry, and its Diesel Systems division,

  which develops, manufacturers, and supplies diesel systems, are particularly at issue here and

  include the relevant individuals at both Bosch GmbH and Bosch LLC. Bosch’s sectors and

  divisions are grouped not by location, but by subject matter. Mobility Solutions includes the

  relevant individuals at both Bosch GmbH and Bosch LLC. Mobility Solutions includes the

  individuals involved in the RICO enterprise and conspiracy at both Bosch GmbH and Bosch LLC.

  Some individuals worked at both Bosch LLC and Bosch GmbH during the course of the RICO

  conspiracy. The acts of individuals described in this Complaint have been associated with Bosch

  GmbH and Bosch LLC whenever possible. Regardless of whether an individual works for Bosch

  in Germany or the U.S., the individual holds him or herself out as working for Bosch. This

  collective identity is captured by Bosch’s mission statement: “We are Bosch,” a unifying principle

  that links each entity and person within the Bosch Group.3 Bosch documents and press releases

  often refer to the source of the document as “Bosch” without identifying any particular Bosch entity.

  Thus, the identity of which Bosch defendant was the author of such documents and press releases




     3
       Bosch 2014 Annual Report, Experiencing quality of life, available at http://www.bosch.com/media/
  com/bosch_group/bosch_in_figures/publications/archive/GB2014_EN.pdf (last accessed November 30, 2016).


                                                    - 68 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 79 of 441 PageID: 4074



  cannot be ascertained with certainty until Bosch GmbH and Bosch LLC respond to discovery

  requests in this matter.

             87.      The Diesel Systems division, which developed the EDC17, is described as part of

  the Bosch Group. In the case of the Mobility Solutions sector, which oversees the Diesel Systems

  Group, the Bosch Group competes with other large automotive suppliers.4

             88.      The Bosch publication Bosch in North America represents that “Bosch supplies . .

  . clean-diesel fuel technology for cars and trucks.” Throughout the document describing its North

  American operations, the company refers to itself as “Bosch” or “the Bosch Group.”5

             89.      The Bosch in North America document proclaims that Automotive Technology is

  “Bosch’s largest business sector in North America.” In this publication, Bosch never describes the

  actions of any separate Bosch legal entity, like Bosch LLC, when describing its business, but always

  holds itself out as “the Bosch Group.”6

             90.      German authorities are now investigating Bosch GmbH with respect to diesel

  emissions and are focusing on certain Bosch employees:7

                      Three Bosch Managers Targeted as German Diesel Probe
                      Expands

                      A German probe into whether Robert Bosch GmbH
                      helped Volkswagen AG cheat on emissions tests intensified as



      4
       See, e.g., Bosch’s 2016 Annual Report, available at https://assets.bosch.com/
  media/global/bosch_group/our_figures/pdf/bosch-annual-report-2016.pdf, at 23.
      5
       Bosch in North America (May 2007), available at http://www.bosch.us/
  content/language1/downloads/BINA07.pdf, at 2.
      6
          Id. at 5.
      7
         Three Bosch Managers Targeted as German Diesel Probe Expands, Bloomberg (June 29, 2007),
  https://www.bloomberg.com/news/articles/2017-06-29/three-bosch-managers-targeted-as-german-diesel-probe-
  expands.




                                                        - 69 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 80 of 441 PageID: 4075



                    Stuttgart prosecutors said they were focusing on three managers at
                    the car-parts maker.

                    While Stuttgart prosecutors didn’t identify the employees, the step
                    indicates that investigators may have found specific evidence in the
                    probe. Previously, prosecutors have said they were looking into the
                    role “unidentified” Bosch employees may have played in providing
                    software that was used to cheat on emission tests.

                    “We have opened a probe against all three on suspicions they aided
                    fraud in connection to possible manipulation in emissions treatments
                    in VW cars,” Jan Holzner, a spokesman for the agency, said in an
                    emailed statement. “ All of them are mangers with the highest in
                    middle management.”

                    Bosch, which is also being investigated by the U.S. Department of
                    Justice, has been caught up in the VW diesel scandal that emerged in
                    2015 over allegations its employees may have helped rig software
                    that helped the carmaker to cheat emission tests. Earlier this year,
                    Stuttgart prosecutors opened a similar probe into Bosch’s role in
                    connection with emission tests of Daimler cars.

                    A spokesman for Bosch said that while he can’t comment on
                    individual employees, the company “takes the overall allegations in
                    diesel cases seriously and has been cooperating fully from the
                    beginning of the probes.”

                    The Stuttgart probe is running parallel to the central criminal
                    investigation in Braunschweig, closer to VW’s headquarters. That
                    investigation is targeting nearly 40 people on fraud allegations related
                    to diesel-emission software, including former VW Chief Executive
                    Officer Martin Winterkorn.

                    Prosecutors’ interest extends to multiple units in the VW family --
                    including luxury brands Audi and Porsche. In addition, Stuttgart
                    prosecutors are also reviewing a third case related to Bosch’s
                    cooperation with Fiat Chrysler Automobiles NV on software for
                    diesel engines.

           91.      Recently, researchers from Rohr-Universität in Bochum, Germany, and University

  of California-San Diego uncovered Bosch’s role in connection with the manipulation of emission

  controls in certain Volkswagen and FCA vehicles. The researchers found no evidence that

  Volkswagen and FCA wrote the code that allowed the operation of defeat devices. All the code

  they analyzed was found in documents copyrighted by Robert Bosch GmbH. These researchers



                                                    - 70 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 81 of 441 PageID: 4076



  found that in the “function sheets” copyrighted by Robert Bosch GmbH, the code to cheat the

  emissions test was labeled as modifying the “acoustic condition” of the engine, a label that helped

  the cheat fly under the radar. Given that Mercedes cars have a Bosch EDC17 as did the cheating

  Volkswagen and FCA cars, and given testing by Plaintiffs’ experts described below that reveals

  defeat devices in Mercedes cars, it is plausible to allege that Bosch was a participant in the scheme

  to hide the true emissions of Mercedes diesels, and supplied a similar “function sheet” to Mercedes

  to enable a similar emission deception.

            92.      On April 24, 2018, Bosch issued a press release tacitly admitting it had facilitated

  emissions cheating. In the release, Bosch’s CEO Volkmar Denner cited to new company principles

  including one that “the incorporation of functions that automatically detect test cycles is strictly

  forbidden.” Of course, and as alleged herein, Bosch had designed Mercedes vehicles (as well as

  VW’s Audi’s and FCA’s) to detect cycles. Second, Denner announced a new company policy that

  “Bosch products must not be optimized for test situations.” As alleged herein, Bosch’s EDC 17

  and its software code did allow Mercedes’ to optimize vehicles for test conditions and Bosch

  programmers communicated with Mercedes on exactly how to optimize the vehicles for test

  situations.

            93.      Bosch GmbH is not a stranger to the U.S. Courts or the U.S. criminal justice system.

  In United States v. Robert Bosch GmbH, the company, on June 22, 2015, pled guilty to fixing the

  price of spark plugs, oxygen sensors, and starter motors.8




      8
          Criminal Case No. 2:15-cr-20197, E.D. Michigan.


                                                        - 71 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 82 of 441 PageID: 4077



                                          FACTUAL ALLEGATIONS

  A.       The environmental challenges posed by diesel engines and the United States
           regulatory response thereto.

           94.      The United States Government, through the Environmental Protection Agency

  (EPA), has passed and enforced laws designed to protect United States citizens from pollution and,

  in particular, certain chemicals and agents known to cause disease in humans. Automobile

  manufacturers must abide by these U.S. laws and must adhere to EPA rules and regulations.

           95.      The U.S. Clean Air Act has strict emissions standards for vehicles, and it requires

  vehicle manufacturers to certify to the EPA that the vehicles sold in the United States meet

  applicable federal emissions standards to control air pollution. Every vehicle sold in the United

  States must be covered by an EPA issued certificate of conformity.

           96.      There is a very good reason that these laws and regulations exist, particularly as

  regards vehicles with diesel engines: In 2012, the World Health Organization declared diesel

  vehicle emissions to be carcinogenic and about as dangerous as asbestos.

           97.      Diesel engines pose a particularly difficult challenge to the environment because

  they have an inherent trade-off between power, fuel efficiency, and emissions: the greater the power

  and fuel efficiency, the dirtier and more harmful the emissions.

           98.      Instead of using a spark plug to combust highly refined fuel with short hydrocarbon

  chains, as gasoline engines do, diesel engines compress a mist of liquid fuel and air to very high

  temperatures and pressures, which causes the diesel to spontaneously combust. This causes a more

  powerful compression of the pistons, which produces greater engine torque (that is, more power).

           99.      The diesel engine is able to do this both because it operates at a higher compression

  ratio than a gasoline engine and because diesel fuel contains more energy than gasoline.




                                                   - 72 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 83 of 441 PageID: 4078



           100.     But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier

  and more dangerous emissions. One by-product of diesel combustion is oxides of nitrogen (NOx),

  which include a variety of nitrogen and oxygen chemical compounds that only form at high

  temperatures.

           101.     NOx pollution contributes to nitrogen dioxide, particulate matter in the air, and

  reacts with sunlight in the atmosphere to form ozone. Exposure to these pollutants has been linked

  with serious health dangers, including asthma attacks and other respiratory illness serious enough

  to send people to the hospital. Ozone and particulate matter exposure have been associated with

  premature death due to respiratory-related or cardiovascular-related effects. Children, the elderly,

  and people with pre-existing respiratory illness are at acute risk of health effects from these

  pollutants. NOx can cause breathing problems, headaches, chronically reduced lung function, eye

  irritation, and corroded teeth. It can indirectly affect humans by damaging the ecosystems they rely

  on.

           102.     Though more efficient, diesel engines come with their own set of challenges,

  emissions from diesel engines can include higher levels of NOx and particulate matter (PM) or soot

  than emissions from gasoline engines due to the different ways the different fuels combust and the

  different ways the resulting emissions are treated following combustion. One way NOx emissions

  can be reduced is by adjusting the compression and temperature, but that in turn produces particulate

  matter (PM), a similarly undesirable hydrocarbon-based emission. Another way NOx emissions

  can be reduced is through exhaust gas recirculation or “EGR”, whereby exhaust gases are routed

  back into the intake of the engine and mixed with fresh incoming air. Exhaust gas recirculation

  lowers NOx by reducing the available oxygen and by reducing maximum combustion temperatures;

  however, EGR can also lead to an increase in PM as well. Another way NOx emissions can be



                                                   - 73 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 84 of 441 PageID: 4079



  reduced is through expensive exhaust gas after- treatment devices, primarily, catalytic converters,

  that use a series of chemical reactions to transform the chemical composition of a vehicle’s NOx

  emissions into less harmful, relatively inert, and triple bonded nitrogen gas (N2) and carbon dioxide

  (CO2).

           103.     Diesel engines thus operate according to this trade-off between price, NOx, and PM,

  and for a diesel car to be considered as a “clean” vehicle, it must produce both low PM and low

  NOx. In 2000, the EPA announced stricter emission standards requiring all diesel models starting

  in 2007 to produce drastically less NOx than years prior.     Before introducing a Polluting Vehicle

  into the U.S. stream of commerce, Mercedes was required to first apply for, and obtain, an EPA-

  administered COC, certifying that the vehicle comported with the emission standards for pollutants

  enumerated in 40 C.F.R. §§ 86.1811-04, 86.1811-09, and 86.1811-10. The CAA expressly

  prohibits automakers, like Mercedes, from introducing a new vehicle into the stream of commerce

  without a valid EPA COC. See 42 U.S.C. § 7522(a)(1). Moreover, vehicles must be accurately

  described in the COC application “in all material respects” to be deemed covered by a valid COC.

  See 40 C.F.R. §§ 86.1848-10(c)(6). California’s emission standards are even more stringent than

  those of the EPA. California’s regulator, CARB, requires a similar application from automakers to

  obtain an EO, confirming compliance with California’s emission regulations, before allowing the

  vehicle onto California’s roads.

           1.       The BlueTEC technology.

           104.     Car manufacturers have struggled to produce diesel engines that have high power

  and strong fuel efficiency but also cleaner emissions. Removing NOx from the untreated exhaust

  is difficult, and diesel car makers have reacted by trying to remove NOx from the car’s exhaust

  using catalysts.



                                                  - 74 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 85 of 441 PageID: 4080



           105.     Mercedes’ response to the challenge has been a diesel engine that it calls the

  “BlueTEC Clean Diesel.”

           106.     In order to successfully grow the U.S. diesel market and meet its ambitious

  objectives, it was critical that Mercedes develop the technology to maintain the efficient, powerful

  performance of a diesel, while drastically reducing NOx emissions to comply with the federal and

  state emission standards.

           107.     This high-stakes engineering dilemma led to a deep divide within the company, as

  two divergent exhaust gas after-treatment technical approaches emerged. One approach involved

  a selective catalytic reduction (SCR) system that proved to be effective but expensive. The other,

  which utilized a lean NOx trap, was significantly cheaper but was less effective and resulted in

  lower fuel efficiency.

           108.     A SCR System is depicted below:




                                                 - 75 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 86 of 441 PageID: 4081



           109.     In 2006, Wolfgang Bernhard, then a top executive at VW AG (and former Daimler

  executive), advocated for the SCR system and championed a technology-sharing agreement with

  Mercedes-Benz and BMW to jointly develop a SCR emission control system utilizing urea. The

  urea functions as a post-combustion emission reductant. It is generically referred to as “Diesel

  Exhaust Fluid” or “DEF” and marketed as “AdBlue” by Mercedes, Volkswagen, and other German

  vehicle manufacturers.      When DEF is injected into the exhaust stream in a catalyst chamber, it

  converts NOx into nitrogen gas, water, and carbon dioxide. This SCR system was expensive,

  costing $350 per vehicle, and came with other compromises, including, primarily, the need for

  installation of a DEF tank that would require regular refills.

           110.     All of the BlueTEC Clean Diesel engines control emissions as follows: After the by-

  products of combustion leave the engine, some of the exhaust is cooled and returned to the

  combustion chamber using exhaust gas recirculation (EGR). This is the first step in reducing

  engine-out NOx. In the second step after the exhaust passes through a particulate filter, the

  BlueTEC Clean Diesel technology injects ammonia-rich urea into the exhaust in order to convert

  NOx into less harmful substances, such as nitrogen and oxygen.

           111.     The BlueTEC Clean Diesel approach, when it is operating, results in cleaner

  emissions. However, when the foregoing mechanisms are turned off or do not work, the BlueTEC

  engines are not “Clean Diesels.”

           2.       The Mercedes and Daimler deception by omission.

           112.     In the wake of a major public scandal involving Volkswagen and Audi diesel

  vehicles evading emissions standards with the help of certain software that manipulates emissions

  controls (called “defeat devices”),9 scientific literature, reports, and Plaintiffs’ testing indicate that


      9
         The EPA’s Notice of Violation (“NOV”) to Volkswagen Group of America, Inc. can be found at:
  http://www3.epa.gov/otaq/cert/documents/vw-nov-caa-09-18-15.pdf. As detailed in the EPA’s Notice of Violation

                                                     - 76 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 87 of 441 PageID: 4082



  Mercedes’ so-called BlueTEC Clean Diesel vehicles emit far more pollution on the road than in lab

  tests, far more pollution than gasoline powered vehicles, and cannot be considered “Clean Diesels.”

  The EPA has widened its probe of auto emissions to include, for example, the Mercedes E250

  BlueTEC Clean Diesel. Upon information and belief, the California Air Resources Board is also

  investigating the Mercedes BlueTEC vehicles.

           113.     As first reported in a February 2016 issue of German language magazine Der

  Spiegel, Mercedes has admitted that a shut-off device in the engine management of its C-Class

  diesel cars stops NOx cleaning when ambient temperatures drop below 50 degrees Fahrenheit and

  in other, unspecified circumstances. Mercedes asserts, without providing details, that the shut-off

  is done to “protect” the engine (notwithstanding the fact that 50 degrees Fahrenheit can hardly be

  considered a cold temperature and certainly not a dangerously cold temperature).

           114.     So, while the Mercedes diesels with the BlueTEC Clean Diesel engine are designed

  to pass official emissions tests, which are usually conducted at a temperature exceeding 50 degrees,

  Mercedes has now admitted that the vehicles nonetheless emit far more pollution than government

  emissions standards in the United States permit when the temperature drops below 50 degrees.

  Mercedes admission also confirms the fraud alleged in this complaint. Put simply, at no time did

  Mercedes tell the public (or the relevant regulatory authorities) the true facts of how and when its

  emissions systems operate and, most particularly, that it does not operate at all during most normal

  driving conditions. Mercedes’ admissions confirm that the scheme articulated in this complaint is

  not only plausible but is factually demonstrable and true.



  (“NOV”), software in Volkswagen and Audi diesel vehicles detects when the vehicle is undergoing official emissions
  testing and turns full emissions controls on only during the test. But otherwise, while the vehicle is running, the
  emissions controls are suppressed. This results in cars that meet emissions standards in the laboratory or state testing
  station, but during normal operation emit NOx at up to 40 times the standard allowed under United States laws and
  regulations. Volkswagen has admitted to installing a defeat device in its diesel vehicles.


                                                          - 77 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 88 of 441 PageID: 4083



           115.     Thus, the BlueTEC Clean Diesel is not a clean diesel vehicle at all because, when

  the ambient temperature falls below 50 degrees, the Polluting Vehicles spew excessive unmitigated

  NOx into the air.

           116.     Mercedes never disclosed to consumers that Mercedes diesels with BlueTEC Clean

  Diesel engines may be “clean” diesels when it is warm, but are “dirty” diesels when ambient

  temperatures are below 50 degrees. And although Mercedes has admitted to a German magazine

  that no American consumer would see that its BlueTEC Clean Diesel vehicles spew high NOx

  emissions when it is cold—much higher than NOx emissions in gasoline engines—the scope of the

  deception is much broader and damaging than Mercedes has admitted: Mercedes BlueTEC vehicles

  produce much higher NOx emissions than gasoline vehicles under a wide variety of normal driving

  conditions even when the ambient temperature exceeds 50 degrees F as detailed below.

           3.       European studies and reports.

           117.     As noted, the world was shocked to learn that Volkswagen had manufactured over

  11 million cars that were on the road in violation of European emissions standards, and over 480,000

  vehicles were operating in the U.S. in violation of EPA and state standards. But Volkswagen was

  not the only manufacturer of vehicles equipped with illegal defeat devices.

           118.     A May 2015 study conducted on behalf of the Dutch Ministry of Infrastructure and

  the Environment confirms that, in real world testing, the Mercedes C-Class 220 emits NOx at levels

  much higher than in controlled dynamometer tests and much higher than the “Euro 6 standard,”

  which is less stringent than the U.S. standard. More specifically, the May 2015 TNO Report found

  that post-selective catalytic reduction (SCR) tailpipe NOx emissions ranged from 250 to 2000

  mg/km; for reference, the Euro 6 max, which is less stringent than U.S. standards, is 80 mg/km.

  “Overall the NOx real-world emissions of [the C-Class 220] are relatively high, especially during

  the very short trips . . . and trips at high speeds.” See TNO Report at 34. Furthermore, the “results

                                                  - 78 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 89 of 441 PageID: 4084



  show clearly that different control strategies of the engine are applied in chassis dynamometer tests

  and on the road.” Id., Appendix B, page 3. In other words, the vehicle emitted significantly more

  NOx on real-world test trips on the road than during a type approval test in the laboratory,

  suggesting that the vehicle senses when it is tested in a laboratory and employs a device to cheat.

           119.     TNO added: “In chassis dynamometer tests the engine out NOx emissions are 100

  to 450 mg/km, indicating an effective EGR [exhaust gas recirculation] system which reduces NOx

  emissions in certain chassis dynamometer tests. In real-world tests the EGR system seems to be

  less effective or not effective at all, as engine out NOx emissions in real-world tests range from 450

  to as much as 2250 mg/km.” TNO Report at 34. The fact that Mercedes passed the dynamometer

  test in all tests, but failed the real world test, suggests that like VW, Mercedes is implementing a

  “defeat device.” As discussed below, Plaintiffs’ dynamometer testing indicates that Mercedes

  employs a defeat device in its diesels.

           120.     TNO also found that the tank holding the AdBlue in the Mercedes C-Class 220 was

  too small to hold the amount of AdBlue catalyst necessary to reduce NOx emissions below

  regulatory limits for the advertised service interval (22,000 km). The tank size is 25 liters, and TNO

  found that a 45.8 liter tank would be necessary to meet the Euro 6 80 mg/km NOx emission level—

  a level that is less stringent than U.S. limits. TNO Report at 45.

           121.     TNO further remarked: “It is remarkable that the NOx emission under real-world

  conditions exceeds the type approval value by [so much]. It demonstrates that the settings of the

  engine, the EGR and the SCR during a real-world test trip are such that they do not result in low

  NOx emissions in practice. In other words: In most circumstances arising in normal situations

  on the road, the systems scarcely succeed in any effective reduction of NOx emissions.” TNO

  Report at 6 (emphasis added). The lack of any “effective reduction of NOx emissions” is a complete



                                                 - 79 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 90 of 441 PageID: 4085



  contradiction of Mercedes’ claim that its vehicles are “Earth Friendly,” produce “harmless nitrogen

  and oxygen,” “Reduce[] Nitrogen Oxides by 80%,” are “For the air we breathe,” or “significantly

  reduce[] greenhouse gases.”

           122.     Other organizations are beginning to take notice of the Mercedes deception. The

  Transportation and Environment (T&E) organization, a European group aimed at promoting

  sustainable transportation, compiled data from “respected testing authorities around Europe” that

  show Mercedes might sell cars that produce illegal levels of tailpipe emissions. T&E stated in

  September 2015 that real-world emissions testing showed drastic differences from laboratory tests

  such that the Mercedes models tested emitted 50% more pollutants such as CO2 on the road than

  in their laboratory tests. “For virtually every new model that comes onto the market the gap between

  test and real-world performance leaps,” the report asserts.

           123.     In a summary report, T&E graphically depicted the widespread failure of most

  manufacturers:10




       10
          Five facts about diesel the car industry would rather not tell you, Transport & Environment (Sept. 2015),
  http://www.transportenvironment.org/sites/te/files/publications/2015_09_Five_facts_about_diesel_FINAL.pdf.


                                                         - 80 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 91 of 441 PageID: 4086




             124.   The T&E report found that the current system for testing cars in a laboratory

  produces “meaningless results.”11

             125.   Furthermore, it was reported in October 2015 that certain diesel models sold by

  Mercedes in Europe (including the C 220 BlueTEC and the GLA 200 d) were found to emit 2 to 3

  times higher levels of NOx pollution when tested in more realistic driving conditions, according to




      11
           Id.


                                                 - 81 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 92 of 441 PageID: 4087



  new research data compiled by ADAC, Europe’s largest motoring organization. The new testing

  results are based on a U.N.-developed test called “WLTC.”

           126.     Worse still, according to on-road testing in Europe by Emissions Analytics,

  publicized on October 9, 2015, Mercedes’ diesel cars produced an average of 0.406g/km of NOx

  on the road, 5 times higher than the Euro 6 level permits—and more than 13 times higher than the

  U.S. level permits (.03g/km).

           127.     Emissions Analytics is a U.K. company, which says that it was formed to “overcome

  the challenge of finding accurate fuel consumption and emissions figures for road vehicles.” With

  regard to its recent on-road emissions testing, the company explains: “[I]n the European market, we

  have found that real-world emissions of the regulated nitrogen oxides are four times above the

  official level, determined in the laboratory. Real-world emissions of carbon dioxide are almost one-

  third above that suggested by official figures. For car buyers, this means that fuel economy on

  average is one quarter worse than advertised. This matters, even if no illegal activity is found.”

           128.     Testing by the Institute for Transport Studies in the UK in 2015 also confirmed that

  Mercedes’ vehicles exceeded the more lax European NOx standards:




                                                   - 82 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 93 of 441 PageID: 4088




           129.     The German Environmental Aid organization (DUH) recently called for emergency

  action to ban the C220 from city centers in Germany when the temperature drops below 10 degrees

  Celsius/50             degrees   Fahrenheit.             See   https://translate.google.com/translate?

  hl=en&sl=de&u=http://www.duh.de/pressemitteilung.html%3F%26tx_ttnews%255Btt_news%2

  55D%3D3726&prev=search.

           130.     In response to the current diesel emissions controversy, Mercedes’ parent company,

  Daimler AG, has issued a statement claiming: “We categorically deny the accusation of

  manipulating emission tests regarding our vehicles. A defeat device, a function which illegitimately

  reduces emissions during testing, has never been and will never be used at Daimler. This holds true

  for both diesel and petrol engines. Our engines meet and adhere to every legal requirement. . . .

  [W]e can confirm that none of the allegations apply to our vehicles. The technical programming of

  our engines adheres to all legal requirements.”




                                                  - 83 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 94 of 441 PageID: 4089



           131.     A spokesman for Mercedes evaded the ramifications of the findings that Mercedes

  diesel cars violate emissions standards, saying only: “Since real-world driving conditions do not

  generally reflect those in the laboratory, the consumption figures may differ from the standardized

  figures.” Notably, Mercedes and its parent company have not actually denied that their diesel cars

  violate emissions standards.

           132.     Recent testing by the German Federal Department of Motor Vehicles has revealed

  that certain Mercedes vehicles, in addition to vehicles produced by other manufacturers, had

  “conspicuously high NOx emissions that apparently could not be sufficiently explained from a

  technical point of view.” The findings, announced April 22, 2016, have led to the “voluntary” recall

  of 630,000 vehicles in Europe, including Mercedes vehicles.

           133.     Mercedes diesel vehicles recently failed on-road emissions tests conducted by

  French authorities, leading the French government to order Mercedes to present plans to reduce the

  vehicles’ emissions.

           134.     Studies and reports pertaining to the emissions of Mercedes diesels in Europe are

  directly relevant to the emissions performance of the BlueTEC Clean Diesels sold in the United

  States given the engineering similarities across Mercedes’ European and American vehicle

  platforms. Indeed, it is highly implausible to believe that Mercedes would manufacture an entirely

  separate diesel engine emissions system for vehicle models that are identical in all material respects.

  To the contrary, the European findings – in and of themselves – suggest that the same emissions

  evading systems were utilized in America. Mercedes developed the BlueTEC Clean Diesel engine

  for use in multiple markets, including Europe and the United States. The basic BlueTEC engine

  platform and design is the same. Further, while emission standards are more stringent in the U.S.

  than in Europe, the BlueTEC emission systems used in the United States are but variants of those



                                                  - 84 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 95 of 441 PageID: 4090



  used in Europe. For example, the catalytic converter is larger in the U.S. vehicles, yet the basic

  design and layout of the catalytic converter units are the same as in the European version. The same

  is true for EGR: the BlueTEC vehicles in both markets use the same switchable EGR cooler, and

  the EGR strategy used in the United States vehicles is otherwise but a variant of that deployed in

  European vehicles.

             135.   Because the core components of the BlueTEC Clean Diesel emission system are

  largely the same across market segments, the underlying technical shortcomings that would

  motivate Mercedes to employ defeat strategies in Europe would also motivate them to cheat in the

  United States. Thus, investigations in Europe into underlying motivations and sources of cheating

  are highly applicable in the U.S. and directly demonstrate the factual accuracy and plausibility of

  the allegations made here. Put simply, the same defeat strategies or variants of those strategies are

  deployed in the United States to address the same underlying technological limitations. A diesel

  engine does not become easier to make emissions compliant by crossing the Atlantic.

             136.   Plaintiffs’ testing of vehicles in the United States, discussed immediately below,

  supports this conclusion and confirms the presence of a defeat device on Mercedes’ United States

  vehicles and that the European tests are relevant to assessing the plausibility of Plaintiffs’ claims

  here. Indeed, the American passenger cars tested by Plaintiffs at temperatures below 50°F showed

  a significant increase in NOx, just as was found in the Europe studies discussed above. This was

  observed both in the GLK250 and R350 (2.1 Liter and 3.0 Liter engines), which is further proof

  that the same underlying technical issues from the European variants are driving Mercedes to cheat

  in the U.S. Plaintiffs’ testing already proves a technical link.

             4.     Plaintiffs’ testing of BlueTEC Clean Diesels in the United States.

             137.   The following three Mercedes clean diesel vehicles were tested over the course of

  testing.

                                                  - 85 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 96 of 441 PageID: 4091



           (1)        2013 Mercedes GLK250 BlueTEC

                 a. approximately 39,000 miles (120,00 mile useful life)

                 b.   OM651 2.1 Liter engine

                 c. Clean vehicle record with no accidents and regular scheduled maintenance

           (2)        2012 Mercedes R350 BlueTEC

                 a. approximately 45,000 miles (120,000 mile useful life)

                 b. OM642 3.0 Liter engine

                 c. Clean vehicle record with no accidents and regular scheduled maintenance

           (3)        2014 Mercedes/Freightliner Sprinter 2500 BlueTEC (the 2.1 liter OM-651 engine

                      variant)

                 a. approximately 32,000 miles (150,000 mile useful life)

                 b. OM651 2.1 Liter engine

                 c. Clean vehicle record with no accidents and regular scheduled maintenance

           138.       All vehicle records were checked for proper maintenance history and to ensure the

  vehicles were accident free. The vehicles were loaded to the equivalent test weight listed in the EPA

  certification application for each vehicle. None of the vehicles displayed any fault codes or

  malfunction indicator lights (MILs) indicating there might have been a problem with the vehicle(s)

  and their emission systems.

           139.       All vehicles are well under the useful life listed on their emissions certificate.

           140.       Emissions on all three vehicles were found to be well in excess of the relevant

  standards for emissions of nitrogen oxides (NOx). The excesses stem from a variety of defeat

  devices described for each vehicle below.




                                                      - 86 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 97 of 441 PageID: 4092



           141.     In general, the defeat devices trigger a reduction in performance of the two main

  NOx reduction systems in a clean diesel vehicle: 1) the exhaust gas recirculation (EGR) system and

  2) the selective catalytic reduction (SCR) system.

           142.     Exhaust gas recirculation feeds some of the exhaust gas back into the engine intake

  using a controllable valve that routes the exhaust from the exhaust manifold, through an EGR

  cooler, and into the engine intake. The mixture of exhaust gas with fresh incoming air reduces NOx

  generated in the cylinder during normal engine operation. The system can be shut off by completely

  closing the valve that allows exhaust gases to enter the intake. The amount of EGR can be controlled

  by opening the valve to a larger or smaller extent. A lower “percentage” of EGR indicates a valve

  that is more closed, which restricts the amount of EGR. Conversely, a high percentage indicates a

  high level of EGR. High EGR results in a more significant reduction in NOx emissions. Simply

  speaking, high EGR rates lead to lower NOx. The EGR rate is controlled by the engines electronic

  control module (ECM), and can thus be programmed to behave in any way.

           143.     The SCR system is a catalyst through which all of the exhaust stream flows. When

  urea (sometimes called diesel exhaust fluid (DEF) or AdBlue) is injected into the tailpipe upstream

  of the SCR system, a reaction takes place on the surface of the catalyst to reduce NOx to nitrogen

  and water. With no urea present, the reaction will not take place, and no NOx reduction will occur

  over the SCR catalyst. Therefore, by changing the amount of urea injected, the effectiveness of the

  SCR system can be altered by the engine’s ECM. If high levels of urea are injected, high NOx

  reduction occurs provided there is sufficient exhaust temperature. If no urea is injected, no NOx

  reduction takes place.

           144.     It should be noted that the exhaust gas temperatures were studied extensively for all

  three vehicles over a wide variety of operating conditions. Except in the most extreme conditions



                                                   - 87 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 98 of 441 PageID: 4093



  on hills in excess of 6% downhill and very briefly during startup, exhaust gas temperatures entering

  the SCR systems were well in excess of the light-off temperature (i.e. the minimum temperature for

  the reaction to occur) required for successful SCR operation.

           145.     NOx emissions are first reduced in the engine cylinder by various means related to

  injection timing and engine design. The EGR system is the next system in line to reduce NOx

  coming out of the engine. The SCR system comes last in line.

           146.     In the case of all three vehicles, Mercedes manipulated the programming of the

  software to reduce EGR and SCR effectiveness at various times using defeat devices (auxiliary

  emission control devices, or AECDs, that are not approved by the EPA or California Air Resources).

  The programming of these vehicles is meant to cheat the emissions certification standards.

           147.     The vehicles were tested with a portable emission measurement system (PEMS) as

  well as a chassis dynamometer running the federal certification FTP-75 and HWFET tests. The

  vehicles were outfitted with a on board diagnostics (OBD) monitoring system to monitor data on

  the vehicle’s ECM (e.g. EGR rate, exhaust gas temperatures, SCR inlet and outlet NOx, etc).

           148.     Importantly, it should be noted that the relative positive acceleration (RPA), a

  measurement of how aggressively the vehicle is being driven, was tracked for every test performed.

  The RPAs were kept well below the values experienced during the certification cycles, which means

  that the vehicles were driven less aggressively than the conditions experienced during certification.

  The results are therefore conservative and representative of “light footed” driving styles. It is

  anticipated that more aggressive driving styles would lead to even higher emission values than those

  presented below.

           149.     Furthermore, the vehicles tested were relatively “young” compared to their full

  useful life. It is anticipated that vehicles closer to full useful life will have experienced, among other



                                                   - 88 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 99 of 441 PageID: 4094



  things, degradation in the SCR catalyst as well as possible fouling of the EGR valve and cooler.

  This degradation would likely lead to higher NOx levels than those presented below as the vehicles

  approach their full useful lives.

           150.     Lastly, all vehicles were monitored for active regenerations, events where high

  exhaust temperatures are used to remove soot collected in the diesel particulate filter. In general,

  NOx emissions increase dramatically during these infrequent events (though a high frequency of

  these events would be of great concern). These infrequent events are monitored and noted where

  relevant. They are not included in the analyses of defeat devices as they would confuse the data on

  the defeat device strategy. For these three vehicles, active regenerations are so infrequent that they

  can be excluded from the analysis.

           151.     The vehicles were tested over a variety of conditions using a portable emission

  measurement system (PEMS). As explained below, PEMS is essentially a “portable laboratory”

  that allows measurement of emissions outside of a laboratory setting used for certification testing.

           152.     PEMS is a collection of measurement devices that has been used since the 1990s to

  measure real-world vehicle emissions performance outside of a laboratory. PEMS measures oxides

  of nitrogen, total hydrocarbon, methane, carbon monoxide, and carbon dioxide as well as particulate

  matter (PM) emissions during on-road driving of light and heavy-duty vehicles.

           153.     PEMS systems are highly accurate when compared to chassis dynamometer-based

  tests used for vehicle emissions certification. In fact, their accuracy is such that they are currently

  integrated into the European vehicle emission certification process to test RDE (real driving

  emissions). Both EPA and CARB employ PEMS as part of the heavy duty in-use compliance

  program to measure emissions against the not to exceed (NTE) standards, where procedures have

  been codified in the code of federal regulations. Furthermore, both CARB and EPA make wide use



                                                  - 89 -
  010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 100 of 441 PageID: 4095



   of PEMS to evaluate vehicles for the presence of defeat devices. One such study, published by the

   Center for Alternative Fuels Engines and Emissions (CAFEE) in collaboration with CARB, made

   heavy use of PEMS to discover the presence of defeat devices in Volkswagen diesels.12

            154.     PEMS has been used since the 1990s to measure real-world vehicle emissions

   performance. These systems are manufactured by highly respected and well-established emissions

   measurement equipment suppliers like AVL, Horiba, and Sensors Incorporated. All three of these

   companies are leading suppliers of emissions measurement systems used for vehicle and engine

   certification, and they bring their experience in conventional emissions analyzers to bear in

   designing PEMS. Conventional gas analysis systems are very large and complex. Since the years

   when chassis dynamometer testing was originally introduced, advances in analyzer technologies

   over the past three decades have allowed for the miniaturization of conventional laboratory

   analyzers, yielding major size and weight reductions. The introduction of powerful laptop

   computers capable of controlling and capturing data from these systems was also essential their

   introduction. These technological advances made it possible for high-accuracy emissions analyzers

   to be deployed on vehicles while driving on the road outside of the laboratory setting.

            155.     Conventional emissions testing used for certification of vehicles is performed on a

   chassis dynamometer. As mentioned above, the dynamometer is a “treadmill” for the driven wheels

   of a vehicle. The driven wheels are placed on rollers attached to an electric motor capable of

   simulating the forces on the vehicle during real-world driving on the road (in certain instances,

   flywheels may also be used to simulate vehicle inertia). The chassis dynamometer simulates inertial

   forces (i.e., the resistance to acceleration or deceleration from the vehicle’s weight), static friction,

   rolling resistance, and aerodynamic drag. When properly calibrated, the chassis dynamometer will


       12
       Thompson, Gregory J., et. al. “In-Use Emissions Testing of Light-Duty Diesel Vehicles in the United States,”
   CAFEE publication, May 15, 2014.


                                                        - 90 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 101 of 441 PageID: 4096



   simulate real-world driving with a high degree of accuracy. A “coastdown” procedure is used to

   verify that rolling resistance and drag are accurately simulated. However, the inertial load

   simulation requires very rapid and precise response from the electric motor for high accuracy. Slow

   responding systems can under-load the vehicle during acceleration. By contrast, real-world inertial

   forces on the vehicle are inherent in PEMS testing since this testing is conducted on the road in

   normal driving.

            156.     The analyzers used to measure gaseous emissions in the chassis dynamometer

   setting are accurate to within 1% of the full measurement scale. These analyzers are calibrated

   before and after each emissions test to ensure they deliver a high level of accuracy and that the

   calibration does not appreciably change (or drift) during the emissions test. Furthermore, analyzers

   undergo monthly 10-point calibrations to ensure their response is accurate throughout the

   measurement range of each analyzer. These measurements are supplemented with high precision

   measurement of ambient temperature and relative humidity. NOx is adjusted for those values.

            157.     PEMS analyzers are subject to the same requirements. In fact, analyzers used by

   Plaintiffs’ experts have an accuracy of 0.3% of full scale, well within the 1% requirement used for

   chassis dynamometer analyzers. These analyzers are also subject to the same monthly 10-point

   calibration to ensure accuracy throughout the measurement range. The analyzers are also calibrated

   before and after each test to ensure they are both accurate and free of excessive drift. Drift has been

   shown to be far less than 1% even after several hours of testing. PEMS also employs high accuracy

   temperature and relative humidity measurements to adjust NOx.

            158.     Put simply, the analyzers used in chassis dynamometer testing and PEMS testing

   have virtually identical levels of accuracy and are subject to the same strict requirements for

   calibration and drift.



                                                   - 91 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 102 of 441 PageID: 4097



            159.     Notably, because PEMS testing is designed for and is conducted on the road in actual

   driving, it is potentially more accurate than chassis dynamometer testing in certain respects. The

   chassis dynamometer simulates inertial forces (i.e., the resistance to acceleration or deceleration

   from the vehicle’s weight), static friction, rolling resistance, and aerodynamic drag. When properly

   calibrated, the chassis dynamometer will simulate real-world driving with a high degree of

   accuracy. A “coastdown” procedure is used to verify that rolling resistance and drag are accurately

   simulated. However, the inertial load simulation requires very rapid and precise responses from the

   electric motor for high accuracy. Slow responding systems can under-load the vehicle during

   acceleration. By contrast, real-world inertial forces on the vehicle are inherent in PEMS testing

   since this testing is conducted on the road in normal driving.

            160.     One primary difference between PEMS and chassis dynamometer emissions testing

   is that the latter mixes the raw exhaust with ambient air in a dilution tunnel to simulate the effects

   of vehicle exhaust mixing with ambient air immediately after emission from the tailpipe. In the case

   of PEMS, the raw exhaust emissions are measured. The dilution tunnel has the largest effect on

   particulate matter measurements, where sulfate and hydrocarbon aerosols may be formed during

   the dilution process, thereby increasing PM emissions. In modern diesels using low-sulfur fuels,

   these effects are much less important than in the past, where hydrocarbon and sulfate formation was

   much higher. The effect on gaseous pollutants, and in particular NOx, is negligible. Therefore, the

   raw gas measurement of NOx taken during PEMS testing will closely match the diluted exhaust

   measurement taken in a dilution tunnel.

            161.     A wide variety of studies have been performed over the years to validate the

   accuracy of PEMS. One such study, conducted by experts at Ricardo UK, one of the world’s leading

   vehicle research and development companies, concluded that, “NOx emissions agreed within ∼10%



                                                    - 92 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 103 of 441 PageID: 4098



   across a wide range of values.”13 When considering that defeat devices result in emissions that are

   often several times, or even orders of magnitude, higher than the relevant emissions standards, this

   level of agreement with chassis dynamometer emissions measurement is more than sufficient to

   identify the presence of defeat devices and to quantify the effects.

            162.     A well-designed PEMS test program can account for ambient temperature, traffic

   variability, relative positive acceleration (RPA—i.e., the “hardness” or “softness” of the driver’s

   driving style), road quality, and wind speed. The effect of wind speed, in particular, can be averaged

   out by conducting a large number of tests with variable wind conditions. Tests are typically repeated

   dozens of times, with careful attention paid to, among other things, the average cycle speed, ambient

   temperature, RPA, and road grade. Plaintiffs’ experts, who have extensive experience with chassis

   dynamometer and PEMS testing, took careful measures to ensure tests were conducted properly

   and according to best practice, with awareness of the variety of variables to be considered and

   factored into the interpretation of the results.

            163.     Importantly, it is often not possible to test conditions on a chassis dynamometer that

   might be experienced in the real world. As was discovered during the Volkswagen diesel scandal,

   the vehicle’s engine control module can often detect that the vehicle is being tested on a chassis

   dynamometer. In addition to being able to detect that a certification test cycle is being run, as with

   Volkswagen, vehicles can use various sensors to determine the vehicle is on a chassis dynamometer.

   Types of algorithms used to detect a chassis dynamometer include, but are not limited to, the

   following:

                     a)     Driven wheels are moving but the front wheels are not turning, a condition
                            only experienced on a chassis dynamometer. All modern vehicles are



       13
          Anderson, Jon, et. al., “On-Road and Chassis Dynamometer Evaluations of Emissions from Two Euro 6
   Diesel Vehicles,” SAE 2014-01-2826, October 2014.


                                                      - 93 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 104 of 441 PageID: 4099



                            equipped with steering wheel angle sensors and can detect when the
                            steering wheel is being turned.

                     b)     On a 2-wheel drive vehicle, the driven wheels are moving but the non-
                            driven wheels are not, a condition only experience on a chassis
                            dynamometer.

                     c)     On a vehicle equipped with GPS, the vehicle’s wheels are moving while the
                            GPS position is not changing.

            164.     PEMS testing was also used by CAFEE at West Virginia University to test light duty

   vehicles under a contract from the International Council on Clean Transportation (“ICCT”). CAFEE

   relied primarily on PEMs testing and in the process uncovered the fact that Volkswagen vehicles

   were not meeting emissions standards. The ICCT contract with CAFEE mandates that CAFEE use

   PEMs.

            5.       2014 GLK250 BlueTEC.

            165.     This vehicle was tested with a PEMS over the course of 1,330 miles, 953 of which

   were on the highway and 207 of which were in stop and go or variable speed conditions. A generator

   was installed on the rear of the vehicle to power the PEMS equipment in a position that was

   considered to have a minimal impact on the vehicle’s aerodynamic drag.




                                                   - 94 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 105 of 441 PageID: 4100




            166.     The stop and go emissions were found to be 208 mg/mile on average over all tests

   conducted, or 4.2 times the standard of 50 mg/mile. Maximum emissions in stop and go conditions

   were found to be 1,725 mg/mile, a condition where the EGR and SCR systems had been completely

   shut off. That is 34.5 times the standard.

            167.     The “compliance factor” can be considered a multiple of the emission standard. It is

   the actual emission rate found during testing divided by the certification standard. A vehicle that

   meets the standard will have a compliance factor less than 1. A vehicle with a compliance factor of

   1 meets the standard exactly. A compliance factor of 2 means the vehicle exceeds the standard by

   a factor of 2.

            168.     The compliance factor for stop and go conditions is plotted below.




                                                    - 95 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 106 of 441 PageID: 4101




            169.     The bar chart for a compliance factor of “1” represents the fraction of the total miles

   that are at or above the standard. The bar for a compliance factor of “2” represents the total miles

   that are twice the standard or more, and so on. What is notable is that the vehicles spends 79% of

   its time above the standard. That means only 21% of the miles traveled in stop and go conditions

   actually met the standard. What is also notable is that the vehicle spends 50% of its time at twice

   the standard or more. Finally, we see that the vehicle spends 8% of its time at 10 times the standard

   or more.

            170.     The highway emissions were found to be 319 mg/mile on average over all tests

   conducted, or 6.4 times the standard of 50 mg/mile. Maximum emissions in highway conditions

   were found to be 4,166 mg/mile, or 83 times the standard.

            171.     Similarly, the compliance factor for highway driving is plotted below.




                                                     - 96 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 107 of 441 PageID: 4102




             172.    The vehicle spends 92% of the miles traveled above the standard (a compliance

   factor greater than 1), leaving only 8% of the vehicle miles traveled (VMT) having met the standard.

   The vehicle spends 54% of its VMT at 4 times the standard or above, and 4% at 20 times the

   standard or above.

             173.    The excessive emissions are a result of a number of defeat devices. On the GLK250,

   the EGR and SCR rates are both turned down significantly at various moments in time where one

   would not expect a change, most notably when the speed and road grade are not changing.

             174.    The plot below is one of several that shows the typical behavior. The orange line

   represents the vehicle speed. Note that it is relatively constant at 100 km/hour (62 mph). The small

   fluctuations observed in the speed over the several plots presented below are normal, as vehicle

   speed is usually maintained by small accelerations and decelerations that the driver doesn’t usually

   notice.




                                                   - 97 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 108 of 441 PageID: 4103



            175.     The gray line indicates the percent reduction of the SCR system. A higher percentage

   reduction represents a very low NOx emission rate from the tailpipe. In the limit that NOx reduction

   is 100% on the SCR catalyst, the emissions will be 0 mg/mile from the tailpipe. The yellow line

   represents the percent EGR. The absolute value of this number is not so important compared to the

   relative value in various situations. Note that around 5,450 seconds in the plot that EGR is shutoff

   (the yellow line goes to 0) and the SCR reduction (gray line) also goes to near 0. As a result, the

   NOx emission rate (represented by the blue line) exceeds the upper limit of the chart. After a short

   period of time, the EGR system is reactivated, but the SCR system doesn’t come back up to high

   NOx reduction until about 6,450 seconds. This is typical.




            176.     The following plot shows similar behavior. At around 16,150 seconds, the SCR

   system reduction begins to decrease and NOx begins to increase. At 16,350 seconds, the EGR

   system is shut off completely and the SCR reduction goes to near 0. Again, the NOx emissions

   (blue line) increase to values that exceed the maximum 2,000 mg/mile limit on the chart. These

   changes are not associated with any load change due to speed or road grade.


                                                    - 98 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 109 of 441 PageID: 4104




            177.     The GLK250 also seems to employ a timer that will meet the emission standard for

   a certain period of time and then begin to increase emissions after a certain period of operation. In

   the plot below, the vehicle speed remains constant at 110 km/hr while the SCR reduction (gray line)

   decreases over time. In this case, the emissions are 46 mg/mile for about 400 seconds, and then the

   SCR effectiveness (i.e. amount of urea injected) decreases starting at 7,800 seconds. Although the

   speed and road grade haven’t changed at all, the emissions increase to 203 mg/mile after the SCR

   system is slowly turned off.




                                                  - 99 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 110 of 441 PageID: 4105




            178.     The same behavior is observed in the plot below. Emissions are 63 mg/mile for about

   400 seconds before the SCR system is de-rated (i.e. urea injection is reduced). After the SCR system

   is de-rated, emissions increase to 167 mg/mile.




                                                   - 100 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 111 of 441 PageID: 4106




            179.     Similar events are summarized in the following table.

                                                    Pre         After
                                                 timeout      timeout
                                                   NOx          NOx            Factor      Del NOx
    Condition           Temp          Event #   (mg/mile)    (mg/mile)        Increase      mg/mile
   Flat               71.6        1             46           203             4.4         157
   Flat               60.6        2             63           167             2.7         104
   Flat               63.1        3             119          252             2.1         133
   Uphill 2.8%        57.8        4             355          4166            11.7        3811
                                                             Average         5.2         1051

            180.     On average, these events result in an increase in NOx emissions by a factor of 5.2,

   but in some cases as high as 11.7. On average, the EGR rate is decreased from 36.6% to 32.0% after

   the system is de-rated and the SCR effectiveness is reduced from 80% to 43% after the urea injection

   is turned down.




                                                   - 101 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 112 of 441 PageID: 4107



            181.     The data were analyzed for both stop and go conditions and highway conditions on

   flat roads and several road grades. The results from flat roads in stop and go conditions are plotted

   below. Each represents an individual test point. The horizontal red bar represents the NOx emission

   standard of 50 mg/mile. The vertical blue lines are the upper and lower bounds for the ambient

   temperature while performing certification testing (68 and 86°F). It is believed that the vehicle

   triggers an increase in NOx when the ambient temperature is outside the certification test window.

            182.     In the plot below, the blue dots represent emission tests for which low ambient

   temperature defeat device is triggered (i.e. temperature generally below 68°F). The red dots

   represent emission tests for which the high ambient temperature defeat device is believed to be

   active (i.e. temperature generally above 86°F). The green dots represent the tests for which the

   certification test software is active (i.e. low NOx, in between 68 and 86°F).

            183.     The vehicle’s ambient temperature sensor is usually mounted in front of the radiator

   close to the road. These sensors are not necessarily shielded from the sun and are highly susceptible

   to false readings at high ambient temperatures from heat generated by hot black top or direct

   sunlight.

            184.     When it comes to a defeat device based on ambient temperature, the vehicle may use

   one or more temperature sensors in the intake that are affected by ambient temperature. There are

   several temperature sensors in the intake manifold for the engine, any combination of which could

   be used to trigger a defeat device (in addition to the possible use of the ambient temperature sensor).

   The temperature sensors may not directly measure ambient temperature, but are certainly related to

   ambient temperature. Therefore, the cutoff temperatures, as measured by the ambient temperature

   sensor, are not necessarily exactly 68°F or 86°F. Hence, the high and low temperature defeat devices

   can occasionally fall within the certification test window. In general, however, these instances occur



                                                   - 102 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 113 of 441 PageID: 4108



   when the vehicle is very close to the certification test window temperature or when the ambient

   temperature is changing and the intake temperature sensors may not yet have changed in response.

   This applies to the R350 data presented in the next section as well.




            185.     It appears that NOx emissions are high in both the low ambient temperature modes

   and high ambient temperature modes, while the emissions appear to meet the standard inside the

   test window. In this case, the red dots occur during a transition from high temperature to low

   temperature. In this case, it is believed that the high temperature defeat device is active even though

   the ambient temperature sensor is below 86°F (probably triggered by another sensor in the intake

   manifold that still shows a high reading as a result of the high ambient temperature). As explained

   above, this is likely due to lingering high temperatures at some sensor or combination of sensors in

   the intake under the hood.



                                                  - 103 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 114 of 441 PageID: 4109



            186.     The emissions for the cold ambient defeat device are 453 mg/mile on average. The

   emissions for the high ambient temperature defeat device are 278 mg/mile, while the emissions

   inside the certification test window are 41 mg/mile on average (i.e. meet the standard).

            187.     Similar behavior is observed for highway driving on flat roads. In this case, high

   temperature data was not taken as these temperatures were not available in the necessary road

   conditions during testing. Emissions in the certification test window are well below the standard,

   while emissions below 68°F are well in excess of the standard. Cold defeat device NOx emissions

   are 230 mg/mile while emissions in the certification window are 19 mg/mile.

            188.     In general, the SCR reduction efficiency in stop and go flat road conditions is 96%

   for conditions where the vehicle meets the standard and 33% on average for all other conditions.

   That is a major reduction in SCR reduction efficiency, accomplished by a major reduction in

   injected urea by the program in the engine’s ECM. The EGR rate is reduced from 34% to 32% for

   the compliant and non-compliant conditions, respectively.

            189.     Similarly, for steady highway driving on flat roads, the SCR efficiency decreases

   from 97% to 65%, while the EGR rate decreases from 39% to 36%.




                                                   - 104 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 115 of 441 PageID: 4110




            190.     The vehicle also employs a defeat device that detects the grade in the road. During

   certification, the vehicle does not experience either physical or simulated road grade. Therefore, a

   defeat device that triggers higher emissions on an uphill or downhill road grade would not be

   detectable on a certification dynamometer. That device could only be detected using a PEMS

   system.

            191.     Road grades tested in stop and go conditions ranged from 0.4 to 3.7%. It should be

   noted that, in the colloquial sense, a road grade less than 1.0% would be considered “flat” by the

   average person. Even at modest grades like 2.7% in stop and go conditions, the NOx emissions

   increase to 983 mg/mile (nearly 20 times the standard). That level of road grade would generally

   be considered a very slight hill. As shown in the plot below, this defeat device appears to be active

   at all temperature ranges, not just above and below the certification test window.




                                                   - 105 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 116 of 441 PageID: 4111




            192.     Average stop and go emissions on hills are 308 mg/mile, which is 7.5 times the value

   of 41 mg/mile measured during stop and go conditions in the certification test window. The SCR

   efficiency is reduced from 96% when the vehicle meets certification in flat stop and go driving to

   73% in this case.

            193.     Emissions during downhill stop and go test runs ranging in grade from 0.5 to 3.3%

   downhill were as high as 464 mg/mile and were 190 mg/mile on average. That’s 4.6 times the

   emissions measured during stop and go conditions in the certification test window. The SCR system

   effectiveness is reduced to 55%, compared to 96% when the vehicle meets the standard on flat

   roads.




                                                   - 106 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 117 of 441 PageID: 4112




             194.    Uphill grades between 0.6% and 5.3% were tested. On average, highway emissions

   on uphill grades are 1,035 mg/mile, more than 20 times the standard. Emissions are as high as 4,166

   mg/mile on a 4.2% road grade. That’s 83 times the standard. Even on a grade as small as 1.7%,

   emissions were 355 mg/mile, some 7 times the standard. The overall SCR reduction effectiveness

   is reduced to 61%, compared to 97% where the vehicle meets the standard on flat roads. EGR rates

   are reduced from 39% in cases where the vehicle meets the standard on flat roads to 30% on uphill

   grades.




                                                 - 107 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 118 of 441 PageID: 4113




            195.     Downhill grades between 0.4% and 5.5% were tested, with an average NOx

   emission rate of 210 mg/mile. Even on a road grade as small as 1.4%, emissions were as high as

   1,408 mg/mile. The SCR effectiveness is reduced, on average from 97% where the vehicle meets

   the standard on flat roads to 61%.




                                              - 108 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 119 of 441 PageID: 4114




            196.     Finally, this vehicle was tested on a chassis dynamometer following the protocol for

   the FTP-75 and HWFET tests, with the following results.

                                                Test Cycle (values in mg/mile)
                                                FTP                              HWFET
              EPA Cert Standard                 50                               70
              Reported Cert Values              40                               20
              Dyno Test Values                  66                               8

            197.     The certification values are either close to (in the case of the FTP-75) or under the

   standards, so the vehicle is believed to operate according to the manufacturer’s original

   specifications. It is clear that the over-the-road driving emissions increase dramatically above the

   standard, which would suggest the vehicle is able to detect the certification test, as was done in the

   case of the Volkswagen diesel emissions scandal.

            6.       2012 R350 BlueTEC.

            198.     This vehicle was tested with a PEMS over the course of 1,742 miles, 1,395 of which

   were on the highway and 347 of which were in stop and go or variable speed conditions. A generator


                                                   - 109 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 120 of 441 PageID: 4115



   was installed on the rear of the vehicle to power the PEMS equipment in a position that was

   considered to have a minimal impact on the vehicle’s aerodynamic drag.




            199.     The stop and go emissions were found to be 361 mg/mile on average over all tests

   conducted, or 7.2 times the standard of 50 mg/mile. Maximum emissions in stop and go conditions

   were found to be 1,500 mg/mile, or 30 times the standard.

            200.     The compliance factor for stop and go conditions is plotted below.




                                                   - 110 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 121 of 441 PageID: 4116




            201.     The vehicle spends 82% of its time above the standard. That means only 18% of the

   miles traveled in stop and go conditions actually met the standard. The vehicle spends fully 36% of

   the time more than 10 times the emission standard.

            202.     The highway emissions were found to be 286 mg/mile on average over all tests

   conducted, or 5.7 times the standard of 50 mg/mile. Maximum emissions in highway conditions

   were found to be 4,558 mg/mile, or 91 times the standard.

            203.     Similarly, the compliance factor for highway driving is plotted below.




                                                   - 111 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 122 of 441 PageID: 4117




            204.     The vehicle spends 92% of the miles traveled above the standard, leaving only 8%

   of the vehicle miles traveled (VMT) having met the standard. The vehicle spends 41% of its VMT

   at 4 times the standard or above, and 13% at 10 times the standard or above.

            205.     As with the GLK250, the R350 employs a number of defeat device strategies that

   reduce the effectiveness of the EGR and SCR systems. Like the GLK250, the EGR and SCR

   systems are periodically turned off or de-rated in a manner which is not justified by operating

   conditions (e.g. steady operation with no change in speed or road grade). This behavior is also

   observed in stop and go conditions, where the EGR system is periodically turned off, leading to a

   spike in NOx.

            206.     The plot below shows one such event. As with the plots above, the orange line is the

   vehicle speed; the blue line is the NOx emissions in mg/mile; yellow line is the EGR rate; and the



                                                   - 112 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 123 of 441 PageID: 4118



   gray line is the SCR percent reduction. At multiple points in this plot, the yellow line (EGR rate)

   drops to zero, leading to a significant spike in NOx emissions. These periodic spikes lead to greatly

   increased overall NOx emissions. The first event in the plot occurs near 6,000 seconds, the second

   at 6,120 seconds, and the third at 6,170 seconds. Notice that in each case, the NOx spikes are well

   above the standard. In the first case, we see a spike to nearly 600 mg/mile. The second spike leads

   to over 800 mg/mile. The third leads to over 200 mg/mile. These spikes are well in excess of the 50

   mg/mile standard and lead to a composite emission rate for this test of 279 mg/mile, or 5.6 times

   the standard.




            207.     In many circumstances, the SCR system is significantly de-rated. In the plot below,

   the speed is relatively constant at 120 km/hr (71.2 mph). Near 3,550 seconds, the SCR system (gray

   line) drops from approximately 80% reduction to 0-40% reduction. The resulting NOx goes off the

   plot, with levels exceeding the 2,000 mg/mile upper bound of the plot. The resulting NOx rate for

   this test is 4,558 mg/mile, or 91 times the standard.




                                                   - 113 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 124 of 441 PageID: 4119




            208.     Here we see a plot where the SCR system is de-rated on a periodic basis (gray line)

   over the course of 1.2 hours, driving the NOx up to levels above 200 mg/mile. As a result, the

   overall NOx emission rate for this segment is 131 mg/mile.




            209.     The plot below shows the same behavior, with SCR effectiveness dropping from the

   80% region to 0-40% region around 4,550 seconds. Again, the NOx levels exceed the upper bound



                                                   - 114 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 125 of 441 PageID: 4120



   of the plot, with NOx in excess of 2,000 mg/mile, with the composite NOx emission rate for the

   test at 1,880 mg/mile.




            210.     These plots are presented for illustrative purposes, as there are dozens of similar

   plots that were collected over the course of testing the R350.

            211.     As with the GLK250, the data was analyzed in stop and go and highway conditions

   on flat roads and grades. This data is plotted against ambient temperature, as a similar ambient

   temperature defeat device strategy is employed with the R350.

            212.     For stop and go driving on flat roads, the emissions appear to meet the standard in

   the temperature window between 68 and 86°F, as with the GLK250. However, outside of that

   temperature window, the NOx emissions increase significantly. The details of the coloring for the

   points (and classification as “cold,” “mid,” or “high”) and justification are presented above in the

   discussion of the GLK250. Within the certification test window, stop and go results are 23 mg/mile

   on average, well below the 50 mg/mile standard. At temperatures below 68°F, emissions spike as




                                                   - 115 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 126 of 441 PageID: 4121



   high as 624 mg/mile, with an average of 264 mg/mile. At temperatures above 86°F, emissions spike

   as high as 521 mg/mile, with an average of 428 mg/mile.




            213.     For stop and go flat driving, the SCR reduction rate is 97% for conditions where the

   vehicle meets the standard. This number drops to 74%, on average, for conditions where the vehicle

   exceeds the standard. Similarly, the EGR rate drops from 44% to 29%, on average.

            214.     The same behavior is observed for highway driving. Note that the coloring of the

   points presented on the plots and discussion of the exact ambient temperature where the defeat

   devices are active is discussed in the GLK250 section above. Within the certification test window,

   highway results are 62 mg/mile on average, very close to the 50 mg/mile standard. At temperatures

   below 68°F, emissions spike as high as 583 mg/mile, with an average of 216 mg/mile. At

   temperatures above 86°F, emissions spike as high as 991 mg/mile, with an average of 401 mg/mile.




                                                   - 116 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 127 of 441 PageID: 4122




            215.     For highway flat driving, the SCR reduction rate is 88% for conditions where the

   vehicle meets the standard. This number drops to 80%, on average, for conditions where the vehicle

   exceeds the standard. Similarly, the EGR rate drops from 47% to 38%, on average.

            216.     Similar to the GLK250, the R350 has a defeat device that dramatically increases

   NOx on uphill and downhill road grades. The vehicle was driven on uphill road grades ranging

   from 0.4% to 2.6%. These are modest grades, and yet NOx increases to levels as high as 1,500

   mg/mile, some 30 times the standard. Average NOx emissions for all stop and go testing on an

   uphill grade are 523 mg/mile. SCR effectiveness drops from 97% in cases where the vehicle meets

   the standard on flat roads to 70% on uphill grades. Similarly, EGR drops from 44% to 27% for the

   flat road and uphill road tests, respectively.

            217.     There are not enough data points in stop and go downhill conditions to present, but

   downhill emissions for steady highway driving are presented later.




                                                    - 117 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 128 of 441 PageID: 4123




            218.     For steady highway driving, grades between 0.5% and 3.5% were tested. Emission

   levels were measured as high as 4,558 mg/mile, with an average of 942 mg/mile. These are

   extraordinarily high numbers given the relatively low road grade. The SCR effectiveness drops

   from 88% in cases where the vehicle meets the standard on flat roads during highway driving to

   54%. Similarly, the EGR rates drops from 47% to 32% for the flat road and uphill grade conditions,

   respectively.




                                                 - 118 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 129 of 441 PageID: 4124




            219.     Downhill emissions under steady highway conditions were measured from 0.5%

   downhill grade to 3.2% downhill grade. On average, emissions were 190 mg/mile, with values as

   high as 857 mg/mile. The SCR effectiveness drops from 88% in cases where the vehicle meets the

   standard on flat roads during highway driving to 74%. Similarly, the EGR rates drops from 47% to

   37% for the flat road and downhill grade conditions, respectively.




                                                - 119 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 130 of 441 PageID: 4125




            220.     Finally, the R350 was tested using the certification protocols for the FTP-75 and

   HWFET tests. As can be seen, the vehicle meets the certification standard for both tests, so the

   emissions system is operating within the manufacturer’s design specifications. It is clear that the

   over-the-road driving emissions increase dramatically above the standard, which would suggest the

   vehicle is able to detect the certification test, as with the Volkswagen scandal.

                                               Test Cycle (values in mg/mile)
                                               FTP                              HWFET
              EPA Cert Standard                50                               70
              Reported Cert Values             50                               10
              Dyno Test Values                 23                               47

            7.       2014 Mercedes/Freightliner Sprinter 2500 BlueTEC.

            221.     This vehicle was tested with a PEMS over the course of 1,712 miles, 1,224 of which

   were on the highway and 488 of which were in stop and go conditions (or city conditions as

   represented by the FTP-75 certification test). A generator was installed on the rear of the vehicle to

   power the PEMS equipment in a position that was considered to have a minimal impact on the

   vehicle’s aerodynamic drag.

                                                  - 120 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 131 of 441 PageID: 4126



            222.     The vehicle was found to have at least 2 defeat devices: 1) a timer on the SCR system

   that reduces the effectiveness after a short period of time, and 2) a defeat device that detects road

   grade and reduces overall emission system performance.




                                                   - 121 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 132 of 441 PageID: 4127




            223.     The stop and go emissions were found to be 465 mg/mile on average over all tests

   conducted, or 2.3 times the standard of 200 mg/mile. Maximum emissions in stop and go conditions

   were found to be 1,844 mg/mile, or 9.2 times the standard.

            224.     The compliance factor for stop and go conditions is plotted below.




                                                   - 122 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 133 of 441 PageID: 4128




            225.     The vehicle spends 61% of its time above the standard. That means only 39% of the

   miles traveled in stop and go conditions actually met the standard. The vehicle spends fully 25% of

   the time more than 4 times the emission standard.

            226.     It should be noted that, although the magnitude of the compliance factors is lower

   than with the passenger cars (GLK250 and R350), the actual excess NOx emitted is just as

   significant as that seen on the passenger cars. For example, if the passenger cars are at 1,000

   mg/mile NOx, that’s 20 times the standard of 50 mg/mile, with an increase of 950 mg/mile above

   the standard. If the Sprinter is at 1,000 mg/mile NOx, that’s 5 times the standard with an increase

   in 800 mg/mile above the standard. In terms of excess NOx emitted, the Sprinter is similar to the

   passenger cars even though the compliance factors are relatively lower.

            227.     The highway emissions were found to be 798 mg/mile on average over all tests

   conducted, or 4.0 times the standard of 200 mg/mile. Maximum emissions in highway conditions

   were found to be 1,790 mg/mile, or 9.0 times the standard.



                                                  - 123 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 134 of 441 PageID: 4129



            228.     Similarly, the compliance factor for highway driving is plotted below.




            229.     The vehicle spends 96% of the miles traveled above the standard, leaving only 4%

   of the vehicle miles traveled (VMT) having met the standard. The vehicle spends 51% of its VMT

   at 4 times the standard of above, and 4% at 8 times the standard or above.

            230.     As with the GLK250 and R350, the Sprinter employs a number of defeat device

   strategies that reduce the effectiveness of the EGR and SCR systems. As with the passenger cars,

   the EGR and SCR systems are periodically turned off or de-rated in a manner which is not justified

   by operating conditions (e.g. steady operation with no change in speed or road grade).

            231.     In several instances, the SCR effectiveness is de-rated significantly after a short

   period of time, if not shut off altogether. Here we observe a very well-behaved system. The EGR

   rate is removed from the plot for the sake of clarity, though it’s relatively constant throughout.

   Although the vehicle is operating at a variety of speeds, the SCR reduction rate (gray line) is 94%

   overall, and the resulting NOx emissions are 116 mg/mile, well within the 200 mg/mile standard.

                                                   - 124 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 135 of 441 PageID: 4130




            232.     Here, however, the SCR effectiveness is reduced from over 90% to some 50% over

   the course of a short period of time during steady driving at approximately 60 mph (triggered by a

   reduction in urea injected into the SCR system by the engine ECM). The reduction starts at about

   3,250 seconds. The resulting NOx levels spike above the 1,000 mg/mile limit of the plot, with the

   composite emission rate for this segment of 710 mg/mile. Prior to the reduction in urea injection,

   the emission rate is 216 mg/mile, which is very close to the standard. After the reduction in urea

   injection, the emission rate increases to 766 mg/mile.




                                                 - 125 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 136 of 441 PageID: 4131




            233.     Another instance in the following plot, where the reduction in SCR effectiveness

   begins to reduce at 2,900 seconds. The SCR effectiveness reduces from well over 90% to

   approximately 50%, just as before, with a composite NOx emission rate of 428 mg/mile. Prior to

   the reduction in urea injection, the emission rate is 58 mg/mile, well below the standard. After the

   reduction in urea injection, the emission rate increases to 586 mg/mile.




                                                  - 126 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 137 of 441 PageID: 4132




            234.     A wide variety of these SCR urea injection defeat devices were observed over the

   course of testing. These instances are summarized in the table below. In general, this defeat device

   results in a factor of 6.4 increase in NOx once the defeat device is triggered. The defeat device

   generates an additional 467 mg/mile of NOx above the standard. The SCR effectiveness is

   decreased on average from 90% to 59% once the defeat device is enabled. The EGR rate drops from

   29.8% to 28.6%, so it would appear the primary defeat device is related to a reduction in urea

   injection into the SCR system.




                                                  - 127 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 138 of 441 PageID: 4133




            235.     The vehicle was tested on flat roads in stop and go conditions across a wide variety

   of ambient temperatures. Unlike the GLK250 and R350, there does not appear to be any ambient

   temperature dependence for the SCR defeat device. The defeat devices are active across all ambient

   temperatures.

            236.     On average, the NOx emissions are 293 mg/mile, with spikes as high as 1,618

   mg/mile. On average, the SCR effectiveness is reduced from 87% in cases where the vehicle meets

   the standard to 63% in cases where the vehicle exceeds the standard.




                                                   - 128 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 139 of 441 PageID: 4134




            237.     Similarly, for steady highway conditions on flat roads, the average NOx emission

   rate is 615 mg/mile, or 3 times the standard of 200 mg/mile. We observe emission rates as high as

   1,254 mg/mile, or 6.3 times the standard. On average, the SCR effectiveness is reduced from 86%

   in cases where the vehicle meets the standard to 54% in cases where the vehicle exceeds the

   standard.




                                                  - 129 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 140 of 441 PageID: 4135




            238.     As with the passenger cars, the effects of modest road grades were studied in both

   stop and go and highway driving conditions. In stop and go conditions, road grades between 0.7%

   and 3.7% were tested, with a resulting average NOx of 738 mg/mile and maximum of 1,844

   mg/mile. Even on a grade as insignificant as 1.0%, the emissions are as high as 845 mg/mile. In

   only one case on uphill grades did the vehicle meet the standard. The SCR effectiveness is reduced

   from 87% in cases where the vehicle meets the standard on flat roads to 53% on uphill grades. The

   EGR rate is reduced from 30% in cases where the vehicle meets the standard on flat roads to 23%

   on uphill grades.




                                                  - 130 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 141 of 441 PageID: 4136




            239.     For highway conditions, road grades between 0.6% and 4.4% were tested, with a

   resulting average NOx of 1,003 mg/mile and a maximum of 1,790 mg/mile. Even with an almost

   imperceptible grade of 0.4%, the emissions are 698 mg/mile, or 3.5 times the standard. In no cases

   does the vehicle meet the standard on uphill grades. On average, the SCR reduction rate is 43%,

   compared to the high 80% range when the vehicle meets the standard. EGR rates are on average

   22%, compared to 27% when the vehicle meets the standard in highway conditions (only on flat

   roads in this case).




                                                 - 131 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 142 of 441 PageID: 4137




            240.     Stop and go data for downhill conditions is relatively limited, but grades were tested

   between 0.7% downhill to 2.4% downhill, producing NOx emissions of 343 mg/mile on average.

   Interestingly, the highest NOx emission rate for downhill stop and go occurs at a very modest 0.7%

   downhill grade, yielding a NOx emission rate of 1,087 mg/mile. The SCR reduction rate is, on

   average, 70%, which compares to the 87% reduction rate when the vehicle meets the standard on

   flat roads.




                                                    - 132 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 143 of 441 PageID: 4138




            241.     Downhill grades between 0.6% and 2.9% were tested under steady highway

   conditions. The average NOx for these conditions is 714 mg/mile, with a maximum of 899 mg/mile

   at 1.0% downhill. The SCR effectiveness is 42% on average, compared to 86% where the vehicle

   meets the standard on flat roads.




                                              - 133 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 144 of 441 PageID: 4139



            242.     It is thus clear that the vehicle is able to detect both uphill and downhill grades and

   reduce the level of urea injection. This defeat device results in a reduced effectiveness of the SCR

   and EGR systems and dramatic and consistent increases in NOx above the standard. Combined with

   the timeout defeat device that reduces the SCR effectiveness after a short period of time, the vehicle

   rarely meets the NOx emission standard.

            8.       Summary.

            243.     It is clear from the testing that Mercedes uses a systematic set of defeat devices

   across their entire OM642 and OM651 engine platforms. The tested vehicles are representative of

   the entire group of vehicles in the complaint as they test both the 3.0 and 2.1 Liter platforms. In the

   latter case, the OM651 platform is demonstrated to use defeat devices in both passenger car and

   medium duty vehicle applications. The vehicles use consistent defeat devices to reduce both EGR

   rates and SCR rates under a wide variety of test conditions that are not discoverable using the

   certification test.

            244.     These defeat devices are only discoverable when conducting over-the-road testing

   that is not part of the certification protocol. A variety of defeat devices are used, including ambient

   temperature sensing, road grade sensing, SCR “timeout” (reduction after a period of time), and

   periodic and sporadic de-rate of the EGR and SCR systems. The result is that all three vehicles

   grossly exceed the relevant emission standards when operated in normal driving conditions

   representative of a wide variety of driving styles.

            245.     Plaintiffs did not test each model to derive plausible allegations that each Polluting

   Vehicle violates U.S. and CARB emissions standards and produces emissions beyond those a

   reasonable consumer would have expected when he or she purchased their Mercedes. Plaintiffs did

   not have to, because, they did not need to. As set forth in more detail below, all of the models share

   either identical or very similar engines and emissions systems, allowing Plaintiffs’ experts to

                                                    - 134 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 145 of 441 PageID: 4140



   plausibly conclude that all Polluting Vehicles violate U.S.         and CARB standards and the

   expectations of a reasonable consumer.

            246.     Mercedes itself grouped various engines and vehicles into certain emission control

   groups. There is a standard EPA and CARB allowed practice, whereby vehicle manufacturers

   combine vehicles and engines into groups to reduce the cost of testing. This same approach lays

   the groundwork for allegations of similarity and sameness across multiple models, model years,

   and configurations.

            247.     When a manufacturer submits an application for emissions certification to the EPA

   or CARB, they will group similar vehicles into the same test group that (i) have the same engine

   and emission control system, (ii) have similar weights, and (iii) are certified to the same emission

   standard. In some cases, only one vehicle will go in a test group. In some cases, there may be two

   or more vehicles in a test group. The manufacturer will group them based on the equivalency of

   the engine/emission control system and weight. For example, the 2009 ML320 BlueTEC and R320

   BlueTEC are grouped together in the same test group because their engines/emission control

   systems are identical (3.0 Liter OM642 with SCR after treatment) and they are a similar weight

   class. The GL320, which has the same engine and emission control system as the ML320/R320,

   goes into a different test group because it is in a different weight class (even though the engine and

   emission control system is the same). When a manufacturer groups multiple models onto the same

   certification application, only one vehicle is used for the manufacturer’s testing in order to reduce

   cost; the manufacturer need not test every vehicle or even a sampling.

            248.     If the EPA considers the vehicles similar enough to allow grouping on the same

   application for a test group, then the EPA considers the vehicles identical from an emissions

   standpoint.



                                                  - 135 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 146 of 441 PageID: 4141



            249.     Comparisons to the “emissions data vehicle” (EDV) and the “durability data

   vehicle” (DDV) across multiple test groups also reinforces this conclusion. An EDV is used to

   demonstrate compliance with the relevant emission standard; this is the vehicle that is actually

   tested on the dynamometer to determine emissions performance and compliance with the standard.

   The DDV is used to show the durability of the emission control system and to determine the rate of

   deterioration for the emission control system over the vehicle’s useful life.

            250.     When a manufacturer submits an application for certification, it will use a unique

   identifier (like a serial number) to identify the EDV and DDV that are being used to support the

   application. In many cases, the EDV will be the same vehicle as used in previous years, which

   means the application is a carryover from the previous year and no model changes were made. If

   the EDV is the same from one application to the next, the vehicles in those test groups should be

   considered equivalent from an emissions performance standpoint.

            251.     The DDV applies more broadly across multiple test groups, as it is primarily a

   measure of catalyst deterioration. Many different models and model years may use the same DDV

   to demonstrate the durability of the emissions system. If two test groups use the same DDV, it

   provides some additional evidence that there is equivalence between the two engines and emission

   control systems.

            252.     All variants of the two base Mercedes BlueTEC engines sold in the U.S.—the 2.1L

   OM651 and the 3.0L OM 642—are well represented by both the Plaintiff list of vehicles and

   Plaintiffs’ test vehicles. Though there are different configurations and possibly subtle changes from

   vehicle to vehicle and model year to model year, these engines are substantially similar.

            253.     As noted, manufacturers tend to try to leverage the same engine/emissions

   technology across multiple vehicle platforms and model years in order to reduce the burden of



                                                  - 136 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 147 of 441 PageID: 4142



   testing. In fact, a single engine and/or vehicle has been used across multiple vehicle models and

   models years to achieve certification. This strongly (and plausibly) suggests that any defeat

   strategies would reasonably operate across the broad class of similar engines. Indeed, it would be

   prohibitively expensive and impractical for Mercedes to develop completely separate emissions

   control systems for vehicles that have the same or similar engines.

            254.     Plaintiffs’ experts also conducted additional research into the public technical

   literature providing an understanding of the various configurations of BlueTEC engines sold

   between 2007 and 2016. The literature provides some insight into the architecture of the variants

   of the OM642 and OM651 engines. In all cases, the engines are shown to have much more

   commonality than not, leading Plaintiffs’ experts to conclude there is a strong basis for sufficient

   similarity or “sameness” to warrant inclusion on the list of Polluting Vehicles. The vehicles are

   either equivalent from an emissions standpoint to the test vehicles or use the same core technologies

   and engine platforms as the tested vehicles.

            255.     The vehicles can be broken down into four categories, all of which are well

   represented by the test vehicles identified for the reasons discussed above and as further explained

   below:

                     3.0 Liter OM642 with SCR

                     All of the Polluting Vehicles featuring a 3.0 Liter engine share the
                     same basic engine architecture, code named OM642-30 by Mercedes.
                     Although there are variations from revisions of the OM642-30, the
                     same basic emission control architecture is employed through the
                     line.

                     This architecture of the OM642 engine comprises the following
                     emission control technologies: exhaust gas recirculation (EGR), a
                     turbo-charger, a diesel oxidation catalyst (DOC), a diesel particulate
                     filter (DPF), a selective catalytic reduction (SCR) system, a urea
                     dosing tank and dosing system, and a Bosch EDC17 engine control
                     module (ECM).


                                                    - 137 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 148 of 441 PageID: 4143



                     This architecture is well represented by the 2012 R350 BlueTEC test
                     vehicle, which uses the OM642-30 engine along with all the
                     aforementioned emission control devices. This test vehicle should be
                     considered a reasonable representation of all 3.0 Liter Polluting
                     Vehicles that employ SCR.

                     3.0 Liter OM642 with NOx Storage Catalyst

                     The very earliest (MY2007) implementation of the BlueTEC diesel
                     engine employed an OM642-30 engine with a NOx storage catalyst
                     after-treatment. Although this older after-treatment technology
                     differs from the SCR systems, the same OM642-30 engine is used.
                     In particular, the EGR system is well represented by the 2012 R350
                     BlueTEC tested. This is important because the tested R350 employs
                     a defeat device (EGR valve de-rate or shutoff at ambient
                     temperatures below approximately 50°F) to significantly reduce
                     EGR flow rate to prevent condensation in the engine intake. NOx
                     emissions increase as EGR flow rates are reduced. This defeat device
                     is well-documented in Europe and has been demonstrated on the
                     Plaintiffs’ R350 BlueTEC test vehicle. This defeat device results in
                     a significant increase in NOx emissions. The 2007-2009 E320
                     BlueTEC vehicles configured with the NOx storage catalyst make
                     use of the same EGR system as the tested 2012 R350 BlueTEC (as
                     well as many other parts of the same OM642-30 engine system) and,
                     for this reason, the 2012 R350 BlueTEC is be considered
                     appropriately representative.

                     2.1 Liter OM651 with SCR

                     All of the Polluting Vehicles featuring a 2.1 Liter engine share the
                     same basic engine architecture, internally code named OM651-22 by
                     Mercedes. Based on literature and certification documents, the
                     OM651-22 does not appear to have been significantly altered since
                     its introduction in 2013.

                     This architecture comprises the OM651-22 engine with exhaust gas
                     recirculation (EGR), a turbo-charger, a diesel oxidation catalyst
                     (DOC), a diesel particulate filter (DPF), a selective catalytic
                     reduction (SCR) system, a urea dosing tank and dosing system, and
                     a Bosch EDC17 engine control module (ECM).

                     This architecture is well represented by the 2013 GLK250 BlueTEC
                     4matic test vehicle, which uses the OM651-22 engine along with all
                     the aforementioned emission control devices. This test vehicle
                     should be considered a reasonable representation of all 2.1 Liter
                     Polluting Vehicles.



                                                   - 138 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 149 of 441 PageID: 4144



                     Sprinter

                     In the Sprinter, the emission control architecture remains largely
                     unchanged from the aforementioned passenger cars. In fact, the
                     Sprinter makes use of the same OM642-30 and OM651-22 engines
                     and SCR emission control systems.

                     In both cases, this architecture comprises the base engine (either
                     OM651-22 or OM642-30) with exhaust gas recirculation (EGR), a
                     turbo-charger, a diesel oxidation catalyst (DOC), a diesel particulate
                     filter (DPF), a selective catalytic reduction (SCR) system, a urea
                     dosing tank and dosing system, and a Bosch EDC17 engine control
                     module (ECM).

                     The tested 2014 Freightliner Sprinter 2500 with 2.1 Liter engine is
                     representative of all 2.1 Liter equipped OM651-22 Sprinter vans.
                     Although the 2.1 Liter Sprinter is certified to multiple weight classes
                     in some cases, the emissions generally increase with higher weight
                     ratings. The same engine and emissions control system is used across
                     the various weight ratings, probably with very minor tweaks to
                     account for the difference in weight.

                     The 3.0 Liter versions of the Sprinter contain OM642-30 engines that
                     were taken from the passenger car market. The 2012 R350 BlueTEC,
                     which employs the same basic OM642-22 architecture and emission
                     control setup, is representative. Furthermore, the more modern 2014
                     Freightliner Sprinter 2500 that was tested provides additional
                     evidence that a defeat device is likely to be employed in the 3.0 Liter
                     Sprinter platform as well.

            256.     The foregoing summary, backed by a deeper analysis that is not necessary to further

   detail at this time, is sufficient to demonstrate the representativeness of the test vehicles to the

   Plaintiffs’ vehicles (and, indeed, all Polluting Vehicles). Any differences between the test vehicles

   and the Polluting Vehicles are not material and not significant enough to suggest that the same

   defeat device would not be present in all Polluting Vehicles.

            257.     Indeed, in the Volkswagen case, the EPA issued violation notices based on engine

   size (2.0 and 3.0 liters) and did not differentiate based on models or years. In other words, all 2.0

   models were in violation, not, for example, some but not all Jettas or Jettas but not Passats.




                                                    - 139 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 150 of 441 PageID: 4145



            9.       Bosch’s critical role in Mercedes’ Emissions Scheme.

            258.     Plaintiffs’ United States testing results and the European reports and studies cited

   above definitely demonstrate that Mercedes has programmed its BlueTEC Clean Diesels with a so-

   called “defeat device.”

            259.     All modern engines are integrated with sophisticated computer components to

   manage the vehicle’s operation, such as an electronic diesel control (“EDC”). Bosch GmbH tested,

   manufactured and sold the EDC system used by Volkswagen, Mercedes, GM, and FCA in the

   Polluting Vehicles. This system is more formally referred to as the Electronic Diesel Control Unit

   17 (“EDC Unit 17”). Upon its introduction, EDC Unit 17 was publicly touted by Bosch as

   follows:14

                     EDC17 … controls every parameter that is important for effective,
                     low-emission combustion.

                     Because the computing power and functional scope of the new
                     EDC17 can be adapted to match particular requirements, it can be
                     used very flexibly in any vehicle segment on all the world’s markets.
                     In addition to controlling the precise timing and quantity of injection,
                     exhaust gas recirculation, and manifold pressure regulation, it also
                     offers a large number of options such as the control of particulate
                     filters or systems for reducing nitrogen oxides. The Bosch EDC17
                     determines the injection parameters for each cylinder, making
                     specific adaptations if necessary. This improves the precision of
                     injection throughout the vehicle’s entire service life. The system
                     therefore makes an important contribution to observing future
                     exhaust gas emission limits.

            260.     Bosch worked with each vehicle manufacturer, including Mercedes, that utilized the

   EDC Unit 17 to create a unique set of specifications and software code to manage the vehicles’

   engine operation.




        14
           See Bosch Press Release, The brain of diesel injection: New Bosch EDC17 engine management system (Feb.
   28, 2006), http://www.bosch-presse.de/presseforum/details.htm?txtID=2603&locale=en.


                                                      - 140 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 151 of 441 PageID: 4146



            261.     Bosch’s EDC Unit 17 controls emissions by periodically reading sensor values,

   evaluating a control function, and controlling actuators based on the control signal.15 Sensor

   readings include crankshaft position, air pressure, air temperature, air mass, fuel temperature, oil

   temperature, coolant temperature, vehicle speed, exhaust oxygen content, as well as driver inputs

   such as accelerator pedal position, brake pedal position, cruise control setting, and selected gear.

   Based on sensor input, EDC17 controls and influences the fuel combustion process including, in

   particular, fuel injection timing, which affects engine power, fuel consumption, and the composition

   of the exhaust gas.16

            262.     All Bosch ECUs, including the EDC17, run on complex, highly proprietary engine

   management software over which Bosch GmbH exerts near-total control. In fact, the software is

   typically locked to prevent customers, like Mercedes, from making significant changes on their

   own. Accordingly, both the design and implementation are interactive processes, requiring Bosch’s

   close collaboration with the automaker from beginning to end.

            263.     With respect to the Polluting Vehicles, the EDC Unit 17 was enabled by Bosch

   GmbH and Mercedes to surreptitiously evade emissions regulations. Bosch GmbH and Mercedes

   worked together to develop and implement a specific set of software algorithms for implementation

   in the Polluting Vehicles, including algorithms which enabled Mercedes to adjust fuel levels,

   exhaust gas recirculation, air pressure levels, and even urea injection rates (for applicable

   vehicles).17 Bosch GmbH and Bosch LLC employees exchanged emails with Mercedes engineers




       15
         Moritz Contag et al., How They Did It: An Analysis of Emission Defeat Devices in Modern Automobiles, p.4
   (2017).
       16
         Id.
       17
         See, e.g., Engine management, Bosch Auto Parts, http://de.bosch-automotive.com/en/parts_ and_accessories/
   motor_and_sytems/diesel/engine_management_2/engine_control_unit_1 (last accessed Nov. 30, 2016).


                                                       - 141 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 152 of 441 PageID: 4147



   that expressly considered and discussed how to optimize emissions performance in the laboratory

   and how to turn down or off emissions controls outside the laboratory.

            264.     When carmakers test their vehicles against EPA emission standards, they place their

   cars on dynamometers (large rollers) and then perform a series of specific maneuvers prescribed by

   federal regulations. Bosch’s EDC Unit 17 gave Volkswagen, Mercedes, and other manufacturers

   the power to detect test scenarios by monitoring vehicle speed, acceleration, engine operation, air

   pressure, and even the position of the steering wheel. When the EDC Unit 17’s detection algorithm

   detected that the vehicle was on a dynamometer (and undergoing an emission test), additional

   software code within the EDC Unit 17 downgraded the engine’s power and performance and

   upgraded the emissions control systems’ performance by switching to a “dyno calibration” to cause

   a subsequent reduction in emissions to legal levels. Once the EDC Unit 17 detected that the

   emission test was complete, the EDC Unit would then enable a different “road calibration” that

   caused the engine to return to full power while reducing the emissions control systems’

   performance, and consequently caused the car to spew the full amount of illegal NOx emissions out

   on the road.18 This general process is illustrated in the following diagram :




        18
           Russell Hotten, Volkswagen: The scandal explained, BBC (Dec. 10, 2015),
   http://www.bbc.com/news/business-34324772.


                                                       - 142 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 153 of 441 PageID: 4148




            265.     This workaround was and is illegal and is the same or similar to the workaround

   used in Mercedes’ vehicles. The Clean Air Act expressly prohibits defeat devices, defined as any

   auxiliary emission control device “that reduces the effectiveness of the emission control system

   under conditions which may reasonably be expected to be encountered in normal vehicle operation

   and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No new light-duty vehicle, light-

   duty truck, medium-duty passenger vehicle, or complete heavy-duty vehicle shall be equipped with

   a defeat device.”). Moreover, the Clean Air Act prohibits the sale of components used as defeat

   devices, “where the person knows or should know that such part or component is being offered for

   sale or installed for such use or put to such use.” 42 U.S.C. § 7522(a)(3). Finally, in order to obtain

   a certificate of compliance (“COC”), automakers must submit an application, which lists all

   auxiliary emission control devices installed in the vehicle, a justification for each, and an

   explanation of why the control device is not a defeat device.




                                                  - 143 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 154 of 441 PageID: 4149



            266.     Thus, in order to obtain the COCs necessary to sell their vehicles, Mercedes did not

   disclose, and affirmatively concealed, the presence of the test-detecting and performance- altering

   software code that it developed with Bosch from government regulators, thus making that software

   an illegal defeat device. In other words, Mercedes lied to the government, its customers, its dealers,

   and the public at large.

            267.     Because the COCs were fraudulently obtained, and because the Polluting Vehicles

   did not conform “in all material respects” to the specifications provided in the COC applications,

   the Polluting Vehicles were never covered by a valid COC, and thus, were never legal for sale; nor

   were they EPA and/or CARB compliant, as represented. Mercedes and Bosch hid these facts from

   the EPA, other regulators, its dealers and consumers, and it continued to sell and lease the Polluting

   Vehicles to the driving public, despite their illegality, and with the complicity of Bosch.

            268.     Mercedes’ illegal workaround was enabled by its close partnership with Bosch,

   which enjoyed a sizable portion of its annual revenue from manufacturing parts used in Mercedes’

   and other manufacturers’ diesel vehicles.19 Bosch was well aware that Mercedes was using its

   emissions control components as a defeat device and, in fact, worked with Mercedes to develop the

   software algorithm specifically tailored for the Polluting Vehicles.

            269.     Mercedes is not the only manufacturer to have mislead consumers about the

   environmental aspects of their cars. Volkswagen has entered into a consent decree admitting its

   vehicles contained defect devices as has Audi. The EPA has issued a notice of violation and has

   brought suit against Fiat Chrysler America “FCA” over certain of its vehicles. FCA is also the

   subject of emission litigation over its Dodge 2500 vehicles at the heart of each of these


       19
          Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology operations branch of
   Bosch. See Bosch probes whether its staff helped VW’s emissions rigging, Automotive News (Jan. 27, 2016),
   http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-whether-its-staff-helped-vws-
   emissions-rigging.


                                                      - 144 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 155 of 441 PageID: 4150



   manufacturers emissions system is the Bosch EDC 17. And GM vehicles containing the EDC 17—

   Chevy Cruze diesel passenger cars and Duramax (Chevy Silverado and GMC Sierra) diesel

   trucks—are the subject of emissions litigation.

            270.     A German investigation committee has summoned Daimler’s director of

   development to answer questions about emissions irregularities and Stuttgart prosecutors have

   served Daimler’s Stuttgart headquarters for documents related to the “thermal switching system”

   which turned off emissions controls based on temperature.

   B.       Bosch played a critical role in the defeat device scheme in many diesel vehicles in the
            U.S., giving rise to a strong inference that Bosch played a key role in implementing
            the Mercedes emission strategy.

            1.       Although this case is not about Volkswagen, Bosch’s history with Volkswagen
                     provides background and support for its participation in the RICO enterprise
                     alleged herein, of which Bosch and Mercedes were participants. On
                     information and belief, Plaintiffs allege that the same level of coordination
                     between Bosch and Volkswagen also occurred between Bosch and Mercedes
                     to develop the illegal defeat device.

            271.     Bosch tightly controlled development of the control units in the Polluting Vehicles,

   and actively participated in the development of the defeat device. This is to be expected given that

   much of the software and codes within the EDC17 are proprietary and represent Bosch’s valuable

   intellectual property.

            272.     As discussed above, Bosch introduced a new generation of diesel EDCs for

   Volkswagen. The development of the EDC17 was a massive undertaking, which began years before

   Volkswagen began its push into the U.S. market.

            273.     A February 28, 2006 Bosch press release introduced the “New Bosch EDC17 engine

   management system” as the “brain of diesel injection” which “controls every parameter that is

   important for effective, low-emission combustion.” The EDC17 offered “[e]ffective control of




                                                   - 145 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 156 of 441 PageID: 4151



   combustion” and a “[c]oncept tailored for all vehicle classes and markets.” In the press release,

   Bosch touted the EDC17 as follows:20

                     EDC17: Ready for future demands Because the computing power
                     and functional scope of the new EDC17 can be adapted to match
                     particular requirements, it can be used very flexibly in any vehicle
                     segment on all the world’s markets. In addition to controlling the
                     precise timing and quantity of injection, exhaust gas recirculation,
                     and manifold pressure regulation, it also offers a large number of
                     options such as the control of particulate filters or systems for
                     reducing nitrogen oxides. The Bosch EDC17 determines the
                     injection parameters for each cylinder, making specific adaptations if
                     necessary. This improves the precision of injection throughout the
                     vehicle’s entire service life. The system therefore makes an
                     important contribution to observing future exhaust gas emission
                     limits.

            274.     Bosch, Bosch GmbH, and Volkswagen worked together closely to modify the

   software and to create specifications for each Volkswagen vehicle model. Indeed, customizing a

   road-ready ECU is an intensive three- to five-year endeavor involving a full-time Bosch GmbH

   presence at an automaker’s facility. Such was the case with Mercedes as well.

            275.     All Bosch ECUs, including the EDC17, run on complex, highly proprietary engine

   management software over which Bosch exerts nearly total control. In fact, the software is typically

   locked to prevent customers, like Volkswagen and Mercedes, from making significant changes on

   their own.

            276.     Bosch’s and Bosch GmbH’s security measures further confirm that its customers

   cannot make significant changes to Bosch GmbH software without Bosch GmbH involvement.

   Bosch GmbH boasts that its security modules protect vehicle systems against unauthorized access




        20
           See Bosch press release, The brain of diesel injection: New Bosch EDC17 engine management system (Feb.
   28, 2006), http://www.bosch-resse.de/presseforum/details.htm?txtID=2603&locale=en.


                                                       - 146 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 157 of 441 PageID: 4152



   in every operating phase, meaning that no alteration could have been made without either a breach

   of that security—and no such claims have been advanced—or Bosch’s knowing participation.21

            277.     Unsurprisingly, then, at least one car company engineer has confirmed that Bosch

   maintains absolute control over its software as part of its regular business practices:22

                     I’ve had many arguments with Bosch, and they certainly own the
                     dataset software and let their customers tune the curves. Before each
                     dataset is released it goes back to Bosch for its own validation.

                     Bosch is involved in all the development we ever do. They insist on
                     being present at all our physical tests and they log all their own data,
                     so someone somewhere at Bosch will have known what was going
                     on.

                     All software routines have to go through the software verification of
                     Bosch, and they have hundreds of milestones of verification, that’s
                     the structure ….

                     The car company is never entitled by Bosch to do something on their
                     own.

            278.     Thus, Bosch GmbH cannot convincingly argue that the development of the Defect

   Device was the work of a small group of rogue engineers.

            279.     Bosch’s and Bosch GmbH’s role in the Volkswagen scandal highlights Bosch’s role

   in how a manufacturer’s emissions system can be rigged, and there is no logical reason to believe

   Bosch and Bosch GmbH did not act in a similar fashion with respect to the Mercedes’ BlueTEC.

            280.     Volkswagen’s, Bosch’s and Bosch GmbH’s work on the EDC17 reflected a highly

   unusual degree of coordination. It was a massive project that required the work of numerous Bosch




       21
          Reliable Protection for ECUs, ESCRYPT (May 12, 2016), https://www.escrypt.com/en/news-
   events/protection-for-ecus.
       22
          Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, Car and Driver (Nov. 23,
   2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-cheater-software/.


                                                      - 147 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 158 of 441 PageID: 4153



   coders for a period of more than ten years, or perhaps more.23 Although Bosch publicly introduced

   the EDC17 in 2006, it had started to develop the engine management system years before.24

            281.     In fact, Bosch was in on the secret and knew that Volkswagen was using Bosch’s

   software algorithm as an “on/off” switch for emission controls when the Vehicles were undergoing

   testing. As noted above, it has been said the decision to cheat was an “open secret” at Volkswagen.25

   It was an “open secret” at Bosch as well.

            282.     Volkswagen and Bosch GmbH personnel employed code language for the defeat

   device, referring to it as the “acoustic function” (in German, “akustikfunktion”). As described

   above, the roots of the “akustikfunktion”—and likely the cheating—can be traced back to the late

   1990s when Audi devised software called the “akustikfunktion” that could switch off certain

   functions when the vehicle was in a test mode.26 The “akustik” term is derived from the function’s

   ability to modify the noise and vibration produced by the engine. News articles report that, in 2006,

   VWAG further developed this “akustikfunktion” for the Polluting Vehicles.27



       23
          Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology operations branch of
   Bosch, and Volkswagen was the biggest diesel manufacturer in the world. See Bosch Probes Whether Its Staff
   Helped VW’s Emissions Rigging, Automotive News (Jan. 27, 2016), http://www.autonews.com/article/
   20160127/COPY01/301279955/bosch-probes-whether-its-staff-helped-vws-emissions-rigging.
       24
          Bosch press release, The brain of diesel injection: New Bosch EDC17 engine management system (Feb. 28,
   2006), http://www.bosch-presse.de/presseforum/details.htm?txtID=2603&locale=en.
       25
           Georgina Prodham, Volkswagen probe finds manipulation was open secret in department, Reuters (Jan. 23,
   2016), http://www.reuters.com/article/us-volkswagen-emissions-investigation-idUSKCN0V02E7. See also Jay
   Ramey, VW chairman Poetsch: Company ‘tolerated breaches of rules’, Autoweek (Dec. 10, 2015),
   http://autoweek.com/article/vw-diesel-scandal/vw-chairman-poetsch-company-tolerated-breaches-rules (it was
   necessary for the “EA 189 engine to pass U.S. diesel emissions limits within the budget and time frame allotted”).
       26
           Martin Murphy, Dieselgate’s Roots Stretch Back to Audi, Handelsblatt Global (Apr. 19, 2016),
   https://global.handelsblatt.com/edition/413/ressort/companies-markets/article/dieselgates-roots-stretch-back-to-
   audi?ref=MTI5ODU1.
       27
          Volkswagen Probe Finds Manipulation Was Open Secret in Department: Newspaper, Reuters (Jan. 23,
   2016), http://www.reuters.com/article/us-volkswagen-emissions-investigation-idUSKCN0V02E7. VW Group
   Chairman, Hans Dieter Poetsch, explained that a small group of engineers and managers was involved in the
   creation of the manipulating software. See VW Chairman Poetsch: Company ‘Tolerated Breaches of Rules’, Auto
   Week (Dec. 10, 2015), http://autoweek.com/article/vw-diesel-scandal/vw-chairman-poetsch-company-tolerated-
   breaches-rules. See also Scandal Explained, BBC (Dec. 10, 2015), http://www.bbc.com/news/business-34324772;

                                                         - 148 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 159 of 441 PageID: 4154



            283.     In sum, Bosch GmbH worked hand-in-glove with Volkswagen to develop and

   maintain the akustikfunktion/defeat device. On information and belief, it did so with Mercedes as

   well.

            2.       Volkswagen and Bosch conspire to conceal the illegal “akustikfunktion.”

            284.     By 2007, and likely earlier, Bosch GmbH was critical not only in developing the

   “akustikfunktion,” but also in concealing it.

            285.     Bosch GmbH was concerned about getting caught participating in the defeat device

   fraud. As reported in the German newspaper, Bild am Sonntag, and a French publication, a

   Volkswagen internal inquiry found that in 2007, Bosch GmbH warned Volkswagen by letter that

   using the emissions-altering software in production vehicles would constitute an “offense.”28

            3.       Volkswagen and Bosch conspire in the U.S. and Germany to elude U.S.
                     regulators who regulated not just Volkswagen diesels, but all diesels.

            286.     The purpose of the defeat device was to evade stringent U.S. emissions standards.

   Once Bosch GmbH, Bosch LLC, and VW perfected the defeat device, therefore, their attention

   turned to deceiving U.S. regulators.

            287.     Bosch’s North American subsidiary, Defendant Bosch LLC, was also part of and

   essential to the fraud. Bosch LLC worked closely with Bosch GmbH and Volkswagen, in the

   United States and in Germany, to ensure that the non-compliant Polluting Vehicles passed U.S.

   emission tests. Bosch LLC employees frequently communicated with U.S. regulators, and actively

   worked to ensure the Polluting Vehicles were approved by regulators.



   Sept. 18, 2015, http://www.autocar.co.uk/car-news/industry/vw-emissions-scandal-how-volkswagens-defeat-
   device-works.
        28
           Bosch warned VW about illegal software use in diesel cars, report says, Automotive News (Sept. 27, 2015),
   http://www.autonews.com/article/20150927/COPY01/309279989/bosch-warned-vw-about-illegal-software-use-in-
   diesel-cars-report-says; VW Scandal: Company Warned over Test Cheating Years Ago, BBC (Sept. 27, 2015),
   http://www.bbc.com/news/business-34373637.


                                                        - 149 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 160 of 441 PageID: 4155



              288.    Employees of Bosch LLC and Bosch GmbH provided specific information to U.S.

   regulators about how Volkswagen’s vehicles functioned and unambiguously stated that the vehicles

   met emissions standards. Bosch LLC regularly communicated to its colleagues and clients in

   Germany about ways to deflect and diffuse questions from U.S. regulators about the Polluting

   Vehicles—particularly CARB.

              4.      Bosch keeps the emissions cheating secret safe and pushes “clean” diesel in the
                      U.S. as a concept applicable to all diesel car manufacturers.

              289.    Bosch, Bosch GmbH, and Bosch LLC not only kept Volkswagen’s, and all the other

   diesel manufacturers’ dirty secrets safe, it went a step further and actively lobbied lawmakers to

   push “Clean Diesel” in the U.S., including making Polluting Vehicles diesel vehicles available for

   regulators to drive.

              290.    As early as 2004, Bosch announced a push to convince U.S. automakers that its

   diesel technology could meet tougher 2007 U.S. emission standards.29 Its efforts ended up being

   a multiple-year, multi-million dollar effort, involving key players from both Robert Bosch GmbH

   in Germany and Bosch LLC in the U.S.

              291.    Bosch’s promotion of diesel technology specifically targeted the U.S. For example,

   Bosch put on “California Diesel Days”30 and “SAE World Congress in Detroit.”31 In 2008, Bosch

   LLC co-sponsored the “Future Motion Made in Germany-Second Symposium on Modern Drive

   Technologies” at the German Embassy in Washington, D.C., with the aim of providing a venue for




       29
         Edmund Chew, Bosch boosts US diesel lobbying, Autonews (Mar. 8, 2004), http://www.auto
   news.com/article/20040308/SUB/403080876/bosch-boosts-us-diesel-lobbying.
       30
          Bosch drives clean diesel in California, http://www.bosch.us/content/language1
   /html/734_4066.htm?section=28799C0E86C147799E02226E942307F2
       31
            E.g., Bosch Brings Innovation, Green Technology to SAE 2009 World Congress


                                                        - 150 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 161 of 441 PageID: 4156



   “stakeholders to gain insight into the latest technology trends and engage in a vital dialogue with

   industry leaders and policymakers.”32

              292.     Bosch LLC hosted multi-day conferences open to many regulators and legislators

   and held private meetings with regulators, in which it proclaimed extensive knowledge of the

   specifics of diesel technology, including calibrations necessary for the Polluting Vehicles to comply

   with emissions regulations.

              293.     In April 2009, Bosch organized and hosted a two-day “California Diesel Days” event

   in Sacramento, California. Bosch invited a roster of lawmakers, journalists, executives, regulators,

   and NGOs33 with the aim of changing perceptions of diesel from “dirty” to “clean.” The event

   featured Polluting Vehicles as ambassadors of “Clean Diesel” technology, including a 2009 VW

   Jetta “green car.” The stated goals were to “build support for light-duty diesel as a viable solution

   for achieving California’s petroleum and emission reduction objectives.”

              294.     In 2009, Bosch also became a founding member of the U.S. Coalition for Advanced

   Diesel Cars.34 One of this advocacy group’s purposes included “promoting the energy efficiency

   and environmental benefits of advanced clean diesel technology for passenger vehicles in the U.S.

   marketplace.”35 This group lobbies Congress, U.S. regulators, and the California Air Resources

   Board in connection with rules affecting “Clean Diesel” technology.36


       32
         Bosch: Clean Diesel is Key Part of Future Technology Mix, http://us.bosch-press.com /tbwebdb/bosch-
   usa/en-US/PressText.cfm?CFID=60452038&CFTOKEN=9c778a2564be2c9b-56CC21B6-96AB-5F79-
   32445B13EC121DBE&nh=00&Search=0&id=364
       33
        Bosch drives clean diesel in California, http://www.bosch.us/content/language1/html/
   734_4066.htm?section=28799C0E86C147799E02226E942307F2;see also, http://www.californiadieseldays.com/
       34
          Chrissie Thompson, New Coalition Aims To Promote Diesel Cars, Automotive News (Feb. 2, 2009),
   http://www.autonews.com/article/20090202/OEM06/302029728/new-coalition-aims-to-promote-diesel-cars
       35
            About the Coalition, http://cleandieseldelivers.com/about/
       36
         Id. See also, e.g., Letter to Mary T. Nichols & the California Air Resources Board concerning a statement
   made about diesel technology (Jan. 8, 2016), http://cleandieseldelivers.com/media/Mary-Nichols-Letter-
   01082016.pdf


                                                           - 151 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 162 of 441 PageID: 4157



            295.     In 2010, Bosch sponsored the Virginia International Raceway with the support of

   the 2010 Volkswagen Jetta TDI Cup Series. This event included TDI vehicles featuring Bosch

   technology.37

            296.     In 2012 Audi, BMW, Bosch, Daimler, Porsche and VW joined to form The Clearly

   Better Diesel initiative.38 The initiative was announced in Berlin by the German Association of the

   Automotive Industry. Its stated goal was to promote the sale of clean diesel vehicles in the U.S.

   The initiative’s slogan was “Clean Diesel. Clearly Better.”

            297.     In its efforts to promote “Clean Diesel,” including the Polluting Vehicles, Bosch

   GmbH acted on behalf of its global group.

            5.       Bosch’s EDC 17 is at the core of the FCA emission scandal.

            298.     Bosch’s involvement in another emissions scandal helps establish the plausibility of

   its acting in concert with Mercedes.

            299.     After a lawsuit had already been filed by Plaintiffs’ lead counsel in this case against

   Fiat Chrysler Automobile (“FCA”), on January 12, 2017, the United States Environmental

   Protection Agency issued a Notice of Violation against Fiat Chrysler Automobiles N.V. and FCA

   US LLC for failing to justify or disclose defeat devices in model year 2014-2016 Dodge Ram 1500

   EcoDiesel and 2014-2016 Jeep Grand Cherokee EcoDiesel vehicles.39 The EPA is currently

   working in coordination with the California Air Resources Board (CARB), which has also issued a




       37
           Volkswagen of America, Inc., Volkswagen Jetta TDI Cup Drivers Take to the Track for the First Time in
   2010 at VIR, http://www.prnewswire.com/news-releases/volkswagen-jetta-tdi-cup-drivers-take-to-the-track-for-the-
   first-time-in-2010-at-vir-91985604.html
       38
        Diesel Technology Forum, Press Release, “Clean Diesel Clearly Better” Campaign for Clean Diesel Cars
   Welcomed (Dec. 12, 2012).
       39
          EPA Notice of Violation to FCA (Jan. 12, 2017), https://www.epa.gov/sites/production/files/2017-
   01/documents/fca-caa-nov-2017-01-12.pdf.


                                                       - 152 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 163 of 441 PageID: 4158



                                     40
   notice of violation to FCA.            EPA and CARB have both initiated investigations based on FCA’s

   alleged actions.

            300.     The Notice of Violation is based in part on emissions testing performed by the EPA

   at the National Vehicle and Fuel Emissions Laboratory. The EPA performed this testing “using

   driving cycles and conditions that may reasonably be expected to be encountered in normal

   operation and use for the purposes of investigating a potential defeat device.”41

            301.     The EPA identified at least eight Auxiliary Emissions Control Devices (AECDs) in

   the Polluting Vehicles all of which have the Bosch EDC 17 unit:

                            AECD 1 (Full EGR Shut-Off at Highway Speed)

                            AECD 2 (Reduced EGR with Increasing Vehicle Speed)

                            AECD 3 (EGR Shut-off for Exhaust Valve Cleaning)

                            AECD 4 (DEF Dosing Disablement during SCR Adaptation)

                            AECD 5 (EGR Reduction due to Modeled Engine Temperature)

                            AECD 6 (SCR Catalyst Warm-Up Disablement)

                            AECD 7 (Alternative SCR Dosing Modes)

                            AECD 8 (Use of Load Governor to Delay Ammonia Refill of SCR

                             Catalyst)

            302.     EPA testing found that “some of these AECDs appear to cause the vehicle to perform

   differently when the vehicle is being tested for compliance with the EPA emission standards using




       40
           EPA news release, EPA Notifies Fiat Chrysler of Clean Air Act Violations (Jan. 12, 2017),
   https://www.epa.gov/newsreleases/epa-notifies-fiat-chrysler-clean-air-act-violations.
       41
          EPA Notice of Violation to FCA (Jan. 12, 2017), https://www.epa.gov/sites/production/files/2017-
   01/documents/fca-caa-nov-2017-01-12.pdf.


                                                        - 153 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 164 of 441 PageID: 4159



   the Federal emission test procedure (e.g. FTP, US06) than in normal operation and use.”42 For

   example:

                      a.      AECD 3, when combined with either AECD 7 or AECD 8, disables the
                              EGR system without increasing the effectiveness of SCR system. Under
                              some normal driving conditions, this disabling reduces the effectiveness of
                              the overall emission control system. The AECD 3 uses a timer to shut off
                              the EGR, which does not appear to the EPA to meet any exceptions to the
                              regulatory definition of “defeat device.”

                      b.      AECD 5 & 6 together reduce the effectiveness of the NOx emissions
                              control system, using a timer to discontinue warming of the SCR after
                              treatment system, which reduces its effectiveness.

                      c.      AECD 4, particularly when combined with AECD 8, increases emissions of
                              tailpipe NOx during normal vehicle operation and use. The operation of
                              AECD 1. AECD 2 and/or AECD 5 increase the frequency of occurrence of
                              AECD 4.

                      d.      AECDs 7 & 8 work together to reduce NOx emissions during variable-
                              grade and high-load conditions.

               303.   The EPA and CARB have filed suit against FCA.

               304.   On January 10, 2019, DOJ announced a settlement with FCA that included a recall

   program to fix the cars and a civil penalty of $305 million to settle claims “on cheating emissions

   tests and failing to disclose unlawful defeat devices.”43

               305.   Bosch GmbH made the EDC17 for the polluting FCA vehicles.

   C.          Mercedes’ material omissions are actionable.

               306.   By manufacturing and selling the BlueTEC Clean Diesel vehicles and by failing to

   disclose that such vehicles emit far more pollutants than their gasoline counterparts, that emit far

   more pollutants than permitted under EPA standards, that emit far more pollutants on the road than

   in laboratory tests, and that emit far more pollutants than a reasonable consumer would expect from


        42
             Id.
        43
           https://www.justice.gov/opa/pr/civil-settlements-united-states-and-california-fiat-chrysler-will-resolve-
   allegations.


                                                           - 154 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 165 of 441 PageID: 4160



   a clean diesel, Mercedes defrauded its customers by omission, and engaged in fraud and unfair and

   deceptive conduct under federal and state law. Because of Mercedes’ manipulations of the

   BlueTEC emissions system, Mercedes knew that it was selling BlueTEC’s that were not clean

   diesels.

              307.   Defendants’ non-disclosure was an immediate cause of Plaintiffs’ and the Class

   members’ injuries. Each Plaintiff and Class member purchased their Polluting Vehicles on the

   reasonable, but mistaken, belief that the Polluting Vehicles were “clean diesels” as compared to

   gasoline vehicles and other diesels, complied with United States emissions standards, and would

   retain all of their operating characteristics throughout their useful life, including high fuel economy.

   Plaintiffs and all putative Class members selected and ultimately purchased their BlueTEC Clean

   Diesel vehicles, in part, because of the BlueTEC Clean Diesel system.

              308.   Mercedes never disclosed to Plaintiffs or the Class the facts that the Polluting

   Vehicles had high emissions compared to gasoline vehicles and that Mercedes had designed part of

   the emissions reduction system to turn off during normal driving conditions, and that absent its

   Defect Device the vehicles would have lower miles per gallon.

              309.   Mercedes had ample opportunity to disclose these important facts given that it

   engaged in national advertising campaigns for the BlueTEC Clean Diesels on the Internet, in print,

   on the radio, and on television (see below), and distributed BlueTEC Clean Diesel vehicle brochures

   to dealers for provision to potential customers. Plaintiffs and the Class also would have been aware

   of the deception had Mercedes disclosed it to Mercedes dealerships given that each Plaintiff

   interacted with and received information from sales representatives at authorized Mercedes

   dealerships prior to purchasing their Polluting Vehicles. Mercedes routinely communicates with

   consumers through Mercedes’ authorized dealerships via product brochures, special service



                                                  - 155 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 166 of 441 PageID: 4161



   messages, technical service bulletins, and warranty programs (under the terms of Mercedes’ express

   warranties, Plaintiffs and the Class need to return to Mercedes dealerships to have warranty repairs

   performed). Mercedes had ample opportunity to disclose its omissions to Plaintiffs and the

   proposed Class through these channels and more, but failed to do so.

            310.     Mercedes’ omissions were material.     After all, Mercedes called the Polluting

   Vehicles “BlueTEC Clean Diesels” (emphasis added). Had Mercedes disclosed this design, and

   the fact that the Polluting Vehicles actually emitted pollutants at a much higher level than gasoline

   vehicles do, and at a much higher level than a reasonable consumer would expect from a clean

   diesel, and emitted unlawfully high levels of pollutants, Plaintiffs would not have purchased the

   Polluting Vehicles, or would have paid less for them.

   D.       Mercedes’ affirmative misrepresentations of the environmental benefits of the
            BlueTEC Clean Diesels and Mercedes’ promotion of the environmental benefits of
            the BlueTEC evidences the materiality of the omissions.

            311.     In addition to engaging in fraudulent omissions, Mercedes made affirmative

   misrepresentations about the BlueTEC Clean Diesels. Mercedes’ decision to pervasively promote

   BlueTEC Clean Diesel vehicles as “clean” diesels, as environmentally friendly, and as the World’s

   cleanest diesels demonstrates the materiality of the “clean diesel” message to consumers. Certainly,

   Mercedes would not have carefully crafted its “clean diesel” message and spent money on an

   advertising and promotional campaign centered around that central product claim if Mercedes did

   not believe that “clean diesel” was material to consumers.

            1.       Materiality to a reasonable consumer: Mercedes advertised and promoted
                     BlueTEC Clean Diesels as the world’s cleanest diesel vehicles.

            312.     Mercedes understood that promoting its BlueTEC vehicles as environmentally

   superior to gasoline cars would be material to a reasonable consumer interested in environmental

   issues with respect to a decision to purchase a car.


                                                  - 156 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 167 of 441 PageID: 4162



            313.     Mercedes customers expect “exceptional environmental sustainability.”44 In a 2008

   press release, Mercedes acknowledged that “the environmental sustainability of vehicles is gaining

   importance in the purchasing decision.”45

            314.     To induce consumers to purchase BlueTEC Clean Diesel vehicles, Mercedes

   marketed the BlueTEC-equipped vehicles as environmentally friendly and fuel efficient “without

   the need to forego the characteristic brand features—safety, comfort and refined driving pleasure.”46

            315.     Mercedes advertising is widely disseminated throughout the United States. It

   includes, among other things, televised advertisements, online social media campaigns, press

   releases and public statements (claiming BlueTEC Clean Diesel vehicles comply with EPA

   emissions standards), print advertising, brochures and other materials distributed to dealers and

   distributors, and strategic product placement (for instance, a Mercedes fleet of “low-emission”

   vehicles, including the E320 BlueTEC Clean Diesel, shuttled superstar musicians at each of the

   eight 2007 Live Earth climate protection concerts, two of which took place in the United States47).

            2.       Mercedes advertised and promoted BlueTEC Clean Diesel vehicles as low-
                     emitting, because Mercedes understood it was material to a reasonable
                     consumer

            316.     Mercedes’ advertisements, promotional campaigns, and public statements

   represented that the Polluting Vehicles had high fuel economy, low emissions, reduced NOx by


       44
         Press Release, Mercedes-Benz, Mercedes-Benz launches “Formula Green” in the five, four and three-litre
   consumption class, available at http://media.daimler.com/dcmedia/0-921-658901-1-1277592-1-0-0-0-0-1-0-0-0-1-0-
   0-0-0-0.html.
      45
         Press Release, Mercedes-Benz, Road to the Future: From BlueTEC Diesel Vehicles to Electric Vehicles:
   Modular Technologies for a Clean Future of the Premium Automobile, available at, http://media.daimler.com/
   dcmedia/0-921-657591-1-1091617-1-0-1-0-0-1-12639-0-0-1-0-0-0-0-0.html?TS=1459448202325.
      46
         Press Release, Mercedes-Benz, Road to the Future: From BlueTEC Diesel Vehicles to Electric Vehicles:
   Modular Technologies for a Clean Future of the Premium Automobile, available at, http://media.daimler.com/
   dcmedia/0-921-657591-1-1091617-1-0-1-0-0-1-12639-0-0-1-0-0-0-0-0.html?TS=1459448202325.
       47
          Press Release, Mercedes-Benz, Phil Collins, Jon Bon Jovi, Snoop Dogg and the Black Eyed Peas Join Smart
   to Protect the Environment, available at http://media.daimler.com/dcmedia/0-921-1653632-1-893475-1-0-0-0-0-1-
   0-0-0-1-0-0-0-0-0.html.


                                                      - 157 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 168 of 441 PageID: 4163



   90%, had lower emissions than comparable diesel vehicles, and had lower emissions than other

   comparable vehicles. For example:

                      a.       According to Mercedes, it offers consumers “the world’s cleanest
                               diesel automobiles.”48

                      b.       Mercedes promises that BlueTEC Clean Diesel vehicles have “ultra-
                               low emissions,”49 with “up to 30% lower greenhouse-gas emissions
                               than gasoline.”

                      c.       On its website, Mercedes depicts a BlueTEC Clean Diesel SUV
                               driving next to a shoreline with ebullient waves under a clear-blue
                               sky. In a faded-blue portion in the vehicles’ path, Mercedes asks
                               consumers to “imagine a fuel that produces fewer greenhouse gases
                               than gasoline.”50

                      d.       Mercedes claims that BlueTEC Clean Diesel produces up to 90%
                               fewer emissions than equivalent gas-powered vehicles,51 and
                               converts nitrous oxide emissions into “pure, earth-friendly nitrogen
                               and water.”52

                      e.       In a technical explanation of BlueTEC Clean Diesel on its website,
                               Mercedes tells consumers that it “reduces Nitrogen Oxides by up to
                               80%”53

                      f.       Mercedes proclaims itself “#1 in CO2 emissions for luxury
                               vehicles.”54

                      g.       Mercedes’ web site proclaimed:



       48
          Press Release, Mercedes-Benz, Phil Collins, Jon Bon Jovi, Snoop Dogg and the Black Eyed Peas Join Smart
   to Protect the Environment, available at http://media.daimler.com/dcmedia/0-921-1653632-1-893475-1-0-0-0-0-1-
   0-0-0-1-0-0-0-0-0.html
       49
          E.g., 2011 GL Class Brochure, p. 5 (“Advanced BlueTEC technology starts with cleaner combustion of its
   diesel fuel, and finishes with certified Ultra Low Emissions, even in the most stringent U.S. states.”).
       50
            BlueTEC Clean Diesel, https://www.mbusa.com/mercedes/benz/green/diesel_bluetec (last visited March 29,
   2016).
       51
            E.g., 2016 Sprinter Van Brochure, p. 2.
       52
            E.g., 2011 M-Class Brochure, p. 5.
       53
        How Mercedes-Benz BlueTEC Works—Clean Diesel Technology, Mercedes-Benz Official YouTube
   Channel, https://youtu.be/w4T5B_UmgJo.
       54
            BlueTEC Clean Diesel, https://www.mbusa.com/mercedes/benz/green/diesel_bluetec (last visited March 29,
   2016).


                                                        - 158 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 169 of 441 PageID: 4164



                             Mercedes-Benz continues to reinvent this alternative fuel that
                             offers higher torque and efficiency with up to 30% lower
                             greenhouse-gas emissions than gasoline.

                             Today’s BlueTEC models are simply the world’s most
                             advanced diesels, with the ultra-low emissions, high fuel
                             economy and responsive performance that makes them not
                             merely available in all 50 states, but desirable.

                             Earth-friendly, around the world
                             THE LEADER IN DIESEL, SINCE THE BEGINNING.

                             Drivers in much of Europe and Asia frequently choose diesel
                             over gasoline for its rich torque output and higher fuel
                             efficiency. With BlueTEC, cleaner emissions are now an
                             equally appealing benefit.

                             ADAC, Germany’s largest automobile association, rates
                             BlueTEC as #1 in CO2 emissions for luxury vehicles.

                     h.      One Mercedes BlueTEC Clean Diesel advertisement depicts two rear
                             mufflers side-by-side in the shape of human lungs. The caption
                             underneath claims that BlueTEC is “For the air we breathe.”




                                                                                                   55




       55
          Advertisement created by Jung von Matt, Swiss creative agency, available at http://www.jvm.ch/en/arbeiten
   /kampagne/mercedes-benz/bluetec-1/print


                                                       - 159 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 170 of 441 PageID: 4165



   E.          Mercedes advertised and promoted BlueTEC Clean Diesel as environmentally
               friendly, because Mercedes understood it was material to a reasonable consumer.

               317.    Mercedes holds itself out as a protector of the environment: “Long before it became

   front-page news, Mercedes-Benz has been innovating and implementing new ways to help

   minimize the impact of cars and trucks on the world we share. It’s a promise that’s been kept for

   generations, and not just with cleaner, more efficient power under the hood.”56 Indeed, the company

   relishes its message that it plays an industry leading role in advancing “green” technologies like

   BlueTEC Clean Diesel.

               318.    BlueTEC is part of a line-up of Mercedes technologies that it says are “green.”57

   Mercedes widely disseminates advertisements, promotional campaigns, and public statements

   throughout the United States to induce the purchase of BlueTEC Clean Diesel vehicles by customers

   that are concerned about the environment. For example:

                       a.       Mercedes calls its BlueTEC engine, “[e]arth-friendly, around the
                                world.”58

                       b.       A promotional video created for Mercedes in 2009 opens with the
                                camera pointing up to the sky with rays of sun coming through
                                clouds. “The Earth,” says the narrator “is changing.” He then tells
                                us that Mercedes-Benz BlueTEC is “cleaner . . . and—with a
                                revolutionary system which significantly reduces greenhouse gases
                                and smog-forming pollutants—more respectful of the earth.”59

                       c.       A technical description of BlueTEC available on the Mercedes-Benz
                                website closes with, “BlueTEC—the world’s cleanest diesel engines.
                                Environmentally-friendly      technology,    without    sacrificing



        56
        Mercedes-Benz & The Environment, https://www.mbusa.com/mercedes/benz/green#main (last visited
   March 31, 2016).
        57
        Mercedes-Benz & The Environment, https://www.mbusa.com/mercedes/benz/green#main (last visited
   March 31, 2016).
        58
             BlueTEC Clean Diesel, https://www.mbusa.com/mercedes/benz/green/diesel_bluetec (last visited March 29,
   2016).
        59
             Studio Dialog, Video for Mercedes-Benz BlueTEC, available at https://vimeo.com/8989688.


                                                         - 160 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 171 of 441 PageID: 4166



                               performance or driving pleasure.”60

                      d.       Mercedes claims in a brochure for the 2016 Sprinter that “Thanks to
                               BlueTEC clean-diesel technology, the Sprinter is one of the greenest
                               vans in the land.”61

                      e.       Mercedes strategically placed its BlueTEC Clean Diesel vehicles
                               among a fleet of Mercedes-Benz vehicles that shuttled superstar
                               musicians like Bon Jovi, Snoop Dogg, The Police, Kanye West and
                               others at the 2007 Live Earth climate protection concerts. Live Earth
                               attendees were asked to pledge that they would take personal action
                               to solve the climate crises and “buy from businesses . . . who share
                               my commitment to solving the climate crises.”62

                      f.       A 2009 website designed for Mercedes-Benz pictured a 2009 ML320
                               BlueTEC Clean Diesel driving in the sky through clouds, with the
                               title, “Why you should go BLUE if you want to go green.”63 The site
                               promised consumers, “an environmentally-smart solution that
                               doesn’t demand sacrifices.” On information and belief, this design
                               was disseminated to U.S. consumers by Mercedes-Benz U.S. via its
                               website on or around 2009.

              319.    Mercedes’ manipulations of the BlueTEC Clean Diesel emission controls puts the

   lie to Mercedes’ claims that BlueTEC Clean Diesel is “the world’s cleanest diesel passenger

   vehicle” with “ultralow emissions:” Mercedes misrepresents the emissions performance of its

   vehicles equipped with BlueTEC engines because of its manipulations that limit emission controls

   in normal driving conditions.




       60
        How Mercedes-Benz BlueTEC Works—Clean Diesel Technology, Mercedes-Benz Official YouTube
   Channel, https://youtu.be/w4T5B_UmgJo.
       61
            2016 Sprinter Van Brochure, p. 2
       62
        Gore Urges “7 Point Pledge” Ahead of Live Earth, Associated Press, June 29, 2007, available at http://www.
   nbcnews.com/id/19502465/ns/us_news-environment/t/gore-urges-point-pledge-ahead-live-earth/#.
       63
          Portfolio of Chris Lacey, Mercedes-Benz BlueTEC, http://www.chrislacey.net/354/uncategorized/mercedes-
   benz-bluetec.


                                                      - 161 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 172 of 441 PageID: 4167



   F.          Mercedes advertised and promoted BlueTEC Clean Diesel as meeting and exceeding
               compliance with U.S. emissions standards in all 50 states, because Mercedes
               understood it was material to a reasonable consumer.

               320.     Mercedes expressly markets the Polluting Vehicles as Clean Diesel vehicles, with

   registration approvals in all 50 states. For example:

                        a.       Mercedes’ website proudly presents “BlueTEC: . . . now available in five
                                 different Mercedes-Benz BlueTEC models in all 50 states.”64

                        b.       A June 2008 press release boasts that Mercedes-Benz was the first
                                 manufacturer in the world to achieve registration approval in all 50 states
                                 for Diesel SUVs.65

                        c.       In an April 2009 interview about the Mercedes-Benz E-Class, Professor Dr.
                                 Herbert Kohler, Chief Environmental Officer at Daimler AG, claims that
                                 Mercedes-Benz “goes beyond statutory requirements,” because “sustainable
                                 mobility means more than the mere fulfilment of rigid environmental
                                 guidelines.”66

   G.          Bosch Promoted “Clean Diesel” To Help Create The Market For Diesel Cars
               Including Mercedes Vehicles.

               321.     It’s not unheard of for manufacturers of dangerous products to use trade associations

   to cover up the danger of their products. Tobacco companies created several trade associations to

   promote phony science claiming tobacco use was neither harmful nor addictive. The opioid

   manufacturers did the same as did Bosch with respect to promotion of clean diesel. Bosch was a

   member of the Diesel Technology Forum (“DTF”), a “non-profit” dedicated “to raising awareness

   about the importance of diesel engines.” The DTF was formed in 2000, and its members include

   Bosch, Daimler, GM, and FCA. Bosch was aware that cars made by BMW, GM, FCA, and

   Mercedes used cheat devices to meet emissions requirements and were not the “clean diesel” as


        64
        Mercedes-Benz & The Environment, http://www.mbusa.com/mercedes/benz/green#module-2 (last visited
   March 31, 2016).
        65
        Press Release, Mercedes-Benz, Road to the Future: From BlueTEC Diesel Vehicles to Electric Vehicles:
   Modular Technologies for a Clean Future of the Premium Automobile, available at, http://media.daimler.com/
   dcmedia/0-921-657591-1-1091617-1-0-1-0-0-1-12639-0-0-1-0-0-0-0-0.html?TS=1459448202325.
        66
             Life Cycle, Environmental Certificate for the E-Class, p. 6 (April 2009).


                                                            - 162 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 173 of 441 PageID: 4168



   claimed. Despite this knowledge, Bosch, as a member of the DTF, and as part of its complicit

   conduct in promoting illegal diesels, authorized a steady stream of announcements about “clean

   diesel technology”, as described below.

            322.     So, for example, the DTF on December 12, 2012, issued a press release proclaiming

   “Clean Diesel. Clearly Better” and highlighted new diesel models coming to the U.S. The release

   noted that the new “Clean Diesel” campaign was announced jointly by Audi, BMW, Bosch,

   Daimler, Porsche, and Volkswagen.




                                                  - 163 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 174 of 441 PageID: 4169




                                      - 164 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 175 of 441 PageID: 4170



   https://www.dieselforum.org/news/clean-diesel-clearly-better-campaign-for-clean-diesel-cars-
   welcomed

            323.     As part of the continuing and false clean diesel promise, DTF posted on its website

   after the VW scandal that the new diesel technology enables emissions control systems that met

   “near zero” emissions standards.




            324.     The DTF posted on its website information about “Clean Diesel” proclaiming “near

   zero emissions.”


                                                   - 165 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 176 of 441 PageID: 4171




            325.     The DTF website claimed the clean diesels resulted in “Clean Diesel and Clean Air,”

   and that the manufacturers had “Effective Emissions Controls”:




                                                   - 166 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 177 of 441 PageID: 4172




              326.    A document entitled “Diesel: Fueling the Future in a Green Economy,” by Hart

   Energy Consulting, prepared for the Diesel Technology Forum, October 13, 2010,67 was posted on

   the DTF website and proclaimed that:



       67
            http://www.dieselforum.org/files/dmfile/Diesel-FuelingtheFutureinaGreenEconomy.pdf.


                                                        - 167 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 178 of 441 PageID: 4173



                     P. 3 - “Introduction of advanced diesel technology in 2007 that
                     relied on ultra low sulfur clean diesel fuel has today reduced
                     emissions of particulate matter and nitrogen oxides—an ozone
                     precursor— by more than 98% in heavy-duty truck applications
                     compared to 2000 models. It has enabled introduction of high
                     performance diesel cars, trucks and SUVs that are cleaner, quieter
                     and safer than ever.”

                     P. 9 - “Fuel economy advantages of 20% to 35% for diesel
                     fuel/engines over gasoline vehicles will also provide options for
                     meeting low carbon fuel objectives and reducing GHG emissions.
                     California has initiated a low carbon fuel initiative and the U.S. EPA
                     has promulgated its first GHG control requirements in the form of
                     vehicle CO2 reduction regulations. Congress continues to debate on
                     climate change and related GHG initiatives.”

                     P. 10 - “These new levels of near-zero emissions are being met
                     through advancements in the engine fuel and air management
                     systems that dramatically improve combustion efficiency, and
                     the use of ultra-low sulfur diesel fuel that enables the use of high
                     efficiency exhaust control. As a result, new trucks and buses are
                     more than 98% cleaner than 2000-era models (Figure 3). In fact,
                     results from the first phases of joint government and industry
                     research (Advanced Collaborative Emissions Study, ACES) have
                     demonstrated that the emissions reductions from these technologies
                     have actually exceeded requirements, providing substantially greater
                     performance and benefits than anticipated.”

                     P. 11 - “While new engines are now on a path to near-zero emissions,
                     the widespread availability of cleaner diesel fuel has created new
                     and substantial efforts to modernize and upgrade emissions
                     performance of existing engines and equipment. A 2009 Report to
                     Congress by U.S. EPA on results of the first year of a federal program
                     to fund diesel retrofits (Diesel Emissions Reduction Program) found
                     it to be among the most cost effective clean air programs, yielding
                     over $13 in environmental and public health benefits for each $1
                     invested.”

                     P. 27 - “The diesel industry is in the midst of implementing
                     advanced engine and emissions control technology that will lower
                     emissions from on-road vehicles and non-road machines and
                     equipment by more than 98% relative to 2000 era technology.
                     Continued investments and research to further increase fuel
                     efficiency while lowering emissions will keep diesel engines for
                     light duty vehicles competitive with other technologies.”




                                                    - 168 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 179 of 441 PageID: 4174



   H.       The damage to the environment is at odds with what a reasonable purchaser of a
            BlueTEC expected.

            327.     NOx contributes to ground-level ozone and fine particulate matter. According to the

   EPA, “Exposure to these pollutants has been linked with a range of serious health effects, including

   increased asthma attacks and other respiratory illnesses that can be serious enough to send people

   to the hospital. Exposure to ozone and particulate matter have also been associated with premature

   death due to respiratory-related or cardiovascular-related effects. Children, the elderly, and people

   with pre-existing respiratory disease are particularly at risk for health effects of these pollutants.”

            328.     The EPA describes the danger of NOx as follows:




                                                   - 169 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 180 of 441 PageID: 4175




                                      - 170 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 181 of 441 PageID: 4176




            329.     A recent study published in NATURE estimates that there are 38,000 deaths

   worldwide due to excess NOx emissions. A study published in ENVIRONMENTAL RESEARCH

   LETTERS (2017) estimates 10,000 deaths in Europe due to excess NOx emissions.

                              TOLLING OF THE STATUTE OF LIMITATIONS

   A.       Discovery rule tolling.

            330.     Class members had no way of knowing about Mercedes’ deception with respect to

   the comparatively and unlawfully high emissions of its BlueTEC Clean Diesel engine system in

   Polluting Vehicles. To be sure, Mercedes continues to market the Polluting Vehicles as “clean”

   diesels that have lower emissions than gasoline vehicles and also continues to claim that Polluting

   Vehicles comply with EPA emissions standards.




                                                 - 171 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 182 of 441 PageID: 4177



            331.     Within the time period of any applicable statutes of limitation, Plaintiffs and

   members of the proposed classes could not have discovered through the exercise of reasonable

   diligence that Mercedes was concealing the conduct complained of herein and misrepresenting the

   Company’s true position with respect to the emission qualities of the Polluting Vehicles.

            332.     Plaintiffs and the other Class members did not discover, and did not know of facts

   that would have caused a reasonable person to suspect, that Mercedes did not report information

   within its knowledge to federal and state authorities, its dealerships, or consumers; nor would a

   reasonable and diligent investigation have disclosed that Mercedes had concealed information about

   the true emissions of the Polluting Vehicles, which was discovered by Plaintiffs only shortly before

   this action was filed. Nor in any event would such an investigation on the part of Plaintiffs and

   other Class members have disclosed that Mercedes valued profits over truthful marketing and

   compliance with law.

            333.     For these reasons, all applicable statutes of limitation have been tolled by operation

   of the discovery rule with respect to claims as to the Polluting Vehicles.

   B.       Fraudulent concealment tolling.

            334.     All applicable statutes of limitation have also been tolled by Mercedes’ knowing and

   active fraudulent concealment and denial of the facts alleged herein throughout the time period

   relevant to this action.

            335.     Instead of disclosing its emissions scheme, or that the quality and quantity of

   emissions from the Polluting Vehicles were far worse than represented, and of its disregard of law,

   Mercedes falsely represented that the Polluting Vehicles had emissions cleaner than their gasoline

   powered counterparts, complied with federal and state emissions standards, that the diesel engines

   were “Clean,” and that it was a reputable manufacturer whose representation could be trusted.



                                                    - 172 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 183 of 441 PageID: 4178



   C.       Estoppel.

            336.     Mercedes was under a continuous duty to disclose to Plaintiffs and the other Class

   members the true character, quality, and nature of emissions from the Polluting Vehicles, and of

   those vehicles’ emissions systems.

            337.     Mercedes knowingly, affirmatively, and actively concealed or recklessly

   disregarded the true nature, quality, and character of the emissions systems, and the emissions, of

   the Polluting Vehicles.

            338.     Based on the foregoing, Mercedes is estopped from relying on any statutes of

   limitations in defense of this action.

                                              CLASS ALLEGATIONS

            339.     Plaintiffs bring this action on behalf of themselves and as a class action, pursuant to

   the provisions of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

   following class and subclasses (collectively, the “Classes”):

                     THE NATIONWIDE RICO CLASS

                     All persons or entities in the United States who owned and or leased
                     an “Polluting Vehicle ” as of February 18, 2016. Polluting Vehicles
                     include, without limitation, the diesel-powered: ML 320, ML 350,
                     GL 320, E320, S350, R320, E Class, GL Class, ML Class, R Class,
                     S Class, GLK Class, GLE Class, and Sprinter.

                     THE NATIONWIDE UNFAIR AND DECEPTIVE
                     PRACTICES ACT CLASS

                     All persons or entities in the United States who owned and or leased
                     an “Polluting Vehicle ” as of February 18, 2016. Polluting Vehicles
                     include, without limitation, the diesel-powered: ML 320, ML 350,
                     GL 320, E320, S350, R320, E Class, GL Class, ML Class, R Class,
                     S Class, GLK Class, GLE Class, and Sprinter.

                     THE ALABAMA SUBCLASS

                     All persons or entities in the state of Alabama who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.


                                                    - 173 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 184 of 441 PageID: 4179



                     THE CALIFORNIA SUBCLASS

                     All persons or entities in the state of California who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE COLORADO SUBCLASS

                     All persons or entities in the state of Colorado who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE CONNECTICUT SUBCLASS

                     All persons or entities in the state of Connecticut who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE GEORGIA SUBCLASS

                     All persons or entities in the state of Georgia who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE IDAHO SUBCLASS

                     All persons or entities in the state of Idaho who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.

                     THE ILLINOIS SUBCLASS

                     All persons or entities in the state of Illinois who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.

                     THE INDIANA SUBCLASS

                     All persons or entities in the state of Indiana who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.

                     THE MARYLAND SUBCLASS

                     All persons or entities in the state of Maryland who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE MASSACHUSETTS SUBCLASS

                     All persons or entities in the state of Massachusetts who owned
                     and/or leased an Polluting Vehicle as of February 18, 2016.

                     THE MINNESOTA SUBCLASS

                     All persons or entities in the state of Minnesota who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.


                                                    - 174 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 185 of 441 PageID: 4180



                     THE MISSISSIPPI SUBCLASS

                     All persons or entities in the state of Mississippi who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE MISSOURI SUBCLASS

                     All persons or entities in the state of Missouri who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE NEVADA SUBCLASS

                     All persons or entities in the state of Nevada who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE NEW JERSEY SUBCLASS

                     All persons or entities in the state of New Jersey who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE NEW YORK SUBCLASS

                     All persons or entities in the state of New York who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE NORTH CAROLINA SUBCLASS

                     All persons or entities in the state of North Carolina who owned
                     and/or leased an Polluting Vehicle as of February 18, 2016.

                     THE OHIO SUBCLASS

                     All persons or entities in the state of Ohio who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.

                     THE PENNSYLVANIA SUBCLASS

                     All persons or entities in the state of Pennsylvania who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE SOUTH CAROLINA SUBCLASS

                     All persons or entities in the state of South Carolina who owned
                     and/or leased an Polluting Vehicle as of February 18, 2016.

                     THE TEXAS SUBCLASS

                     All persons or entities in the state of Texas who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.


                                                   - 175 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 186 of 441 PageID: 4181



                     THE UTAH SUBCLASS

                     All persons or entities in the state of Utah who owned and/or leased
                     an Polluting Vehicle as of February 18, 2016.

                     THE VIRGINIA SUBCLASS

                     All persons or entities in the state of Virginia who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE WASHINGTON SUBCLASS

                     All persons or entities in the state of Washington who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE WEST VIRGINIA SUBCLASS

                     All persons or entities in the state of West Virginia who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

                     THE WISCONSIN SUBCLASS

                     All persons or entities in the state of Wisconsin who owned and/or
                     leased an Polluting Vehicle as of February 18, 2016.

            340.     Excluded from the Class and each Subclass are individuals who have personal injury

   claims resulting from the high emissions in the BlueTEC Clean Diesel system of Polluting Vehicles.

   Also excluded from the Class are Mercedes and its subsidiaries and affiliates; all persons who make

   a timely election to be excluded from the Class; governmental entities; and the Judge to whom this

   case is assigned and his/her immediate family. Plaintiff reserves the right to revise the Class

   definition based upon information learned through discovery.

            341.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

   Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

   would be used to prove those elements in individual actions alleging the same claim.

            342.     This action has been brought and may be properly maintained on behalf of each of

   the Classes proposed herein under Federal Rule of Civil Procedure 23.




                                                    - 176 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 187 of 441 PageID: 4182



            343.     Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of the Classes

   are so numerous and geographically dispersed that individual joinder of all Class members is

   impracticable. While Plaintiffs are informed and believe that there are over two hundred thousand

   members of the Class, the precise number of Class members is unknown to Plaintiffs, but may be

   ascertained from Mercedes’ books and records. Class members may be notified of the pendency of

   this action by recognized, Court-approved notice dissemination methods, which may include U.S.

   mail, electronic mail, Internet postings, and/or published notice.

            344.     Commonality and Predominance: Federal Rule of Civil Procedure 23(a)(2) and

   23(b)(3): This action involves common questions of law and fact, which predominate over any

   questions affecting individual Class members, including, without limitation:

                     a)     Whether Mercedes and Bosch engaged in the conduct alleged herein;

                     b)     Whether Mercedes designed, advertised, marketed, distributed, leased, sold,
                            or otherwise placed Polluting Vehicles into the stream of commerce in the
                            United States;

                     c)     Whether the BlueTEC Clean Diesel engine system in the Polluting
                            Vehicles emit pollutants at levels that do not make them “clean” diesels and
                            that do not comply with U.S. EPA requirements;

                     d)     Whether Mercedes knew about the comparatively and unlawfully high
                            emissions and, if so, how long Mercedes has known;

                     e)     Whether Mercedes and Bosch knew about the defeat device and, if so, how
                            long have they known;

                     f)     Whether Bosch designed and manufactured a defeat device;

                     g)     Whether Bosch supplied the defeat device to Mercedes with the knowledge
                            that Mercedes would use it in the production of Polluting Vehicles;

                     h)     Whether Bosch acted in concert with Mercedes and aided and abetted
                            Mercedes’ fraud;

                     i)     Whether Mercedes designed, manufactured, marketed, and distributed
                            Polluting Vehicles with defective or otherwise inadequate emission
                            controls;


                                                  - 177 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 188 of 441 PageID: 4183



                     j)     Whether Mercedes’ and Bosch’s conduct violates RICO and consumer
                            protection statutes and constitutes fraudulent concealment as asserted
                            herein;

                     k)     Whether Plaintiffs and the other Class members overpaid for their Polluting
                            Vehicles and/or did not receive the benefit of the bargain;

                     l)     Whether Plaintiffs and the other Class members are entitled to damages and
                            other monetary relief and, if so, in what amount.

            345.     Typicality:    Federal Rule of Civil Procedure 23(a)(3):    Plaintiffs’ claims are

   typical of the other Class members’ claims because, among other things, all Class members were

   comparably injured through Mercedes’ wrongful conduct as described above.

            346.     Adequacy:      Federal Rule of Civil Procedure 23(a)(4):    Plaintiffs are adequate

   Class representatives because their interests do not conflict with the interests of the other members

   of the Classes they seek to represent; Plaintiffs have retained counsel competent and experienced

   in complex class action litigation; and Plaintiffs intend to prosecute this action vigorously. The

   Classes’ interests will be fairly and adequately protected by Plaintiffs and their counsel.

            347.     Declaratory Relief: Federal Rule of Civil Procedure 23(b)(2): Mercedes has acted

   or refused to act on grounds generally applicable to Plaintiffs and the other members of the Classes,

   thereby making appropriate declaratory relief, with respect to each Class as a whole.

            348.     Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is superior to

   any other available means for the fair and efficient adjudication of this controversy, and no unusual

   difficulties are likely to be encountered in the management of this class action. The damages or

   other financial detriment suffered by Plaintiffs and the other Class members are relatively small

   compared to the burden and expense that would be required to individually litigate their claims

   against Mercedes, so it would be impracticable for the members of the Classes to individually seek

   redress for Mercedes’ wrongful conduct. Even if Class members could afford individual litigation,

   the court system could not.        Individualized litigation creates a potential for inconsistent or

                                                   - 178 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 189 of 441 PageID: 4184



   contradictory judgments, and increases the delay and expense to all parties and the court system.

   By contrast, the class action device presents far fewer management difficulties, and provides the

   benefits of single adjudication, economy of scale, and comprehensive supervision by a single court.

                                                       CLAIMS

   A.        Claims brought on behalf of the nationwide RICO class.

                                                   COUNT I

     VIOLATIONS OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                ACT (RICO) VIOLATION OF 18 U.S.C. § 1962(C) - (D)

             349.    Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             350.    Plaintiffs bring this Count individually and on behalf of the Nationwide RICO Class

   against Defendants Mercedes-Benz USA, LLC, Daimler AG, Robert Bosch GmbH, and Robert

   Bosch LLC (collectively, “RICO Defendants”).

             351.    The RICO Defendants are all “persons” under 18 U.S.C. § 1961(3) because they are

   capable of holding, and do hold, “a legal or beneficial interest in property.”

             352.    Section 1962(c) makes it “unlawful for any person employed by or associated with

   any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

   pattern of racketeering activity.” Section 1962(d), in turn, makes it unlawful for “any person to

   conspire to violate.”

             353.    For many years now, the RICO Defendants have aggressively sought to increase the

   sales of Polluting Vehicles in an effort to bolster revenue, augment profits and increase Mercedes’

   share of the diesel vehicle market. Finding it impossible to achieve their goals lawfully, however,

   the RICO Defendants resorted instead to orchestrating a fraudulent scheme and conspiracy. In



                                                    - 179 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 190 of 441 PageID: 4185



   particular, the RICO Defendants, along with other entities and individuals, created and/or

   participated in the affairs of an illegal enterprise (“Emissions Fraud Enterprise”) whose direct

   purpose was to deceive the regulators and the public into believing the Polluting Vehicles were

   “clean diesels.” As explained in greater detail below, the RICO Defendants’ acts in furtherance of

   the Emissions Fraud Enterprise violate § 1962(c) and (d).

              1.      The members of the emissions fraud enterprise.

              354.    Upon information and belief, the Emissions Fraud Enterprise consisted of the

   following entities and individuals: Mercedes-Benz USA, LLC, Daimler AG, Robert Bosch GmbH,

   and Robert Bosch LLC.

              355.    Robert Bosch GmbH and Robert Bosch LLC tested, manufactured, and sold the

   electronic control module (“ECM”) that managed the emissions control system used by Mercedes

   in the Polluting Vehicles. This particular ECM is more formally referred to as the Electronic Diesel

   Control Unit 17 (“EDC Unit 17”).68

              356.    Defendant Bosch GmbH is a multinational engineering and electronics company

   headquartered in Gerlingen, Germany, which has hundreds of subsidiaries and companies. It

   wholly owns defendant Bosch LLC, a Delaware limited liability company headquartered in

   Farmington Hills, Michigan. As explained above, Bosch’s sectors and divisions are grouped by

   subject matter, not location. The Mobility Solutions (formerly Automotive Technology) is the

   Bosch sector at issue, particularly its Diesel Services division, and it encompasses employees of

   Bosch GmbH and Bosch LLC. These individuals were responsible for the design, manufacture,

   development, customization, and supply of the defeat device to Mercedes for use in the Polluting

   Vehicles.


       68
            http://www.bosch-presse.de/presseforum/details.htm?txtID=7421&tk_id=108.


                                                       - 180 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 191 of 441 PageID: 4186



            357.     Bosch worked with Mercedes, Volkswagen, GM, and Fiat Chrysler (FCA) to

   develop and implement a specific and unique set of software algorithms to surreptitiously evade

   emissions regulations. Bosch customized their EDC Unit 17s for installation in the Polluting

   Vehicles with unique software code to detect when it was undergoing emissions testing, as

   described above, and did so for other vehicles with defeat devices in Volkswagen and FCA

   vehicles.69

            358.     Bosch, Bosch GmbH, and Bosch LLC’s conduct with respect to Volkswagen and

   other manufacturers, adds plausibility to its participation in the enterprise described herein. For

   example, Bosch was well aware that the EDC Unit 17 would be used by automobile manufacturers,

   including Mercedes, to cheat on emissions testing. Each Bosch entity was also critical to the

   concealment of the defeat device in communications with U.S. regulators and went even further to

   actively lobby U.S. lawmakers on behalf of Volkswagen and its “clean diesel” vehicles.

            359.     EDC Unit 17 could not effectively lower NOx emissions to legal levels during

   normal operating conditions. In order to pass the emissions test, then, EDC Unit 17 is equipped

   with a “defeat device,” which is software that allows the vehicle to determine whether it is being

   operated under normal conditions or testing conditions.

            360.     The EDC 17 ECU was manufactured by Bosch GmbH and sold to Mercedes. Bosch

   built the ECU hardware and developed the software running in the ECU. Bosch developed a

   “function sheet” that documents the functional behavior of a particular release of the ECU firmware.

   All function sheets used in the Mercedes EDC, on information and belief, bear a “Robert Bosch

   GmbH” copyright.




       69
          Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, Car and Driver (Nov. 23,
   2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-cheater-software.


                                                      - 181 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 192 of 441 PageID: 4187



            361.     As was publicly reported, the Bosch Defendants, seeking to conceal their

   involvement in the unlawful Emissions Fraud Enterprise, sent a letter to Volkswagen AG in 2007

   stating that Volkswagen Diesels could not be lawfully operated if the LNT or SCR after- treatment

   system was disabled.70 The exact same logic applies to the Mercedes Polluting Vehicles.

            362.     Indeed, notwithstanding their knowledge that the Volkswagen Diesels could not be

   lawfully operated if the emissions system was disabled, the Bosch Defendants, driven to cement

   their position as a leading supplier of diesel emissions equipment, went on to sell approximately

   eleven million EDC Unit 17s to Volkswagen over an eight year period, and sold hundreds of

   thousands of EDC Unit 17s to Mercedes for use in Polluting Vehicles.71

            363.     The persons and entities described in the preceding section are members of and

   constitute an “association-in-fact” enterprise.

            364.     At all relevant times, the Emissions Fraud Enterprise: (a) had an existence separate

   and distinct from each Defendant; (b) was separate and distinct from the pattern of racketeering in

   which the RICO Defendants engaged; and (c) was an ongoing organization consisting of legal

   entities, including the Mercedes Defendants, the Bosch Defendants, and other entities and

   individuals associated for the common purpose of designing, manufacturing, distributing, testing,

   and selling the Polluting Vehicles through fraudulent COCs and EOs, false emissions tests,

   deceptive and misleading marketing and materials, and deriving profits and revenues from those

   activities. Each member of the Emissions Fraud Enterprise shared in the bounty generated by the




       70
         Stef Shrader, Feds Are Now Investigating Volkswagen Supplier Bosch Over Dieselgate, Jalopnik (Nov. 19,
   2015), http://jalopnik.com/feds-are-now-investigating-volkswagen-supplier-bosch-ov-1743624448.
       71
          Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, Car and Driver (Nov. 23,
   2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-cheater-software.


                                                      - 182 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 193 of 441 PageID: 4188



   enterprise, i.e., by sharing the benefit derived from increased sales revenue generated by the scheme

   to defraud consumers and franchise dealers alike nationwide.72

            365.     The Emissions Fraud Enterprise functioned by selling vehicles and component parts

   to the consuming public. Many of these products are legitimate, including vehicles that do not

   contain defeat devices. However, the RICO Defendants and their co-conspirators, through their

   illegal Enterprise, engaged in a pattern of racketeering activity, which involves a fraudulent scheme

   to increase revenue for Defendants and the other entities and individuals associated-in- fact with

   the Enterprise’s activities through the illegal scheme to sell the Polluting Vehicles.

            366.     The Emissions Fraud Enterprise engaged in, and its activities affected interstate and

   foreign commerce, because it involved commercial activities across state boundaries, such as the

   marketing, promotion, advertisement and sale or lease of the Polluting Vehicles throughout the

   country, and the receipt of monies from the sale of the same.

            367.     Within the Emissions Fraud Enterprise, there was a common communication

   network by which co-conspirators shared information on a regular basis. The Emissions Fraud

   Enterprise used this common communication network for the purpose of manufacturing, marketing,

   testing, and selling the Polluting Vehicles to the general public nationwide.

            368.     Each participant in the Emissions Fraud Enterprise had a systematic linkage to each

   other through corporate ties, contractual relationships, financial ties, and continuing coordination

   of activities. Through the Emissions Fraud Enterprise, the RICO Defendants functioned as a

   continuing unit with the purpose of furthering the illegal scheme and their common purposes of

   increasing their revenues and market share, and minimizing losses.


       72
          Volkswagen sold more Polluting Vehicles by utilizing an emissions control system that was cheaper than
   SCRs, all the while charging consumers a premium for purportedly “clean,” “environmentally friendly” and “fuel
   efficient” vehicles. Bosch, in turn, sold more EDC Units because Volkswagen manufactured and sold more Polluting
   Vehicles.


                                                      - 183 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 194 of 441 PageID: 4189



            369.     The RICO Defendants participated in the operation and management of the

   Emissions Fraud Enterprise by directing its affairs, as described herein.            While the RICO

   Defendants participated in, and are members of, the enterprise, they have a separate existence from

   the enterprise, including distinct legal statuses, different offices and roles, bank accounts, officers,

   directors, employees, individual personhood, reporting requirements, and financial statements.

            370.     Mercedes and Daimler exerted substantial control and participated in the affairs of

   the Emissions Fraud Enterprise by:

                     a.     Designing the Polluting Vehicles with defeat devices;

                     b.     Failing to correct or disable the defeat devices when warned;

                     c.     Manufacturing, distributing, and selling the Polluting Vehicles that emitted
                            greater pollution than allowable under the applicable regulations;

                     d.     Misrepresenting and omitting (or causing such misrepresentations and
                            omissions to be made) vehicle specifications on COC and EO applications;

                     e.     Introducing the Polluting Vehicles into the stream of U.S. commerce without
                            a valid EPA COC and/or CARB EO;

                     f.     Concealing the existence of the defeat devices and the unlawfully high
                            emissions from regulators and the public;

                     g.     Persisting in the manufacturing, distribution, and sale of the Polluting
                            Vehicles even after questions were raised about the emissions testing and
                            discrepancies concerning the same;

                     h.     Misleading government regulators as to the nature of the defeat devices and
                            the defects in the Polluting Vehicles;

                     i.     Misleading the driving public as to the nature of the defeat devices and the
                            defects in the Polluting Vehicles;

                     j.     Designing and distributing marketing materials that misrepresented and
                            concealed the defect in the vehicles;

                     k.     Otherwise misrepresenting or concealing the defective nature of the
                            Polluting Vehicles from the public and regulators; and

                     l.     Illegally selling and/or distributing the Polluting Vehicles; collecting

                                                   - 184 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 195 of 441 PageID: 4190



                            revenues and profits from the sale of such products; and ensuring that the
                            other RICO Defendants and unnamed co-conspirators complied with the
                            fraudulent scheme.

            371.     Each Bosch entity also participated in, operated and/or directed the Emissions Fraud

   Enterprise. Bosch GmbH participated in the fraudulent scheme by manufacturing, installing,

   testing, modifying, and supplying the EDC Unit 17 which operated as a “defeat device” in the

   Polluting Vehicles. Bosch GmbH exercised tight control over the coding and other aspects of the

   defeat device software and closely collaborated with Mercedes to develop, customize, and calibrate

   the defeat devices. Additionally, each Bosch entity continuously cooperated with Mercedes to

   ensure that the EDC Unit 17 was fully integrated into the Polluting Vehicles. Bosch LLC also

   participated in the affairs of the Enterprise by concealing the defeat devices on U.S. documentation

   and in communications with U.S. regulators. The Bosch entities collected tens of millions of dollars

   in revenues and profits from the hidden defeat devices installed in the Polluting Vehicles.

            372.     Without the RICO Defendants’ willing participation, including each of the Bosch

   entities active involvement in developing and supplying the critical defeat devices for the Polluting

   Vehicles, the Emissions Fraud Enterprise’s scheme and common course of conduct would not have

   been successful.

            373.     The RICO Defendants directed and controlled the ongoing organization necessary

   to implement the scheme at meetings and through communications of which Plaintiffs cannot fully

   know at present, because such information lies in the Defendants’ and others’ hands.

            374.     The members of the Emissions Fraud Enterprise all served a common purpose;

   namely, to outsell their law-abiding competitors and increase their revenues through the sale of as

   many Polluting Vehicles (including the emissions components made and sold by Bosch) as possible.

   Each member of the Emissions Fraud Enterprise shared the bounty generated by the enterprise, i.e.,

   by sharing the benefit derived from increased sales revenue generated by the scheme to defraud.

                                                   - 185 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 196 of 441 PageID: 4191



   Mercedes sold more Polluting Vehicles by utilizing an emissions control system that was cheaper

   to install and allowed for generous performance and efficiency tuning, all the while charging

   consumers a premium for purportedly “clean,” “environmentally friendly” and “fuel efficient”

   Polluting Vehicles. The Bosch Defendants, in turn, sold more EDC Units because Mercedes

   manufactured and sold more Polluting Vehicles. The RICO Defendants achieved their common

   purpose by repeatedly misrepresenting and concealing the nature of the Polluting Vehicles and the

   ability of the emissions control systems (including the Bosch-supplied parts) to effectively reduce

   toxic emissions during normal operating conditions.

            375.     The RICO Defendants continued their enterprise even after the Volkswagen scandal

   became public in September 2015. Mercedes continued to manufacture and sell 2016 Polluting

   Vehicles. Assuming top executives at Mercedes did not know of the defeat devices in its vehicles

   (an assumption not true of Volkswagen or Bosch), a responsible chief executive would have

   inquired: Do we have a diesel problem? Either top executives at Mercedes failed to ask questions

   or they agreed to continue a cover-up because Mercedes did not stop selling Polluting Vehicles and

   has continued to conceal the truth.

            376.     Indeed, on April 7, 2016, plaintiffs’ counsel, shortly after filing this litigation, sent

   a letter to the Chairman of the Board of Daimler AG requesting a prompt meeting to work on a

   remediation plan to protect the public health:




                                                     - 186 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 197 of 441 PageID: 4192




                                      - 187 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 198 of 441 PageID: 4193




            377.     Dr. Dieter Zetsche did not respond, and unlike Volkswagen, Mercedes has continued

   to stonewall regarding its emissions deception.

            2.       The predicate acts.

            378.     To carry out, or attempt to carry out the scheme to defraud, the RICO Defendants

   conducted or participated in the conduct of the affairs of the Emissions Fraud Enterprise through a

   pattern of racketeering activity that employed the use of the mail and wire facilities, in violation of

   18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

            379.     Specifically, the RICO Defendants participated in the scheme to defraud by using

   mail, telephone, and the Internet to transmit writings travelling in interstate or foreign commerce.

                                                  - 188 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 199 of 441 PageID: 4194



            380.     The RICO Defendants’ use of the mails and wires include, but are not limited to, the

   transmission, delivery, or shipment of the following by the RICO Defendants or third parties that

   were foreseeably caused to be sent as a result of Defendants’ illegal scheme:

                     a.     Application for certificates submitted to the EPA and CARB;

                     b.     The Polluting Vehicles themselves;

                     c.     Component parts for the defeat devices;

                     d.     Essential hardware for the Polluting Vehicles;

                     e.     Falsified emission tests;

                     f.     Fraudulently-obtained EPA COCs and CARB EOs;

                     g.     Vehicle registrations and plates as a result of the fraudulently-obtained EPA
                            COCs and CARB EOs;

                     h.     Documents and communications that facilitated the falsified emission tests;

                     i.     False or misleading communications intended to lull the public and
                            regulators from discovering the defeat devices and/or other auxiliary devices;

                     j.     Sales and marketing materials, including advertising, websites, product
                            packaging, brochures, and labeling, which misrepresented and concealed
                            the true nature of the Polluting Vehicles;

                     k.     Documents intended to facilitate the manufacture and sale of the Polluting
                            Vehicles, including bills of lading, invoices, shipping records, reports and
                            correspondence;

                     l.     Documents to process and receive payment for the Polluting Vehicles by
                            unsuspecting franchise dealers, including invoices and receipts;

                     m.     Payments to Bosch entities;

                     n.     Deposits of proceeds; and

                     o.     Other documents and things, including electronic communications.

            381.     In particular, the use of the wires and mails included the following applications for

   certification filed with the EPA:




                                                   - 189 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 200 of 441 PageID: 4195



            2016 MY GL 350 Bluetec 4MATIC; GLE 350 D 4MATIC:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=35797&flag=1

            2016 E250 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34975&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34976&flag=1

            2015 E250 Bluetec; GLK 250 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34033&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34034&flag=1

            2015 ML 250:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34040&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34043&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34042&flag=1

            2015 ML 350; GL 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=33471&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34457&flag=1

            2014 GLK 250 Bluetec, E 250 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31616&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31617&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31618&flag=1 Update
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31620&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31619&flag=1

            2014 GL 350 Bluetec, ML 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31627&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31629&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=31628&flag=1

            2013 GL 350 Bluetec, ML 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29896&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29898&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29897&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29899&flag=1

            2013 R 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29184&flag=1

            2013 GL 3505 Bluetec, ML 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29185&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29186&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29187&flag=1



                                               - 190 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 201 of 441 PageID: 4196



            2013 S 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29198&flag=1

            2013 E 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=29900&flag=1

            2012 ML 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27527&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27528&flag=1

            2012 GL 350 Bluetec, R 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27529&flag=1

            2012 S 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27533&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27534&flag=1

            2012 E 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27535&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27537&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=27536&flag=1

            2011 ML 350 Bluetec, R 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23987&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23988&flag=1

            2011 GL 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23989&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23990&flag=1

            2011 E 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23996&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=23997&flag=1

            2010 ML 350 Bluetec, R 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25006&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25008&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25007&flag=1

            2010 GL 350 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25009&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25011&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=25010&flag=1




                                               - 191 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 202 of 441 PageID: 4197



            2009 ML 320 Bluetec, R 320 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=19981&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=19982&flag=1

            2009 GL 320 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=19983&flag=1 Update:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=19984&flag=1

            2009 E 320 Bluetec:
            https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=19987&flag=1

            2007 E320 Bluetec: https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=14695&flag=1

            382.     In each of the applications for certification, Mercedes and Daimler used the wires

   and mails to make specific false statements regarding NOx test results. Each Bosch entity was

   aware that these applications were being made by Mercedes.

            383.     The RICO Defendants utilized the interstate and international mail and wires for the

   purpose of obtaining money or property by means of the omissions, false pretense, and

   misrepresentations described therein.

            384.     The RICO Defendants also used the internet and other electronic facilities to carry

   out the scheme and conceal the ongoing fraudulent activities. Specifically, Mercedes made

   misrepresentations about the Polluting Vehicles on their websites, YouTube, and through ads

   online, all of which were intended to mislead regulators and the public about the fuel efficiency,

   emissions standards, and other performance metrics.

            385.     The mail and wire transmissions described herein were made in furtherance of

   Defendants’ scheme and common course of conduct to deceive regulators and consumers and lure

   consumers into purchasing the Polluting Vehicles, which Defendants knew or recklessly

   disregarded as emitting illegal amounts of pollution, despite their advertising campaign that the

   Polluting Vehicles were “clean” diesel cars.




                                                   - 192 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 203 of 441 PageID: 4198



            386.     Many of the precise dates of the fraudulent uses of the U.S. Mail and interstate wire

   facilities have been deliberately hidden, and cannot be alleged without access to Defendants’ books

   and records. However, Plaintiffs have described the types of, and in some instances, occasions on

   which the predicate acts of mail and/or wire fraud occurred.             They include thousands of

   communications to perpetuate and maintain the scheme, including the things and documents

   described in the preceding paragraphs.

            387.     The RICO Defendants have not undertaken the practices described herein in

   isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d), the

   RICO Defendants conspired to violate 18 U.S.C. § 1962(c), as described herein. Various other

   persons, firms and corporations, including third-party entities and individuals not named as

   defendants in this Complaint, have participated as co-conspirators with the RICO Defendants in

   these offenses and have performed acts in furtherance of the conspiracy to increase or maintain

   revenues, increase market share, and/or minimize losses for the Defendants and their unnamed co-

   conspirators throughout the illegal scheme and common course of conduct.

            388.     The RICO Defendants aided and abetted others in the violations of the above laws,

   thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

            389.     To achieve their common goals, the RICO Defendants hid from the general public

   the unlawfulness and emission dangers of the Polluting Vehicles and obfuscated the true nature of

   the defect even after regulators raised concerns. The RICO Defendants suppressed and/or ignored

   warnings from third parties, whistleblowers, and governmental entities about the discrepancies in

   emissions testing and the defeat devices present in the Polluting Vehicles.

            390.     The RICO Defendants and each member of the conspiracy, with knowledge and

   intent, have agreed to the overall objectives of the conspiracy and participated in the common course



                                                   - 193 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 204 of 441 PageID: 4199



   of conduct to commit acts of fraud and indecency in designing, manufacturing, distributing,

   marketing, testing, and/or selling the Polluting Vehicles (and the defeat devices contained therein).

            391.     Indeed, for the conspiracy to succeed each of the RICO Defendants and their co-

   conspirators had to agree to implement and use the similar devices and fraudulent tactics—

   specifically complete secrecy about the defeat devices in the Polluting Vehicles.

            392.     The RICO Defendants knew and intended that government regulators, as well as

   Plaintiff and Class members, would rely on the material misrepresentations and omissions made by

   them about the Polluting Vehicles. The RICO Defendants knew and intended Plaintiffs and the

   Class would incur costs and damages as a result. As fully alleged herein, Plaintiffs and the Class

   relied upon Defendants’ representations and omissions that were made or caused by them.

   Plaintiffs’ reliance is made obvious by the fact that they purchased or leased tens of thousands of

   vehicles that never should have been introduced into the U.S. stream of commerce and whose worth

   is far less. In addition, the EPA, CARB, and other regulators relied on the misrepresentations and

   material omissions made or caused to be made by the RICO Defendants; otherwise Mercedes could

   not have obtained valid COCs and EOs to sell the Polluting Vehicles.

            393.     The RICO Defendants’ conduct in furtherance of this scheme was intentional.

   Plaintiffs and the Class were harmed as a result of the RICO Defendants’ intentional conduct.

   Plaintiffs, the Class, regulators and consumers, among others, relied on the RICO Defendants’

   material misrepresentations and omissions.

            394.     As described herein, the RICO Defendants engaged in a pattern of related and

   continuous predicate acts for many years. The predicate acts constituted a variety of unlawful

   activities, each conducted with the common purpose of defrauding Plaintiffs and other Class

   members and obtaining significant monies and revenues from them and through them while



                                                 - 194 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 205 of 441 PageID: 4200



   providing Polluting Vehicles worth significantly less than the invoice price paid. The predicate acts

   also had the same or similar results, participants, victims, and methods of commission. The

   predicate acts were related and not isolated events.

            395.     The predicate acts all had the purpose of generating significant revenue and profits

   for the RICO Defendants at the expense of Plaintiffs and the Class, and consumers. The predicate

   acts were committed or caused to be committed by the RICO Defendants through their participation

   in the Emissions Fraud Enterprise and in furtherance of its fraudulent scheme, and were interrelated

   in that they involved obtaining Plaintiffs’ and Class members’ funds, artificially inflating the brand

   and dealership goodwill values, and avoiding the expenses associated with remediating the

   Polluting Vehicles.

            396.     During the design, manufacture, testing, marketing and sale of the Polluting

   Vehicles, the RICO Defendants shared technical, marketing and financial information that plainly

   revealed the emissions control systems in the Polluting Vehicles as the ineffective, illegal and

   fraudulent piece of technology they were and are. Nevertheless, the RICO Defendants shared and

   disseminated information that deliberately represented Polluting Vehicles as “clean,”

   “environmentally friendly,” and “fuel efficient.”

            397.     By reason of and as a result of the conduct of the RICO Defendants, and, in

   particular, its pattern of racketeering activity, Plaintiffs and the Class have been injured in multiple

   ways, including, but not limited to:

                     a.     Overpayment for Polluting Vehicles, in that Plaintiffs and the Class at the

                            time of purchase believed they were paying for vehicles that met certain

                            emission and fuel efficiency standards and obtained vehicles that did not

                            meet these standards and were worth less than what was paid;



                                                   - 195 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 206 of 441 PageID: 4201



                     b.     The value of the Polluting Vehicles has diminished, thus reducing their sale

                            and resale value, and has resulted in a loss of property for Plaintiffs and the

                            Class; and

                     c.     Plaintiffs have been wrongfully deprived of their property in that the price

                            for their vehicles was artificially inflated by deliberate acts of false

                            statements, omissions and concealment and by Defendants’ acts of

                            racketeering.

             398.    The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and

   proximately caused injuries and damages to Plaintiffs and the Class, and Plaintiffs and the Class

   are entitled to bring this action for three times their actual damages, as well as injunctive/equitable

   relief, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c). Each of the RICO

   defendants knew, understood and intended for members of the Class to purchase the Polluting

   Vehicles, and knew, understood, and foresaw that revelation of the truth would injure members of

   the Class.

   B.        Claims brought on behalf of the nationwide Unfair and Deceptive Practices Act Class
             and the New Jersey Subclass under New Jersey law.

                                                   COUNT I

                    VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                                  (N.J.S.A.. §§ 56:8-1, ET SEQ.)

             399.    Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             400.    Plaintiffs bring this Count on behalf of the Nationwide Unfair and Deceptive

   Practices Class and New Jersey Subclass.

             401.    The New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq. (“NJ CFA”),

   declares that “[t]he act, use or employment by any person of any unconscionable commercial

                                                    - 196 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 207 of 441 PageID: 4202



   practice, deception, fraud, false pretense, false promise, misrepresentation, or the knowing,

   concealment, suppression, or omission of any material fact with intent that others rely upon such

   concealment, suppression or omission, in connection with the sale or advertisement of any

   merchandise or real estate . . . whether or not any person has in fact been misled, deceived or

   damaged thereby, is declared to be an unlawful practice….” N.J.S.A. §§ 56:8-2.

            402.     Mercedes is a “person” pursuant to N.J.S.A. § 56:8-1(d).

            403.     Bosch is a “person” pursuant to N.J.S.A. § 56:8-1(d).

            404.     The Polluting Vehicles are considered “merchandise,” which includes any objects,

   goods and commodities offered, directly or indirectly, to the public for sale. N.J.S.A. § 56:8- 1(c).

            405.     “Sale” includes “any sale, rental or distribution, offer for sale, rental or distribution

   or attempt directly or indirectly to sell, rent or distribute,” N.J.S.A. § 56:8-1(e), and therefore

   includes Mercedes’ sale of Polluting Vehicles.

            406.     In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the Polluting Vehicles emitted far more pollutants than gasoline

   powered vehicles and that the Polluting Vehicles emit far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above, all with the intent that consumers

   rely upon these omissions of material facts. Accordingly, Mercedes has used an unconscionable

   commercial practice, deception, fraud, false pretense, false promise, misrepresentation, and the

   knowing, concealment, suppression, or omission of any material fact with intent that others rely

   upon such concealment, suppression or omission, in connection with the sale or advertisement of

   merchandise. In the course of its business Bosch was aware that Mercedes was promoting the sale

   of class vehicles as “clean diesel” and that the environmental quality and emissions of class vehicles



                                                     - 197 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 208 of 441 PageID: 4203



   were material to reasonable consumers. Bosch knew that Mercedes was concealing the true nature

   of the class vehicles’ operation and emissions controls. Bosch also engaged in promoting and

   creating a market for “clean diesel.” Accordingly, Bosch has used an unconscionable commercial

   practice, deception, fraud, false pretense, and engaged in the concealment, suppression or omission

   of material fact with intent that others rely upon such concealment or omission, in connection with

   the sale or advertisement of merchandise. Further, Defendants’ acts and practices described herein

   offend established public policy because the harm they cause to consumers, motorists, and

   pedestrians outweighs any benefit associated with such practices, and because Defendants

   fraudulently concealed the defective nature of the Polluting Vehicles from consumers.

            407.     Mercedes’ and Bosch’s actions as set forth above occurred in the conduct of trade

   or commerce.

            408.     Defendants’ unfair or deceptive acts or practices were likely to and did in fact

   deceive reasonable consumers.

            409.     Defendants intentionally and knowingly failed to disclose and misrepresented

   material facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Class and

   Subclass.

            410.     Defendants knew or should have known that its conduct violated the New Jersey

   CFA.

            411.     Defendants owed Plaintiffs and the Class and Subclass a duty to disclose the truth

   about their emissions systems manipulation because they:

                     a.     Possessed exclusive knowledge that they jointly manipulated the emissions
                            system in the Polluting Vehicles to turn off or limit the emission systems’
                            effectiveness in normal driving conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Class and
                            Subclass; and/or


                                                  - 198 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 209 of 441 PageID: 4204




                     c.     Made incomplete representations about the emissions system because they
                            had jointly manipulated the emissions system in the Polluting Vehicles to
                            turn off or limit effectiveness in normal driving conditions, while
                            purposefully withholding material facts from Plaintiffs and the Class
                            and Subclass that contradicted these representations.

            412.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs, Subclass members, and to the public,

   Defendants had the duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff

   and the other Subclass members relied on Defendants’ material omissions and representations that

   the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            413.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            414.     Defendants’ conduct proximately caused injuries to Plaintiffs and the other Class

   and Subclass members.




                                                  - 199 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 210 of 441 PageID: 4205



            415.     Plaintiff and the other Class and Subclass members were injured and suffered

   ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct

   in that Plaintiffs and the other Class and Subclass members overpaid for their Polluting Vehicles

   and did not receive the benefit of their bargain, and their Polluting Vehicles have suffered a

   diminution in value.       These injuries are the direct and natural consequence of Mercedes’

   misrepresentations and omissions.

            416.     Each Plaintiff and the other Class and Subclass members has suffered an

   ascertainable loss, namely the difference between the value of what they believed they were

   purchasing and the value of what they received. While the precise amount of that loss will be the

   subject of expert analysis, based on market prices reflecting the value consumers place on “Clean

   Diesel” Plaintiffs allege that the difference in value is at least 10% of the purchase price. Plaintiffs

   anticipate relying on expert analyses, including conjoint analyses of the value consumers place on

   different product attributes and vehicles with and without certain attributes (including vehicles that

   have emissions controls that turn on and off and those that are not manipulated), as well as a

   standard statistical analysis concerning the impact of different attributes on consumers’

   “willingness to pay.” This analysis will quantify at trial the exact amount and such analysis allows

   for admissible proof of an ascertainable loss, which is alleged at this stage to be at least ten percent.

            417.     Defendants’ violations present a continuing risk to Plaintiff as well as to the general

   public. Defendants’ unlawful acts and practices complained of herein affect the public interest.

            418.     Pursuant to N.J.S.A. § 56:8-20, Plaintiffs will serve the New Jersey Attorney

   General with a copy of this Complaint within 10 days of filing.




                                                    - 200 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 211 of 441 PageID: 4206



                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                    (BASED ON NEW JERSEY LAW)

             419.    Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             420.    Plaintiffs bring this Count on behalf of the Nationwide Unfair and Deceptive

   Practices Class and New Jersey Subclass, against Mercedes and Bosch.

             421.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Class members information that

   is highly relevant to their purchasing decision.

             422.    Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             423.    Mercedes and Bosch knew these representations were false when made.

             424.    The Polluting Vehicles purchased or leased by Plaintiffs and the other Class

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.




                                                    - 201 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 212 of 441 PageID: 4207



            425.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            426.     As alleged in this Complaint, at all relevant times, Mercedes, with Bosch’s

   knowledge and assistance, has held out the Polluting Vehicles to be reduced emissions vehicles.

   Mercedes disclosed certain details about the BlueTEC Clean Diesel engine, but nonetheless,

   Mercedes intentionally failed to disclose the important facts that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, and that the Polluting

   Vehicles had defective emissions controls and emitted higher levels of pollutants than expected by

   a reasonable consumer from a clean diesel, making other disclosures about the emission system

   deceptive.

            427.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            428.     Plaintiffs and Subclass members reasonably relied upon Defendants’ deception.

   They had no way of knowing that Mercedes’ representations were false and/or misleading. As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Defendants’ deception

   on their own. Rather, Defendants intended to deceive Plaintiff and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.



                                                 - 202 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 213 of 441 PageID: 4208



            429.     Defendants also concealed and suppressed material facts concerning what is

   evidently the true culture of Defendants—one characterized by an emphasis on profits and sales

   above providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they

   believe they are clean diesel cars. They do not want to be spewing noxious gases into the

   environment. And yet, that is precisely what the Polluting Vehicles are doing.

            430.     Defendants’ omissions and false representations were material to consumers,

   because they concerned the quality of the Polluting Vehicles, and also because the representations

   played a significant role in Plaintiffs’ decision to purchase the Polluting Vehicles and establishing

   the value of the vehicles. As Defendants well knew, its customers, including Plaintiffs and Subclass

   members, highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean

   diesel cars with reduced emissions, and they paid accordingly.

            431.     Defendants had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Defendants, because Defendants had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Defendants also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Defendants had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles



                                                  - 203 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 214 of 441 PageID: 4209



   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Defendants represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            432.     Defendants actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            433.     Defendants have still not made full and adequate disclosures, and continues to

   defraud Plaintiffs and Subclass members by concealing material information regarding the

   emissions qualities of its referenced vehicles.

            434.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Defendants were in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            435.     Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain and

   overpaid at the point of sale, they own vehicles that are diminished in value as a result of Mercedes’



                                                     - 204 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 215 of 441 PageID: 4210



   concealment of the true quality and quantity of those vehicles’ emissions and Mercedes’ failure to

   timely disclose the defect or defective design of the BlueTEC Clean Diesel engine system, the actual

   emissions qualities and quantities of Mercedes-branded vehicles, and the serious issues engendered

   by Mercedes’ corporate policies. Had Plaintiffs and Subclass members been aware of the true

   emissions facts with regard to the Polluting Vehicles, and the Company’s disregard for the truth,

   Plaintiffs and Subclass members who purchased or leased new or certified previously owned

   vehicles would have paid less for their vehicles or would not have purchased or leased them at all.

            436.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            437.     Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            438.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

            439.     Each Plaintiff and the other Class and Subclass members has suffered an

   ascertainable loss, namely the difference between the value of what they believed they were

   purchasing and the value of what they received. While the precise amount of that loss will be the



                                                  - 205 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 216 of 441 PageID: 4211



   subject of expert analysis, based on market prices reflecting the value consumers place on “Clean

   Diesel” (including as a price premium for Clean Diesel vehicles versus comparable gasoline

   vehicles), Plaintiffs allege that the difference in value is at least 10% of the purchase price. Plaintiffs

   also anticipate relying on expert analyses, including conjoint analyses of the value consumers place

   on different product attributes and vehicles with and without certain attributes (including vehicles

   that have emissions controls that turn on and off and those that are not manipulated), as well as a

   standard statistical analysis concerning the impact of different attributes on consumers’

   “willingness to pay.”



   C.       Claims brought on behalf of the Alabama Subclass.

                                                  COUNT I

        VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE PRACTICES ACT (ALA.
                             CODE §§ 8-19-1, ET SEQ.)

            440.     Plaintiff Walter Louis, Jr. (Plaintiff for purposes of all Alabama Subclass Counts)

   incorporate by reference all paragraphs as though fully set forth herein.

            441.     Plaintiff brings this Count on behalf of the Alabama Subclass.

            442.     Plaintiff and the Subclass members are “consumers” within the meaning of ALA.

   CODE § 8-19-3(2).

            443.     Plaintiff, the Subclass members, and Mercedes are “persons” within the meaning of

   ALA. CODE § 8-19-3(5).

            444.     The Polluting Vehicles are “goods” within the meaning of ALA. CODE § 8-19-3(3).

            445.     Mercedes was and is engaged in “trade or commerce” within the meaning of ALA.

   CODE § 8-19-3(8).




                                                    - 206 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 217 of 441 PageID: 4212



            446.     The Alabama Deceptive Trade Practices Act (“Alabama DTPA”) declares several

   specific actions to be unlawful, including:        “(5) Representing that goods or services have

   sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do not have,”

   “(7) Representing that goods or services are of a particular standard, quality, or grade, or that goods

   are of a particular style or model, if they are of another,” and “(27) Engaging in any other

   unconscionable, false, misleading, or deceptive act or practice in the conduct of trade or commerce.”

   ALA. CODE § 8-19-5.

            447.     In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the emissions controls were defective, that the Polluting Vehicles

   emitted far more pollution than gasoline powered vehicles, and that the Polluting Vehicles emit far

   more pollution than a reasonable consumer would expect from a clean diesel, as described above.

   Accordingly, Mercedes engaged in unfair and deceptive trade practices, including representing that

   the Polluting Vehicles have characteristics, uses, benefits, and qualities which they do not have;

   representing that the Polluting Vehicles are of a particular standard and quality when they are not;

   advertising the Polluting Vehicles with the intent not to sell them as advertised; and otherwise

   engaging in conduct likely to deceive. Further, Mercedes’ acts and practices described herein

   offend established public policy because the harm they cause to consumers, motorists, and

   pedestrians outweighs any benefit associated with such practices, and because Mercedes

   fraudulently concealed the defective nature of the Polluting Vehicles from consumers.

            448.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions



                                                   - 207 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 218 of 441 PageID: 4213



   controls were defective, that the Polluting Vehicles emitted far more pollution than gasoline

   powered vehicles, and that the Polluting Vehicles emit far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above.

            449.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            450.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            451.     Mercedes knew or should have known that its conduct violated the Alabama DTPA.

            452.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            453.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,



                                                   - 208 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 219 of 441 PageID: 4214



   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            454.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            455.     Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            456.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            457.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.




                                                    - 209 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 220 of 441 PageID: 4215



            458.     Pursuant to ALA. CODE § 8-19-10(a), Plaintiff and the Subclass seek monetary

   relief against Mercedes measured as the greater of (a) actual damages in an amount to be determined

   at trial, and (b) $100 for each Plaintiff and each Subclass member, in addition to treble damages.

            459.     Plaintiff and the Subclass also seek declaratory relief, attorneys’ fees, and any other

   just and proper relief available under the Alabama DTPA.

            460.     Plaintiff has made a demand in satisfaction of ALA. CODE § 8-19-3.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                     (BASED ON ALABAMA LAW)

            461.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            462.     This claim is brought on behalf of the Alabama Subclass, against Mercedes and

   Bosch.

            463.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered

   vehicles, and higher than a reasonable consumer would expect from a clean diesel, or Mercedes

   acted with reckless disregard for the truth, and denied Plaintiff and the other Subclass members

   information that is highly relevant to their purchasing decision.

            464.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            465.     Mercedes knew these representations were false when made.

            466.     Bosch GmbH and LLC were aware of Mercedes representations.


                                                    - 210 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 221 of 441 PageID: 4216



            467.     The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel,

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            468.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer, and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            469.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions, vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            470.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls, was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts, and Mercedes actively concealed these facts from Plaintiff and Subclass members.




                                                  - 211 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 222 of 441 PageID: 4217



            471.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                  As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            472.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            473.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            474.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without



                                                  - 212 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 223 of 441 PageID: 4218



   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            475.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles which perception would hurt the brand’s image and cost Mercedes money, and it did so at

   the expense of Plaintiff and Subclass members.

            476.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            477.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.



                                                   - 213 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 224 of 441 PageID: 4219



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            478.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            479.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            480.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.



                                                    - 214 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 225 of 441 PageID: 4220



            481.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            482.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   D.       Claims brought on behalf of the California Subclass.

                                                  COUNT I

               VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                       (CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.)

            483.     Plaintiffs Catherine Roberts, Dr. Adrian Clive Roberts and Jorge Salvador Servin

   (Plaintiffs, for purposes of all California Subclass Counts) incorporate by reference all paragraphs

   as though fully set forth herein.

            484.     This claim is brought on behalf of the California Subclass.

            485.     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et

   seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business

   act or practice and unfair, deceptive, untrue or misleading advertising.”

            486.     Mercedes’ conduct, as described herein, was and is in violation of the UCL.

   Mercedes’ conduct violates the UCL in at least the following ways:

                     i.     By failing to disclose that the NOx reduction system in the Polluting Vehicles
                            turns off or is limited during normal driving conditions;

                     ii.    By selling and leasing Polluting Vehicles that suffer from a defective
                            emissions control system and that emit unlawfully high levels of pollutants
                            under normal driving conditions;

                     iii.   By knowingly and intentionally concealing from Plaintiffs and the other


                                                    - 215 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 226 of 441 PageID: 4221



                            Subclass members that the NOx reduction system in the Polluting Vehicles
                            turns off or is limited during normal driving conditions and that the Polluting
                            Vehicles suffer from a defective emissions control system and emit
                            unlawfully high levels of pollutants under normal driving conditions;

                     iv.    By marketing the Polluting Vehicles as reduced emissions vehicles
                            possessing functional and defect-free diesel engine systems;

                     vii.   By violating other California laws, including California consumer protection
                            laws.

            487.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            488.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the emissions controls were

   defective, and that the Polluting Vehicles emitted far more pollution than a reasonable consumer

   would expect from a clean diesel, as described above.

            489.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.          They had no way of knowing            that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            490.     Mercedes knew or should have known that its conduct violated the UCL.

            491.     Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                                                    - 216 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 227 of 441 PageID: 4222




                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            492.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles, that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            493.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            494.     Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            495.     Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

                                                   - 217 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 228 of 441 PageID: 4223



   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            496.     Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            497.     Mercedes’ misrepresentations and omissions alleged herein caused Plaintiffs and the

   other Subclass members to make their purchases or leases of their Polluting Vehicles. Absent those

   misrepresentations and omissions, Plaintiffs and the other Subclass members would not have

   purchased or leased these vehicles, would not have purchased or leased these Polluting Vehicles at

   the prices they paid, and/or would have purchased or leased less expensive alternative vehicles that

   did not contain defective BlueTEC Clean Diesel engine systems.

            498.     Accordingly, Plaintiffs and the other Subclass members have suffered injury in fact,

   including lost money or property, as a result of Mercedes’ misrepresentations and omissions.

            499.     Plaintiffs request that this Court enter such orders or judgments as may be necessary

   to restore to Plaintiffs and members of the Subclass any money it acquired by unfair competition,

   including restitution and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code §

   17203 and Cal. Civ. Code § 3345; and for such other as may be appropriate.

                                                  COUNT II

     VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT (CAL.
                         CIV. CODE §§ 1750, ET SEQ.)

            500.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

            501.     This claim is brought on behalf of the California Subclass.

            502.     California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et

   seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices undertaken




                                                    - 218 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 229 of 441 PageID: 4224



   by any person in a transaction intended to result or which results in the sale or lease of goods or

   services to any consumer.”

            503.     The Polluting Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).

            504.     Plaintiffs and the other Subclass members are “consumers” as defined in Cal. Civ.

   Code § 1761(d), and Plaintiffs, the other Subclass members, and Mercedes are “persons” as defined

   in Cal. Civ. Code § 1761(c).

            505.     As alleged above, Mercedes made representations concerning the            benefits,

   efficiency, performance, and safety features of the BlueTEC Clean Diesel engine systems that were

   misleading.

            506.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions and that the Polluting

   Vehicles were equipped with defective BlueTEC Clean Diesel engine systems.

            507.     Mercedes’ conduct, as described hereinabove, was and is in violation of the CLRA.

   Mercedes’ conduct violates at least the following enumerated CLRA provisions:

                     i.     Cal. Civ. Code § 1770(a)(2): Misrepresenting the approval or certification
                            of goods;

                     ii.    Cal. Civ. Code § 1770(a)(3): Misrepresenting the certification by another;

                     iii.   Cal. Civ. Code § 1770(a)(5): Representing that goods have sponsorship,
                            approval, characteristics, uses, benefits, or quantities which they do not
                            have;

                     iv.    Cal. Civ. Code § 1770(a)(7): Representing that goods are of a particular
                            standard, quality, or grade, if they are of another;

                     v.     Cal. Civ. Code § 1770(a)(9): Advertising goods with intent not to sell them
                            as advertised; and

                     vi.    Cal. Civ. Code § 1770(a)(16): Representing that goods have been supplied


                                                  - 219 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 230 of 441 PageID: 4225



                            in accordance with a previous representation when they have not.

            508.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            509.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the emissions controls were

   defective, and that the Polluting Vehicles emitted far more pollution than a reasonable consumer

   would expect form a clean diesel, as described above.

            510.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            511.     Mercedes knew or should have known that its conduct violated the CLRA.

            512.     Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            513.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

                                                   - 220 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 231 of 441 PageID: 4226



   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles, that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            514.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            515.     Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            516.     Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            517.     Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.



                                                    - 221 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 232 of 441 PageID: 4227



            518.     Mercedes knew, should have known, or was reckless in not knowing of the defective

   design and/or manufacture of the BlueTEC Clean Diesel engine systems, and that the Polluting

   Vehicles were not suitable for their intended use.

            519.     The facts concealed and omitted by Mercedes from Plaintiffs and the other Subclass

   members are material in that a reasonable consumer would have considered them to be important

   in deciding whether to purchase or lease the Polluting Vehicles or pay a lower price. Had Plaintiffs

   and the other Subclass members known about the defective nature of the Polluting Vehicles, they

   would not have purchased or leased the Polluting Vehicles or would not have paid the prices they

   paid.

            520.     Plaintiffs and the Subclass have provided Mercedes with notice of its violations of

   the CLRA pursuant to Cal. Civ. Code § 1782(a).

            521.     Plaintiff’s and the other Subclass members’ injuries were proximately caused by

   Mercedes’ unlawful and deceptive business practices.

            522.     Plaintiffs and the Subclass are entitled to recover actual and punitive damages under

   the CLRA pursuant to Civil Code § 1780(a), and an additional award of up to $5,000 to each

   Plaintiff and Subclass member who is a “senior citizen.”

                                                  COUNT III

                VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
                       (CAL. BUS. & PROF. CODE §§ 17500, ET SEQ.)

            523.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

            524.     This claim is brought on behalf of the California Subclass.

            525.     California Bus. & Prof. Code § 17500 states: “It is unlawful for any … corporation

   … with intent directly or indirectly to dispose of real or personal property … to induce the public

   to enter into any obligation relating thereto, to make or disseminate or cause to be made or


                                                    - 222 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 233 of 441 PageID: 4228



   disseminated … from this state before the public in any state, in any newspaper or other publication,

   or any advertising device, … or in any other manner or means whatever, including over the Internet,

   any statement … which is untrue or misleading, and which is known, or which by the exercise of

   reasonable care should be known, to be untrue or misleading.”

            526.     Mercedes caused to be made or disseminated through California and the United

   States, through advertising, marketing and other publications, statements that were untrue or

   misleading, and which were known, or which by the exercise of reasonable care should have been

   known to Mercedes, to be untrue and misleading to consumers, including Plaintiffs and the other

   Subclass members.

            527.     Mercedes has violated § 17500 because the misrepresentations and omissions

   regarding the functionality, reliability, and environmental-friendliness of the Polluting Vehicles as

   set forth in this Complaint were material and likely to deceive a reasonable consumer.

            528.     Plaintiffs and the other Subclass members have suffered an injury in fact, including

   the loss of money or property, as a result of Mercedes’ unfair, unlawful, and/or deceptive practices.

   In purchasing or leasing their Polluting Vehicles, Plaintiffs and the other Subclass members relied

   on the misrepresentations and/or omissions of Mercedes with respect to the functionality, reliability,

   and environmental-friendliness of the Polluting Vehicles. Mercedes’ representations turned out not

   to be true because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions and the Polluting Vehicles are distributed with BlueTEC Clean Diesel

   engine systems that include defective emissions controls. Had Plaintiffs and the other Subclass

   members known this, they would not have purchased or leased their Polluting Vehicles and/or paid

   as much for them. Accordingly, Plaintiffs and the other Subclass members overpaid for their

   Polluting Vehicles and did not receive the benefit of their bargain.



                                                   - 223 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 234 of 441 PageID: 4229



            529.     All of the wrongful conduct alleged herein occurred, and continues to occur, in the

   conduct of Mercedes’ business. Mercedes’ wrongful conduct is part of a pattern or generalized

   course of conduct that is still perpetuated and repeated, both in the State of California and

   nationwide.

            530.     Plaintiffs, individually and on behalf of the other Subclass members, request that

   this Court enter such orders or judgments as may be necessary to restore to Plaintiffs and the other

   Subclass members any money Mercedes acquired by unfair competition, including restitution

   and/or restitutionary disgorgement and for such other relief as may be appropriate.

                                                  COUNT IV

                                    FRAUDULENT CONCEALMENT
                                    (BASED ON CALIFORNIA LAW)

            531.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

            532.     This claim is brought on behalf of the California Subclass, against Mercedes and

   Bosch.

            533.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered

   vehicles, and higher than a reasonable consumer would expect from a clean diesel, or Mercedes

   acted with reckless disregard for the truth, and denied Plaintiffs and the other Subclass members

   information that is highly relevant to their purchasing decision.

            534.     Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.


                                                    - 224 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 235 of 441 PageID: 4230



            535.     Mercedes knew these representations were false when made, as did Bosch.

            536.     The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            537.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel and, were

   unreliable, because Plaintiffs and the other Subclass members relied on Mercedes’ material

   omissions and representations that the Polluting Vehicles they were purchasing were reduced

   emission vehicles, efficient, and free from defects.

            538.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions, vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            539.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls, was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.



                                                  - 225 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 236 of 441 PageID: 4231



            540.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                  As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            541.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            542.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiffs and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            543.     Mercedes had a duty to disclose the emissions defect and, defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without



                                                  - 226 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 237 of 441 PageID: 4232



   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            544.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            545.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            546.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.



                                                   - 227 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 238 of 441 PageID: 4233



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            547.     Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities

   of Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            548.     The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            549.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.



                                                   - 228 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 239 of 441 PageID: 4234



            550.     Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            551.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   E.       Claims brought on behalf of the Colorado Subclass.

                                                  COUNT I

              VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT
                         (COLO. REV. STAT. §§ 6-1-101, ET SEQ.)

            552.     Plaintiffs Keith Hall and Susan Albers (Plaintiffs, for purposes of all Colorado

   Subclass Counts) incorporate by reference all paragraphs as though fully set forth herein.

            553.     Plaintiffs bring this Count on behalf of the Colorado Subclass.

            554.     Colorado’s Consumer Protection Act (the “Colorado CPA”) prohibits a person from

   engaging in a “deceptive trade practice,” which includes knowingly making “a false representation

   as to the source, sponsorship, approval, or certification of goods,” or “a false representation as to

   the characteristics, ingredients, uses, benefits, alterations, or quantities of goods.” COLO. REV.

   STAT. § 6-1-105(1)(b), (e). The Colorado CPA further prohibits “represent[ing] that goods … are

   of a particular standard, quality, or grade … if he knows or should know that they are of another,”

   and “advertis[ing] goods … with intent not to sell them as advertised.” COLO. REV. STAT. § 6-

   1-105(1)(g), (i).

            555.     Mercedes is a “person” under § 6-1-102(6) of the Colorado CPA, COL. REV. STAT.

   § 6-1-101, et seq.


                                                   - 229 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 240 of 441 PageID: 4235



            556.     Plaintiffs and Colorado Subclass members are “consumers” for the purpose of COL.

   REV. STAT. § 6-1-113(1)(a) who purchased or leased one or more Polluting Vehicles.

            557.     In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the emissions controls were defective, that the Polluting Vehicles

   emitted far more pollution than gasoline powered vehicles, and that the Polluting Vehicles emit far

   more pollution than a reasonable consumer would expect from a clean diesel, as described above.

   Accordingly, Mercedes engaged in unfair and deceptive trade practices, including representing that

   the Polluting Vehicles have characteristics, uses, benefits, and qualities which they do not have;

   representing that the Polluting Vehicles are of a particular standard and quality when they are not;

   advertising the Polluting Vehicles with the intent not to sell them as advertised; and otherwise

   engaging in conduct likely to deceive. Further, Mercedes’ acts and practices described herein

   offend established public policy because the harm they cause to consumers, motorists, and

   pedestrians outweighs any benefit associated with such practices, and because Mercedes

   fraudulently concealed the defective nature of the Polluting Vehicles from consumers.

            558.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, that the Polluting Vehicles emitted far more pollution than gasoline

   powered vehicles, and that the Polluting Vehicles emit far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above.

            559.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.        They had no way of knowing           that Mercedes’



                                                  - 230 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 241 of 441 PageID: 4236



   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            560.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            561.     Mercedes knew or should have known that its conduct violated the Colorado CPA.

            562.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            563.     Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            564.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.



                                                   - 231 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 242 of 441 PageID: 4237



            565.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            566.     Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            567.     Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            568.     Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            569.     Pursuant to COL. REV. STAT. § 6-1-113, Plaintiffs and the Subclass seek monetary

   relief against Mercedes measured as the greater of (a) actual damages in an amount to be determined

   at trial and the discretionary trebling of such damages, or (b) statutory damages in the amount of

   $500 for each Plaintiff and each Subclass member.

            570.     Plaintiffs and the Subclass also seek declaratory relief, attorneys’ fees, and any other

   just and proper relief available under the Colorado CPA.



                                                     - 232 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 243 of 441 PageID: 4238



                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                     (BASED ON COLORADO LAW)

            571.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

            572.     This claim is brought on behalf of the Colorado Subclass, against Mercedes and

   Bosch.

            573.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the Polluting Vehicles had

   defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Class members information that

   is highly relevant to their purchasing decision.

            574.     Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low emission

   vehicles, and would perform and operate properly when driven in normal usage.

            575.     Mercedes knew these representations were false when made.

            576.     The Polluting Vehicles purchased or leased by Plaintiffs and the other Class

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            577.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles


                                                    - 233 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 244 of 441 PageID: 4239



   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles, that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            578.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            579.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            580.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            581.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe



                                                  - 234 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 245 of 441 PageID: 4240



   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            582.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiffs and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            583.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass



                                                  - 235 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 246 of 441 PageID: 4241



   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            584.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            585.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            586.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            587.     Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.



                                                   - 236 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 247 of 441 PageID: 4242



   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            588.     The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            589.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            590.     Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            591.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.




                                                  - 237 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 248 of 441 PageID: 4243



   F.       Claims brought on behalf of the Connecticut Subclass.

                                                  COUNT I

          VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT
                    (CONN. GEN. STAT. ANN. §§ 42-110A, ET SEQ.)

            592.     Plaintiff John Lingua (Plaintiff for purposes of all Connecticut Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            593.     Plaintiff brings this Count on behalf of the Connecticut Subclass.

            594.     Plaintiff and Mercedes are each “persons” as defined by CONN. GEN. STAT. ANN.

   § 42-110a(3).

            595.     The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”) provides that

   “[n]o person shall engage in unfair methods of competition and unfair or deceptive acts or practices

   in the conduct of any trade or commerce.” CONN. GEN. STAT. ANN. § 42-110b(a). The

   Connecticut UTPA further provides a private right of action under CONN. GEN. STAT. ANN. §

   42- 110g(a). In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the Polluting Vehicles emitted far more pollutants than gasoline

   powered vehicles, that the Polluting Vehicles emit far more pollution than a reasonable consumer

   would expect from a clean diesel, as described above. Accordingly, Mercedes engaged in unfair

   and deceptive trade practices because its conduct (1) offends public policy as it has been established

   by statutes, the common law or other established concept of unfairness, (2) is immoral, unethical,

   oppressive or unscrupulous; or (3) causes substantial injury to consumers, competitors or other

   business persons. The harm caused to consumers, motorists, and pedestrians outweighs any benefit

   associated with such practices, and Mercedes fraudulently concealed the defective nature of the

   Polluting Vehicles from consumers.


                                                   - 238 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 249 of 441 PageID: 4244



            596.     Mercedes has also engaged in deceptive conduct because (1) it made representations,

   omissions, or engaged in other conduct likely to mislead consumers; (2) consumers interpret the

   message reasonably under the circumstances; and (3) the misleading representation, omission, or

   practice is material—that is, likely to affect consumer decisions or conduct.

            597.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions and that the emissions

   controls were defective, as described above.

            598.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            599.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            600.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            601.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            602.     Mercedes knew or should have known that its conduct violated the Connecticut

   UTPA.

            603.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:




                                                    - 239 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 250 of 441 PageID: 4245



                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            604.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            605.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            606.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.


                                                    - 240 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 251 of 441 PageID: 4246



             607.    Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             608.    Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             609.    Plaintiff and the other Class members sustained damages as a result of Mercedes’

   unlawful acts, and are therefore entitled to damages and other relief as provided under the

   Connecticut UTPA.

             610.    Plaintiff also seeks court costs and attorneys’ fees as a result of Mercedes’ violation

   of the Connecticut UTPA as provided in CONN. GEN. STAT. ANN. § 42-110g(d). A copy of this

   Complaint has been mailed to the Attorney General and the Commissioner of Consumer Protection

   of the State of Connecticut in accordance with CONN. GEN. STAT. ANN. § 42-110g(c).

                                                  COUNT II

                                   FRAUDULENT NON-DISCLOSURE
                                   (BASED ON CONNECTICUT LAW)

             611.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             612.    Plaintiff brings this Count on behalf of the Connecticut Subclass, against Mercedes

   and Bosch.

             613.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles


                                                    - 241 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 252 of 441 PageID: 4247



   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            614.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            615.     Mercedes knew these representations were false when made.

            616.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitting pollutants at a much higher rate than gasoline powered vehicles

   and at a much higher rate than a reasonable consumer would expect from a clean diesel and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            617.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            618.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the



                                                   - 242 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 253 of 441 PageID: 4248



   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            619.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            620.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            621.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            622.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.



                                                  - 243 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 254 of 441 PageID: 4249



            623.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            624.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.




                                                  - 244 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 255 of 441 PageID: 4250



            625.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            626.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them.         Plaintiff’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            627.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            628.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,



                                                    - 245 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 256 of 441 PageID: 4251



   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            629.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            630.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            631.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   G.       Claims brought on behalf of the Georgia Subclass.

                                                 COUNT I

                   VIOLATION OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
                             (GA. CODE ANN. § 10-1-390, ET SEQ.)

            632.     Plaintiff Bobby Hamilton (Plaintiff for purposes of all Georgia Subclass Counts)

   incorporates by reference all preceding allegations as though fully set forth herein.

            633.     The Georgia Fair Business Practices Act (“Georgia FBPA”) declares “[u]nfair or

   deceptive acts or practices in the conduct of consumer transactions and consumer acts or practices


                                                  - 246 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 257 of 441 PageID: 4252



   in trade or commerce” to be unlawful, GA. CODE. ANN. § 10-1-393(a), including, but not limited

   to, “representing that goods or services have sponsorship, approval, characteristics, ingredients,

   uses, benefits, or quantities that they do not have,” “[r]epresenting that goods or services are of a

   particular standard, quality, or grade … if they are of another,” and “[a]dvertising goods or services

   with intent not to sell them as advertised.” GA. CODE. ANN. § 10-1-393(b). Mercedes

   participated in unfair and deceptive trade practices that violated the Georgia FBPA as described

   herein. In the course of Mercedes’ business, it willfully failed to disclose and actively concealed

   that the NOx reduction system in the Polluting Vehicles turns off or is limited during normal driving

   conditions, that the Polluting Vehicles emitted far more pollutants than gasoline powered vehicles

   and that the Polluting Vehicles emit far more pollution than a reasonable consumer would expect

   from a clean diesel, as described above. Accordingly, Mercedes engaged in unfair or deceptive acts

   or practices by representing that the Polluting Vehicles have, characteristics, ingredients, uses, and

   benefits that they do not have, representing that the Polluting Vehicles are of a particular standard,

   quality, or grade when they are of another, and “advertising the Polluting Vehicles with intent not

   to sell them as advertised.

            634.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the emissions controls were

   defective, and that the Polluting Vehicles emitted far more pollution than a reasonable consumer

   would expect from a clean diesel, as described above.

            635.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations. They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in



                                                  - 247 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 258 of 441 PageID: 4253



   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            636.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            637.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            638.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            639.     Mercedes knew or should have known that its conduct violated the Georgia FBPA.

            640.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the
                            emissions system in the Polluting Vehicles to turn off or limit
                            effectiveness in normal driving conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the
                            Subclass; and/or

                     c.     Made incomplete representations that it manipulated the
                            emissions system in the Polluting Vehicles to turn off or limit
                            effectiveness in normal driving conditions, while
                            purposefully withholding material facts from Plaintiff and the
                            Subclass that contradicted these representations.

            641.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other




                                                    - 248 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 259 of 441 PageID: 4254



   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            642.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them.             Plaintiff’s and Subclass members’ actions were

   justified. Mercedes was in exclusive control of the material facts, and such facts were not generally

   known to the public, Plaintiff, or Subclass members.

            643.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            644.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            645.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            646.     Accordingly, Mercedes is liable to Plaintiff and Subclass members for damages in

   an amount to be proven at trial.

            647.     Plaintiff and the Georgia Class are entitled to recover damages and exemplary

   damages (for intentional violations) pursuant to GA. CODE. ANN § 10-1-399(a).



                                                   - 249 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 260 of 441 PageID: 4255



             648.    Plaintiff also seeks attorneys’ fees and any other just and proper relief available

   under the Georgia FBPA pursuant to GA. CODE. ANN § 10-1-399.

                                                  COUNT II

    VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                      (GA. CODE ANN § 10-1-370 ET SEQ.)

             649.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

   paragraphs of this complaint.

             650.    This claim is brought by Plaintiff on behalf of Georgia purchasers who are members

   of the Class.

             651.    Georgia’s Uniform Deceptive Trade Practices Act (Georgia UDTPA) prohibits

   “deceptive trade practices,” which include “representing that goods or services have sponsorship,

   approval, characteristics, ingredients, uses, benefits, or quantities that they do not have”;

   “[r]epresenting that goods or services are of a particular standard, quality, or grade . . . if they are

   of another”; and “[a]dvertising goods or services with intent not to sell them as advertised.” GA.

   CODE ANN. § 10-1-393(b).

             652.    Mercedes, Bosch, Plaintiff, and Georgia Class members are “persons” within the

   meaning of GA. CODE ANN. §10-1-371(5).

             653.    The Plaintiffs seek an order enjoining Defendants’ unfair, unlawful, and/or

   deceptive practices, attorneys’ fees, and any other just and proper relief available under GA. CODE

   ANN. § 10-1-373.

                                                  COUNT III

                    FRAUDULENT CONCEALMENT (BASED ON GEORGIA LAW)

             654.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.


                                                    - 250 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 261 of 441 PageID: 4256



            655.     This claim is brought on behalf of the Georgia Subclass, against Mercedes and

   Bosch.

            656.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            657.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            658.     Mercedes knew these representations were false when made, as did Bosch.

            659.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitting pollutants at a much higher rate than gasoline powered vehicles

   and at a much higher rate than a reasonable consumer would expect from a clean diesel are and

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            660.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations



                                                   - 251 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 262 of 441 PageID: 4257



   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            661.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            662.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            663.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception.

            664.     They had no way of knowing that Mercedes’ representations were false and/or

   misleading. As consumers, Plaintiff and Subclass members did not, and could not, unravel

   Mercedes’ deception on their own. Rather, Mercedes intended to deceive Plaintiff and Subclass

   members by concealing the true facts about the Polluting Vehicle emissions.

            665.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment. And

   yet, that is precisely what the Polluting Vehicles are doing.




                                                  - 252 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 263 of 441 PageID: 4258



            666.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            667.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.



                                                  - 253 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 264 of 441 PageID: 4259



            668.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            669.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its Polluting Vehicles.

            670.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them.             Plaintiff’s and Subclass members’ actions were

   justified. Mercedes was in exclusive control of the material facts, and such facts were not generally

   known to the public, Plaintiff, or Subclass members.

            671.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate

   policies. Had Plaintiff and Subclass members been aware of the true emissions facts with regard to

   the Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members



                                                   - 254 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 265 of 441 PageID: 4260



   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            672.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            673.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            674.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            675.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.




                                                  - 255 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 266 of 441 PageID: 4261



   H.       Claims brought on behalf of the Idaho Subclass.

                                                  COUNT I

                   VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
                            (IDAHO CIV. CODE §§ 48-601, ET SEQ.)

            676.     Plaintiff Scott Morgan (Plaintiff for purposes of all Idaho Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            677.     Plaintiff brings this Count on behalf of the Idaho Subclass.

            678.     Mercedes is a “person” under the Idaho Consumer Protection Act (“Idaho CPA”),

   IDAHO CIV. CODE § 48-602(1).

            679.     Mercedes’ acts or practices as set forth above occurred in the conduct of “trade” or

   “commerce” under IDAHO CIV. CODE § 48-602(2).

            680.     IDAHO CODE § 48-603 prohibits the following conduct in trade or commerce:

   engaging in any act or practice which is otherwise misleading, false, or deceptive to the consumer;

   and engaging in any unconscionable method, act or practice in the conduct of trade or commerce,

   as provided in section 48-603C. Mercedes participated in misleading, false, or deceptive and

   unconscionable acts that violated the Idaho CPA. In the course of Mercedes’ business, it willfully

   failed to disclose and actively concealed that the NOx reduction system in the Polluting Vehicles

   turns off or is limited during normal driving conditions, that the Polluting Vehicles emitted far more

   pollutants than gasoline powered vehicles, and that the Polluting Vehicles emit far more pollution

   than a reasonable consumer would expect from a clean diesel, as described above.

            681.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions




                                                    - 256 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 267 of 441 PageID: 4262



   controls were defective, and that the Polluting Vehicles emitted higher levels of pollution than

   expected by a reasonable consumer from a clean diesel, as described above.

            682.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            683.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            684.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            685.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            686.     Mercedes knew or should have known that its conduct violated the Idaho CPA.

            687.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            688.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the


                                                    - 257 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 268 of 441 PageID: 4263



   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            689.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            690.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            691.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            692.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.




                                                    - 258 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 269 of 441 PageID: 4264



            693.     Plaintiff also seeks attorneys’ fees and any other just and proper relief available

   under the Idaho CPA.

            694.     Plaintiff also seeks punitive damages against Mercedes because Mercedes’ conduct

   evidences an extreme deviation from reasonable standards. Mercedes’ unlawful conduct constitutes

   malice, oppression, and fraud warranting punitive damages.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                      (BASED ON IDAHO LAW)

            695.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            696.     This claim is brought on behalf of the Idaho Subclass, against Mercedes and Bosch.

            697.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            698.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            699.     Mercedes knew these representations were false when made.

            700.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel and are


                                                    - 259 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 270 of 441 PageID: 4265



   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            701.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            702.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            703.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            704.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on




                                                  - 260 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 271 of 441 PageID: 4266



   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            705.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            706.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            707.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial



                                                  - 261 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 272 of 441 PageID: 4267



   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            708.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            709.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            710.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.




                                                    - 262 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 273 of 441 PageID: 4268



            711.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            712.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            713.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            714.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.



                                                  - 263 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 274 of 441 PageID: 4269



            715.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   I.       Claims brought on behalf of the Illinois Subclass.

                                                  COUNT I

                      VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND
                             DECEPTIVE BUSINESS PRACTICES ACT
                          (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)

            716.     Plaintiff Maryana Melnyk (Plaintiff for purposes of all Illinois Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            717.     This claim is brought on behalf of the Illinois Subclass.

            718.     Defendant is a “person” as that term is defined in 815 ILCS 505/1(c).

            719.     Plaintiff and the Subclass members are “consumers” as that term is defined in 815

   ILCS 505/1(e).

            720.     The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois CFA”)

   prohibits “unfair or deceptive acts or practices, including but not limited to the use or employment

   of any deception, fraud, false pretense, false promise, misrepresentation or the concealment,

   suppression or omission of any material fact, with intent that others rely upon the concealment,

   suppression or omission of such material fact … in the conduct of trade or commerce … whether

   any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

            721.     In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the Polluting Vehicles emitted far more pollutants than gasoline

                                                    - 264 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 275 of 441 PageID: 4270



   powered vehicles and that the Polluting Vehicles emit far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above. Accordingly, Mercedes engaged

   in unfair or deceptive acts or practices, including but not limited to the use or employment of any

   deception, fraud, false pretense, false promise, misrepresentation or the concealment, suppression

   or omission of any material fact, with intent that others rely upon the concealment, suppression or

   omission of such material fact in the conduct of trade or commerce as prohibited by the Illinois

   CFA.

            722.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollution than

   expected by a reasonable consumer, as described above.

            723.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            724.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            725.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            726.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            727.     Mercedes knew or should have known that its conduct violated the Illinois CFA.



                                                    - 265 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 276 of 441 PageID: 4271



            728.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            729.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            730.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.


                                                    - 266 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 277 of 441 PageID: 4272



             731.    Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

             732.    Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             733.    Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             734.    Pursuant to 815 ILCS 505/10a(a), Plaintiff and the Subclass members seek monetary

   relief against Mercedes in the amount of actual damages, as well as punitive damages because

   Mercedes acted with fraud and/or malice and/or was grossly negligent.

             735.    Plaintiff also seeks punitive damages, attorneys’ fees, and any other just and proper

   relief available under 815 ILCS § 505/1, et seq.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                      (BASED ON ILLINOIS LAW)

             736.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             737.    This claim is brought on behalf of the Illinois Subclass, against Mercedes and Bosch.

             738.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with


                                                    - 267 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 278 of 441 PageID: 4273



   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            739.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            740.     Mercedes knew these representations were false when made, as did Bosch.

            741.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            742.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            743.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during



                                                   - 268 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 279 of 441 PageID: 4274



   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            744.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            745.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            746.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            747.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.




                                                  - 269 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 280 of 441 PageID: 4275



            748.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            749.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.




                                                  - 270 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 281 of 441 PageID: 4276



            750.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            751.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            752.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            753.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,



                                                    - 271 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 282 of 441 PageID: 4277



   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            754.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            755.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            756.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   J.       Claims brought on behalf of the Indiana Subclass.

                                                  COUNT I

             VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                                (IND. CODE § 24-5-0.5-3)

            757.     Plaintiff Jeff Findlay (Plaintiff for purposes of all Indiana Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            758.     Plaintiff brings this Count on behalf of the Indiana Subclass.




                                                    - 272 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 283 of 441 PageID: 4278



            759.     Mercedes and Bosch are “persons within the meaning of IND. CODE § 25-5-0.5-

   2(a)(2) and “suppliers” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

            760.     Plaintiff’s and the Subclass’ vehicle purchases were “consumer transactions” within

   the meaning of IND. CODE § 24-5-0.5-2(a)(3).

            761.     Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a person from

   engaging in a “deceptive business practice[s]” or acts, including but not limited to “(1) That such

   subject of a consumer transaction has sponsorship, approval, performance, characteristics,

   accessories, uses, or benefits that they do not have, or that a person has a sponsorship, approval,

   status, affiliation, or connection it does not have; (2) That such subject of a consumer transaction is

   of a particular standard, quality, grade, style or model, if it is not and if the supplier knows or should

   reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval or affiliation in

   such consumer transaction that the supplier does not have, and which the supplier knows or should

   reasonably know that the supplier does not have; . . . (b) Any representations on or within a product

   or its packaging or in advertising or promotional materials which would constitute a deceptive act

   shall be the deceptive act both of the supplier who places such a representation thereon or therein,

   or who authored such materials, and such suppliers who shall state orally or in writing that such

   representation is true if such other supplier shall know or have reason to know that such

   representation was false.” In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other

   Subclass members were deceived by Mercedes’ failure to disclose that the NOx reduction system

   in the Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.




                                                   - 273 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 284 of 441 PageID: 4279



            762.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            763.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            764.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            765.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            766.     Mercedes knew or should have known that its conduct violated the Indiana DCSA.

            767.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            768.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the



                                                    - 274 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 285 of 441 PageID: 4280



   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            769.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            770.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            771.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            772.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            773.     Pursuant to IND. CODE ANN. § 24-5-0.5-4, Plaintiff and the Subclass seek

   monetary relief against Mercedes measured as the greater of (a) actual damages in an amount to be

   determined at trial and (b) statutory damages in the amount of $500 for each plaintiff, including



                                                    - 275 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 286 of 441 PageID: 4281



   treble damages up to $1,000 for Defendants’ willfully deceptive acts, and any other just and proper

   relief available under the Indiana DSCA.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                      (BASED ON INDIANA LAW)

             774.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             775.    This claim is brought on behalf of the Indiana Subclass, against Mercedes and

   Bosch.

             776.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

             777.    Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             778.    Mercedes knew these representations were false when made, as did Bosch.

             779.    The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel




                                                    - 276 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 287 of 441 PageID: 4282



   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            780.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            781.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            782.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            783.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on




                                                  - 277 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 288 of 441 PageID: 4283



   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            784.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            785.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            786.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial



                                                  - 278 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 289 of 441 PageID: 4284



   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            787.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            788.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            789.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.




                                                    - 279 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 290 of 441 PageID: 4285



            790.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            791.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            792.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            793.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.



                                                  - 280 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 291 of 441 PageID: 4286



            794.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   K.       Claims brought on behalf of the Maryland Subclass.

                                                 COUNT I

              VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
                       (MD. CODE COM. LAW §§ 13-101, ET SEQ.)

            795.     Plaintiffs Gustavo Fraga-Errecart, Hassan Zavareei, and Janice Sheehy (Plaintiffs

   for purposes of all Maryland Subclass Counts) incorporate by reference all preceding allegations as

   though fully set forth herein.

            796.     This claim is brought only on behalf of members of the Maryland Subclass.

            797.     Mercedes, Plaintiffs, and the Maryland Subclass are “persons” within the meaning

   of MD. CODE COM. LAW § 13-101(h).

            798.     The Maryland Consumer Protection Act (“Maryland CPA”) provides that a person

   may not engage in any unfair or deceptive trade practice in the sale of any consumer good. MD.

   CODE COM. LAW § 13-303. In the course of Mercedes’ business, it willfully failed to disclose

   and actively concealed that the NOx reduction system in the Polluting Vehicles turns off or is

   limited during normal driving conditions, that the emissions controls were defective and that the

   Polluting Vehicles emitted higher levels of pollution than expected by a reasonable consumer from

   a clean diesel, as described above. Accordingly, Mercedes engaged in unfair and deceptive trade

   practices. Mercedes’ acts and practices offend public policy; were immoral, unethical, oppressive,

   or unscrupulous; caused substantial injury to consumers; had the capacity, tendency, or effect of


                                                  - 281 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 292 of 441 PageID: 4287



   deceiving or misleading consumers; failed to state a material fact that deceives or tends to deceive;

   and constitute deception, fraud, false pretense, false premise, misrepresentation, or knowing

   concealment, suppression, or omission of any material fact with the intent that a consumer rely on

   the same in connection therewith.

            799.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollution than

   expected by a reasonable consumer from a clean diesel, as described above.

            800.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            801.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            802.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            803.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            804.     Mercedes knew or should have known that its conduct violated the Maryland CPA.

            805.     Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving


                                                    - 282 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 293 of 441 PageID: 4288



                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            806.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            807.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            808.     Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.



                                                   - 283 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 294 of 441 PageID: 4289



             809.    Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             810.    Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             811.    Pursuant to MD. CODE COM. LAW § 13-408, Plaintiffs and the Maryland Subclass

   seek actual damages, attorneys’ fees, and any other just and proper relief available under the

   Maryland CPA.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                    (BASED ON MARYLAND LAW)

             812.    Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             813.    This claim is brought on behalf of the Maryland Subclass, against Mercedes and

   Bosch.

             814.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Class members information that

   is highly relevant to their purchasing decision.




                                                    - 284 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 295 of 441 PageID: 4290



            815.     Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            816.     Mercedes knew these representations were false when made, as did Bosch.

            817.     The Polluting Vehicles purchased or leased by Plaintiffs and the other Class

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel,

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            818.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            819.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and




                                                   - 285 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 296 of 441 PageID: 4291



   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            820.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            821.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception.

            822.     They had no way of knowing that Mercedes’ representations were false and/or

   misleading. As consumers, Plaintiff and Subclass members did not, and could not, unravel

   Mercedes’ deception on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass

   members by concealing the true facts about the Polluting Vehicle emissions.

            823.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            824.     Mercedes’ omissions and false representations were material to consumers because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiffs and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            825.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or



                                                  - 286 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 297 of 441 PageID: 4292



   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            826.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            827.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.




                                                   - 287 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 298 of 441 PageID: 4293



            828.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            829.     Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            830.     The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.



                                                   - 288 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 299 of 441 PageID: 4294



            831.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            832.     Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            833.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   L.       Claims brought on behalf of the Massachusetts Subclass.

                                                  COUNT I

                     VIOLATIONS OF THE MASSACHUSETTS CONSUMER ACT
                                 (MASS. GEN. LAWS CH. 93A)

            834.     Plaintiff Terrence Garmey (Plaintiff for purposes of all Massachusetts Subclass

   Counts) incorporate by reference all preceding allegations as though fully set forth herein.

            835.     Plaintiff bring this Count on behalf of the Massachusetts Subclass.

            836.     Mercedes, Plaintiff, and the Massachusetts Subclass are each a “person” within the

   meaning of Mass. Gen. Laws ch. 93A, § 1(a).

            837.     Mercedes engaged in “trade” or “commerce” within the meaning of Mass. Gen.

   Laws ch. 93A, § 1(b).


                                                   - 289 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 300 of 441 PageID: 4295



            838.     The Massachusetts Consumer Protection Act (“Massachusetts Act”) broadly

   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce” within the

   meaning of Mass. Gen. Laws ch. 93A, § 2. In the course of Mercedes’ business, it willfully failed

   to disclose and actively concealed that the NOx reduction system in the Polluting Vehicles turns off

   or is limited during normal driving conditions, that the Polluting Vehicles emitted far more

   pollutants than gasoline powered vehicles, and that the Polluting Vehicles emit far more pollution

   than a reasonable consumer would expect from a clean diesel, as described above. Accordingly,

   Mercedes engaged in unfair and deceptive business practices prohibited by the Massachusetts Act.

   Mercedes’ conduct was unfair because it (1) offends public policy as it has been established by

   statutes, the common law, or otherwise; (2) is immoral, unethical, oppressive, or unscrupulous; or

   (3) causes substantial injury to consumers. Mercedes’ conduct is deceptive because it has the

   capacity or tendency to deceive.

            839.     In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            840.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            841.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.



                                                  - 290 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 301 of 441 PageID: 4296



            842.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            843.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            844.     Mercedes knew or should have known that its conduct violated the Massachusetts

   Act.

            845.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                            and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiffs and
                            the Subclass that contradicted these representations.

            846.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.




                                                    - 291 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 302 of 441 PageID: 4297



            847.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            848.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            849.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            850.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            851.     Pursuant to Mass. Gen. Laws ch. 93A, § 9, Plaintiff and the Massachusetts Subclass

   seek monetary relief against Mercedes measured as the greater of (a) actual damages in an amount

   to be determined at trial and (b) statutory damages in the amount of $25 for each Plaintiff and

   Subclass member. Because Mercedes’ conduct was committed willfully and knowingly, Plaintiff

   are entitled to recover, for each Plaintiff and each Massachusetts Subclass member, up to three

   times actual damages, but no less than two times actual damages.



                                                    - 292 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 303 of 441 PageID: 4298



             852.    Plaintiff also seek punitive damages, attorneys’ fees and costs, and any other just

   and proper relief available under the Massachusetts Act.

             853.    Plaintiff has made a demand in satisfaction of MASS. GEN. LAWS CH. 93A, § 9(3).

                                                  COUNT II

                                   FRAUDULENT CONCEALMENT
                                 (BASED ON MASSACHUSETTS LAW)

             854.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             855.    This claim is brought on behalf of the Massachusetts Subclass, against Mercedes

   and Bosch.

             856.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered

   vehicles, emitted pollutants higher than a reasonable consumer would expect from a clean diesel,

   and were non-compliant with EPA emission requirements, or Mercedes acted with reckless

   disregard for the truth, and denied Plaintiff and the other Subclass members information that is

   highly relevant to their purchasing decision.

             857.    Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             858.    Mercedes knew these representations were false when made, as did Bosch.

             859.    The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, and emitted pollutants at a much higher rate than gasoline


                                                    - 293 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 304 of 441 PageID: 4299



   powered vehicles and at a much higher rate than a reasonable consumer would expect from a clean

   diesel, because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            860.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            861.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            862.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls, was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            863.     Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception.

            864.     They had no way of knowing that Mercedes’ representations were false and/or

   misleading. As consumers, Plaintiffs and Subclass members did not, and could not, unravel



                                                  - 294 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 305 of 441 PageID: 4300



   Mercedes’ deception on their own. Rather, Mercedes intended to deceive Plaintiff and Subclass

   members by concealing the true facts about the Polluting Vehicle emissions.

            865.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel. Consumers buy diesel cars from Mercedes because they believe they are

   clean diesel cars. They do not want to be spewing noxious gases into the environment. And yet,

   that is precisely what the Polluting Vehicles are doing.

            866.     Mercedes’ omissions and false representations were material to consumers because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            867.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial



                                                  - 295 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 306 of 441 PageID: 4301



   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiffs and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            868.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            869.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            870.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.




                                                    - 296 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 307 of 441 PageID: 4302



            871.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            872.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            873.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            874.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.



                                                  - 297 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 308 of 441 PageID: 4303



            875.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   M.       Claims brought on behalf of the Minnesota Subclass.

                                                 COUNT I

        VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                          (MINN. STAT. § 325F.68, ET SEQ.)

            876.     Plaintiff Charles Wolford (Plaintiff for purposes of all Minnesota Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            877.     This claim is brought on behalf of the Minnesota Subclass.

            878.     The Polluting Vehicles constitute “merchandise” within the meaning of MINN.

   STAT. § 325F.68(2).

            879.     The Minnesota Prevention of Consumer Fraud Act (“Minnesota CFA”) prohibits

   “[t]he act, use, or employment by any person of any fraud, false pretense, false promise,

   misrepresentation, misleading statement or deceptive practice, with the intent that others rely

   thereon in connection with the sale of any merchandise, whether or not any person has in fact been

   misled, deceived, or damaged thereby ….” MINN. STAT. § 325F.69(1). The Minnesota CFA also

   prohibits the dissemination, directly or indirectly, of an advertisement “of any sort regarding

   merchandise,” where that advertisement contains “any material assertion, representation, or

   statement of fact which is untrue, deceptive, or misleading.” MINN. STAT. § 325F.67. In the

   course of Mercedes’ business, it willfully failed to disclose and actively concealed that the NOx

   reduction system in the Polluting Vehicles turns off or is limited during normal driving conditions,


                                                   - 298 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 309 of 441 PageID: 4304



   that the Polluting Vehicles emitted far more pollutants than gasoline powered vehicles, and that the

   Polluting Vehicles emit far more pollution than a reasonable consumer would expect from a clean

   diesel, as described above. Accordingly, Mercedes used or employed a fraud, false pretense, false

   promise, misrepresentation, misleading statement or deceptive practice, with the intent that others

   rely thereon in connection with the sale of any merchandise, whether or not any person has in fact

   been misled, deceived, or damaged thereby, and disseminated advertisements containing material

   assertions, representations, or statements of fact which were untrue, deceptive, or misleading, all in

   violation of the Minnesota CFA.

            880.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer, as described above.

            881.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            882.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            883.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            884.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.



                                                    - 299 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 310 of 441 PageID: 4305



            885.     Mercedes knew or should have known that its conduct violated the Minnesota CFA.

            886.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            887.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            888.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.




                                                    - 300 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 311 of 441 PageID: 4306



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

             889.    Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

             890.    Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             891.    Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             892.    Pursuant to MINN. STAT. § 8.31(3a), Plaintiff and the Minnesota Subclass seek

   actual damages, attorneys’ fees, and any other just and proper relief available under the Minnesota

   CFA.

             893.    Plaintiff also seeks punitive damages under MINN. STAT. § 549.20(1)(a) given the

   clear and convincing evidence that Mercedes’ acts show deliberate disregard for the rights of others.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                    (BASED ON MINNESOTA LAW)

             894.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             895.    This claim is brought on behalf of the Minnesota Subclass, against Mercedes and

   Bosch.




                                                    - 301 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 312 of 441 PageID: 4307



            896.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            897.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            898.     Mercedes knew these representations were false when made, as did Bosch.

            899.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            900.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.



                                                   - 302 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 313 of 441 PageID: 4308



            901.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            902.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            903.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            904.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            905.     Mercedes’ omissions and false representations were material to consumers because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value



                                                  - 303 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 314 of 441 PageID: 4309



   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            906.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            907.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel




                                                  - 304 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 315 of 441 PageID: 4310



   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            908.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            909.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            910.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.



                                                    - 305 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 316 of 441 PageID: 4311



            911.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            912.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            913.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            914.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   N.       Claims brought on behalf of the Mississippi Subclass.

                                                  COUNT I

              VIOLATIONS OF THE MISSISSIPPI CONSUMER PROTECTION ACT
                          (MISS. CODE ANN. §§ 75-24-1, ET SEQ.)

            915.     Plaintiff David Ashcraft (Plaintiff, for purposes of all Mississippi Subclass Counts)

   incorporate by reference all paragraphs as though fully set forth herein.


                                                   - 306 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 317 of 441 PageID: 4312



            916.     Plaintiff brings this Count on behalf of the Mississippi Subclass.

            917.     Mississippi’s Consumer Protection Act (the “Mississippi CPA”) prohibits “unfair or

   deceptive trade practices in or affecting commerce,” which include but are not limited to

   “representing that goods or services have sponsorship, approval, characteristics, ingredients, uses,

   benefits or quantities that they do not have,” and “[r]epresenting that goods or services are of a

   particular standard, quality, or grade, or that goods are of a particular style or model, if they are of

   another,” and “[a]dvertising goods or services with intent not to sell them as advertised.” MISS.

   CODE. ANN. § 75-24-5.

            918.     In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the emissions controls were defective, that the Polluting Vehicles

   emitted far more pollution than gasoline powered vehicles, and that the Polluting Vehicles emit far

   more pollution than a reasonable consumer would expect from a clean diesel, as described above.

   Accordingly, Mercedes engaged in unfair and deceptive trade practices, including “representing

   that goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits or

   quantities that they do not have,” and “[r]epresenting that goods or services are of a particular

   standard, quality, or grade, or that goods are of a particular style or model, if they are of another,”

   and “[a]dvertising goods or services with intent not to sell them as advertised.” Further, Mercedes’

   acts and practices described herein offend established public policy because the harm they cause to

   consumers, motorists, and pedestrians outweighs any benefit associated with such practices, and

   because Mercedes fraudulently concealed the defective nature of the Polluting Vehicles from

   consumers.




                                                    - 307 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 318 of 441 PageID: 4313



            919.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, that the Polluting Vehicles emitted far more pollution than gasoline

   powered vehicles, and that the Polluting Vehicles emit far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above.

            920.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            921.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            922.     Mercedes knew or should have known that its conduct violated the Mississippi CPA.

            923.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            924.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.




                                                   - 308 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 319 of 441 PageID: 4314



            925.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            926.     Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            927.     Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            928.     Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.



                                                    - 309 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 320 of 441 PageID: 4315



            929.     Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            930.     Pursuant to MISS. CODE ANN. § 75-24-15(1), Plaintiff and the Subclass seek

   actual damages in an amount to be determined at trial.

            931.     Plaintiff and the Subclass also seek declaratory relief and any other just and proper

   relief available under the Mississippi CPA.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                    (BASED ON MISSISSIPPI LAW)

            932.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            933.     This claim is brought on behalf of the Mississippi Subclass, against Mercedes and

   Bosch.

            934.     Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

            935.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            936.     Mercedes knew these representations were false when made, as did Bosch.




                                                    - 310 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 321 of 441 PageID: 4316



            937.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel, and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            938.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            939.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            940.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.




                                                   - 311 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 322 of 441 PageID: 4317



            941.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                  As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            942.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            943.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            944.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without



                                                  - 312 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 323 of 441 PageID: 4318



   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            945.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            946.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            947.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.



                                                   - 313 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 324 of 441 PageID: 4319



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            948.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            949.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            950.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.



                                                    - 314 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 325 of 441 PageID: 4320



            951.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            952.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   O.       Claims brought on behalf of the Missouri Subclass.

                                                  COUNT I

            VIOLATIONS OF THE MISSOURI MERCHANDISING PRACTICES ACT
                         (MO. REV. STAT. §§ 407.010, ET SEQ.)

            953.     Plaintiff Craig Thorson (Plaintiff for purposes of all Missouri Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            954.     Plaintiff brings this Count on behalf of the Missouri Subclass.

            955.     Mercedes, Plaintiff, and the Missouri Subclass are each “persons” within the

   meaning of MO. REV. STAT. § 407.010(5).

            956.     Mercedes engaged in “trade” or “commerce” in the State of Missouri within the

   meaning of MO. REV. STAT. § 407.010(7).

            957.     The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful the

   “act, use or employment by any person of any deception, fraud, false pretense, misrepresentation,

   unfair practice, or the concealment, suppression, or omission of any material fact in connection with

   the sale or advertisement of any merchandise.” MO. REV. STAT. § 407.020. In the course of

   Mercedes’ business, it willfully failed to disclose and actively concealed that the NOx reduction

   system in the Polluting Vehicles turns off or is limited during normal driving conditions, that the


                                                   - 315 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 326 of 441 PageID: 4321



   Polluting Vehicles emitted far more pollutants than gasoline powered vehicles, that the Polluting

   Vehicles emit far more pollution than a reasonable consumer would expect from a clean diesel, as

   described above. Accordingly, Mercedes used or employed deception, fraud, false pretense, false

   promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any

   material fact in connection with the sale or advertisement of any merchandise in trade or commerce,

   in violation of the Missouri MPA.          Mercedes’ conduct offends public policy; is unethical,

   oppressive, or unscrupulous; and presents a risk of, or causes, substantial injury to consumers.

            958.     In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            959.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            960.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            961.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            962.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            963.     Mercedes knew or should have known that its conduct violated the Missouri MPA.



                                                    - 316 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 327 of 441 PageID: 4322



            964.     Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            965.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            966.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.


                                                    - 317 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 328 of 441 PageID: 4323



             967.    Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

             968.    Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             969.    Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             970.    Mercedes is liable to Plaintiff and the Missouri Subclass for damages in amounts to

   be proven at trial, including attorneys’ fees, costs, and punitive damages, and any other just and

   proper relief under MO. REV. STAT. § 407.025.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                     (BASED ON MISSOURI LAW)

             971.    Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             972.    This claim is brought on behalf of the Missouri Subclass, against Mercedes and

   Bosch.

             973.    Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered

   vehicles, emitted pollutants higher than a reasonable consumer would expect from a clean diesel,




                                                    - 318 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 329 of 441 PageID: 4324



   or Mercedes acted with reckless disregard for the truth, and denied Plaintiff and the other Subclass

   members information that is highly relevant to their purchasing decision.

            974.     Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            975.     Mercedes knew these representations were false when made, as did Bosch.

            976.     The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel, and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            977.     Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            978.     As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during



                                                   - 319 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 330 of 441 PageID: 4325



   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            979.     The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            980.     Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            981.     Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            982.     Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.




                                                  - 320 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 331 of 441 PageID: 4326



            983.     Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            984.     Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.




                                                  - 321 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 332 of 441 PageID: 4327



            985.     Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            986.     Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            987.     Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            988.     The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,



                                                    - 322 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 333 of 441 PageID: 4328



   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            989.     Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            990.     Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            991.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   P.       Claims brought on behalf of the Nevada Subclass.

                                                  COUNT I

            VIOLATIONS OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                        (NEV. REV. STAT. §§ 598.0903, ET SEQ.)

            992.     Plaintiff Richard Yanus (Plaintiff for purposes of all Nevada Subclass Counts)

   incorporates by reference all paragraphs as though fully set forth herein.

            993.     Plaintiff bring this Count on behalf of the Nevada Subclass.




                                                   - 323 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 334 of 441 PageID: 4329



             994.    The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), NEV. REV. STAT.

   § 598.0903, et seq., prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides that

   a person engages in a “deceptive trade practice” if, in the course of business or occupation, the

   person:

                     “5.    Knowingly makes a false representation as to the
                            characteristics, ingredients, uses, benefits, alterations or
                            quantities of goods or services for sale or lease or a false
                            representation as to the sponsorship, approval, status,
                            affiliation or connection of a person therewith”;

                     “7.    Represents that goods or services for sale or lease are of a
                            particular standard, quality or grade, or that such goods are of
                            a particular style or model, if he or she knows or should know
                            that they are of another standard, quality, grade, style or
                            model”;

                      “9.   Advertises goods or services with intent not to sell or lease
                            them as advertised”; or

                      “15. Knowingly makes any other false representation in a
                           transaction.”

   Accordingly, Mercedes has violated the Nevada DTPA by knowingly representing that Polluting

   Vehicles have uses and benefits which they do not have; representing that Polluting Vehicles are of

   a particular standard, quality, and grade when they are not; advertising Polluting Vehicles with the

   intent not to sell or lease them as advertised; representing that the subject of a transaction involving

   Polluting Vehicles has been supplied in accordance with a previous representation when it has not;

   and knowingly making other false representations in a transaction.

             995.    In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollution than

   expected by a reasonable consumer from a clean diesel, as described above.


                                                    - 324 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 335 of 441 PageID: 4330



            996.     Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.           They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            997.     Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            998.     Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            999.     Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            1000. Mercedes knew or should have known that its conduct violated the Nevada DTPA.

            1001. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.     Possessed exclusive knowledge that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions;

                     b.     Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.     Made incomplete representations that it manipulated the emissions system in
                            the Polluting Vehicles to turn off or limit effectiveness in normal driving
                            conditions, while purposefully withholding material facts from Plaintiff and
                            the Subclass that contradicted these representations.

            1002. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the


                                                    - 325 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 336 of 441 PageID: 4331



   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1003. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1004. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1005. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1006. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1007. Accordingly, Plaintiff and the Nevada Subclass seek their actual damages, punitive

   damages, costs of court, attorney’s fees, and all other appropriate and available remedies under the

   Nevada DPTA. NEV. REV. STAT. § 41.600.



                                                    - 326 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 337 of 441 PageID: 4332



                                                 COUNT II

                                    FRAUDULENT CONCEALMENT
                                      (BASED ON NEVADA LAW)

             1008. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             1009. This claim is brought on behalf of the Nevada Subclass, against Mercedes and

   Bosch.

             1010. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Class members information that

   is highly relevant to their purchasing decision.

             1011. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             1012. Mercedes knew these representations were false when made, as did Bosch.

             1013. The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel, and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.




                                                   - 327 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 338 of 441 PageID: 4333



            1014. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            1015. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1016. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1017. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.




                                                  - 328 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 339 of 441 PageID: 4334



            1018. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1019. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiff and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            1020. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or



                                                  - 329 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 340 of 441 PageID: 4335



   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1021. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            1022. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1023. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1024. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and



                                                    - 330 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 341 of 441 PageID: 4336



   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1025. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1026. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1027. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            1028. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct



                                                 - 331 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 342 of 441 PageID: 4337



   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   Q.       Claims brought on behalf of the New York Subclass.

                                                COUNT I

                  VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
                                (N.Y. GEN. BUS. LAW § 349)

            1029. Plaintiffs Thomas Weiss and John Laurino (Plaintiffs, for purposes of all New York

   Subclass Counts) incorporate by reference all preceding allegations as though fully set forth herein.

            1030. This claim is brought on behalf of the New York Subclass.

            1031. New York’s General Business Law § 349 makes unlawful “[d]eceptive acts or

   practices in the conduct of any business, trade or commerce.” In the course of Mercedes’ business,

   it willfully failed to disclose and actively concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the Polluting Vehicles emitted

   far more pollutants than gasoline powered vehicles, and that the Polluting Vehicles emit far more

   pollution than a reasonable consumer would expect from a clean diesel, as described above. The

   challenged act or practice was “consumer-oriented;” that the act or practice was misleading in a

   material way; and Plaintiffs suffered injury as a result of the deceptive act or practice. Accordingly,

   Mercedes has violated General Business Law § 349.

            1032. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.




                                                  - 332 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 343 of 441 PageID: 4338



            1033. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1034. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1035. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1036. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1037. Mercedes knew or should have known that its conduct violated General Business

   Law § 349.

            1038. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                           and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiffs and
                           the Subclass that contradicted these representations.

            1039. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

                                                  - 333 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 344 of 441 PageID: 4339



   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1040. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1041. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1042. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1043. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.




                                                  - 334 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 345 of 441 PageID: 4340



            1044. Pursuant to N.Y. GEN. BUS. LAW § 349(h), Plaintiffs and each Subclass member

   may recover actual damages, in addition to three times actual damages up to $1,000 for Mercedes’

   willful and knowing violation of N.Y. GEN. BUS. LAW § 349.

                                                COUNT II

                  VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 350
                                (N.Y. GEN. BUS. LAW § 350)

            1045. Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

            1046. This claim is brought on behalf of the New York Subclass.

            1047. New York’s General Business Law § 350 makes unlawful “[f]alse advertising in the

   conduct of any business, trade or commerce[.]” False advertising includes “advertising, including

   labeling, of a commodity … if such advertising is misleading in a material respect,” taking into

   account “the extent to which the advertising fails to reveal facts material in the light of …

   representations [made] with respect to the commodity….” N.Y. GEN. BUS. LAW § 350-a.

            1048. Mercedes caused to be made or disseminated throughout New York, through

   advertising, marketing, and other publications, statements that were untrue or misleading, and

   which were known, or which by the exercise of reasonable care should have been known to

   Mercedes, to be untrue and misleading to consumers, including Plaintiffs and the other Subclass

   members.

            1049. Mercedes has violated N.Y. GEN. BUS. LAW § 350 because of the misrepresentations

   and omissions alleged herein, including but not limited to Mercedes’ failure to disclose that the

   NOx reduction system in the Polluting Vehicles turns off or is limited during normal driving

   conditions.

            1050. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the


                                                  - 335 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 346 of 441 PageID: 4341



   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1051. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1052. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1053. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1054. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1055. Mercedes knew or should have known that its conduct violated General Business

   Law § 350.

            1056. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                           and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiffs and
                           the Subclass that contradicted these representations.



                                                  - 336 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 347 of 441 PageID: 4342



            1057. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1058. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1059. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1060. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.



                                                  - 337 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 348 of 441 PageID: 4343



             1061. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             1062. Plaintiffs and the other Subclass members are entitled to recover their actual

   damages or $500, whichever is greater. Because Mercedes acted willfully or knowingly, Plaintiffs

   and the other Subclass members are entitled to recover three times actual damages, up to $10,000.

                                                 COUNT III

                                    FRAUDULENT CONCEALMENT
                                     (BASED ON NEW YORK LAW)

             1063. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1064. This claim is brought on behalf of the New York Subclass, against Mercedes and

   Bosch.

             1065. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Class members information that

   is highly relevant to their purchasing decision.

             1066. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             1067. Mercedes knew these representations were false when made, as did Bosch.




                                                   - 338 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 349 of 441 PageID: 4344



            1068. The Polluting Vehicles purchased or leased by Plaintiffs and the other Class

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1069. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Class members relied on Mercedes’ material omissions and representations

   that the Polluting Vehicles they were purchasing were reduced emission vehicles, efficient, and free

   from defects.

            1070. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1071. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.




                                                  - 339 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 350 of 441 PageID: 4345



            1072. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                  As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1073. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1074. Mercedes’ omissions and false representations were material to consumers because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ decision to purchase the Polluting Vehicles and establishing the value

   of the vehicles. As Mercedes well knew, its customers, including Plaintiffs and Subclass members,

   highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars

   with reduced emissions, and they paid accordingly.

            1075. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without



                                                  - 340 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 351 of 441 PageID: 4346



   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1076. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            1077. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1078. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.



                                                  - 341 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 352 of 441 PageID: 4347



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1079. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1080. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1081. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.



                                                 - 342 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 353 of 441 PageID: 4348



             1082. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

             1083. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   R.        Claims brought on behalf of the North Carolina Subclass.

                                                 COUNT I

         VIOLATIONS OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE ACTS
                                AND PRACTICES ACT
                         (N.C. GEN. STAT. §§ 75-1.1, ET SEQ.)

             1084. Plaintiffs Vincent Minerva, Freddie T. Holbrook and Robert Trepper (Plaintiffs for

   purposes of all North Carolina Subclass Counts) incorporate by reference all paragraphs as though

   fully set forth herein.

             1085. Plaintiffs bring this Count on behalf of the North Carolina Subclass.

             1086. Mercedes engaged in “commerce” within the meaning of N.C. GEN. STAT. § 75-

   1.1(b).

             1087. The North Carolina UDTPA broadly prohibits “unfair or deceptive acts or practices

   in or affecting commerce.” N.C. GEN. STAT. § 75-1.1(a). In the course of Mercedes’ business, it

   willfully failed to disclose and actively concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the Polluting Vehicles emitted

   far more pollutants than gasoline powered vehicles, and that the Polluting Vehicles emitted far more

   pollution than a reasonable consumer would expect from a clean diesel, as described above.

   Accordingly, Mercedes engaged in unfair and deceptive trade practices because it (1) had the

                                                  - 343 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 354 of 441 PageID: 4349



   capacity or tendency to deceive, (2) offends public policy, (3) is immoral, unethical, oppressive or

   unscrupulous, or (4) causes substantial injury to consumers.

            1088. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1089. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1090. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1091. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1092. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1093. Mercedes knew or should have known that its conduct violated the North Carolina

   UDTPA.

            1094. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;



                                                  - 344 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 355 of 441 PageID: 4350



                     b.   Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                          and/or

                     c.   Made incomplete representations that it manipulated the emissions system in
                          the Polluting Vehicles to turn off or limit effectiveness in normal driving
                          conditions, while purposefully withholding material facts from Plaintiffs and
                          the Subclass that contradicted these representations.

            1095. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1096. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1097. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1098. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

                                                 - 345 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 356 of 441 PageID: 4351



   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             1099. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             1100. Plaintiffs seek an order for treble their actual damages, costs of Court, attorneys’

   fees, and any other just and proper relief available under the North Carolina Act, N.C. GEN. STAT.

   § 75-16.

             1101. Plaintiffs also seek punitive damages against Mercedes because Mercedes’ conduct

   was malicious, willful, reckless, wanton, fraudulent and in bad faith.

                                                 COUNT II

                                   FRAUDULENT CONCEALMENT
                                (BASED ON NORTH CAROLINA LAW)

             1102. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1103. This claim is brought on behalf of the North Carolina Subclass, against Mercedes

   and Bosch.

             1104. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Subclass members information

   that is highly relevant to their purchasing decision.




                                                   - 346 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 357 of 441 PageID: 4352



            1105. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1106. Mercedes knew these representations were false when made, as did Bosch.

            1107. The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1108. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1109. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and




                                                  - 347 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 358 of 441 PageID: 4353



   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1110. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            1111. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.              As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1112. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1113. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiffs and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1114. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or



                                                 - 348 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 359 of 441 PageID: 4354



   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1115. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            1116. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.




                                                  - 349 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 360 of 441 PageID: 4355



            1117. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1118. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1119. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.



                                                 - 350 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 361 of 441 PageID: 4356



            1120. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1121. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            1122. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   S.       Claims brought on behalf of the Ohio Subclass.

                                                COUNT I

                    VIOLATIONS OF THE CONSUMER SALES PRACTICES ACT
                          (OHIO REV. CODE ANN. §§ 1345.01, ET SEQ.)

            1123. Plaintiff Andrew Deutsch (Plaintiff for purposes of all Ohio Subclass Counts)

   incorporates by reference all preceding allegations as though fully set forth herein.

            1124. This claim is brought on behalf of the Ohio Subclass.

            1125. Plaintiff and the other Ohio Subclass members are “consumers” as defined by the

   Ohio Consumer Sales Practices Act, OHIO REV. CODE ANN. § 1345.01 (“Ohio CSPA”). Mercedes

   is a “supplier” as defined by the Ohio CSPA. Plaintiff’s and the other Ohio Subclass members’




                                                 - 351 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 362 of 441 PageID: 4357



   purchases or leases of Polluting Vehicles were “consumer transactions” as defined by the Ohio

   CSPA.

            1126. The Ohio CSPA, OHIO REV. CODE ANN. § 1345.02, broadly prohibits unfair or

   deceptive acts or practices in connection with a consumer transaction. Specifically, and without

   limitation of the broad prohibition, the Act prohibits suppliers from representing (i) that goods have

   characteristics or uses or benefits which they do not have; (ii) that their goods are of a particular

   quality or grade they are not; and (iii) the subject of a consumer transaction has been supplied in

   accordance with a previous representation, if it has not. Id. Mercedes’ conduct as alleged above

   and below constitutes unfair and/or deceptive consumer sales practices in violation of OHIO REV.

   CODE ANN. § 1345.02. In the course of Mercedes’ business, it willfully failed to disclose and

   actively concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions, that the Polluting Vehicles emitted far more pollutants than

   gasoline powered vehicles, and that the Polluting Vehicles emitted far more pollution than a

   reasonable consumer would expect from a clean diesel, as described above. Accordingly, Mercedes

   engaged in unfair and deceptive trade practices, including representing that Polluting Vehicles have

   characteristics, uses, benefits, and qualities which they do not have; representing that Polluting

   Vehicles are of a particular standard and quality when they are not; and supplying the Polluting

   Vehicles based on misrepresentations; and otherwise engaging in conduct likely to deceive.

            1127. In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.



                                                  - 352 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 363 of 441 PageID: 4358



            1128. Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1129. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1130. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1131. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            1132. Mercedes knew or should have known that its conduct violated the Ohio CSPA.

            1133. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiff and
                           the Subclass that contradicted these representations.

            1134. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the


                                                  - 353 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 364 of 441 PageID: 4359



   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1135. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1136. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1137. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1138. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1139. Plaintiff and the Subclass sustained damages as a result of Mercedes’ unlawful acts

   and are, therefore, entitled to damages and other relief as provided under the Ohio CSPA.




                                                    - 354 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 365 of 441 PageID: 4360



             1140. Plaintiff also seeks court costs and attorneys’ fees as a result of Mercedes’ violations

   of the Ohio CSPA as provided in OHIO REV. CODE ANN. § 1345.09.

                                                  COUNT II

                                    FRAUDULENT CONCEALMENT
                                       (BASED ON OHIO LAW)

             1141. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             1142. This claim is brought on behalf of the Ohio Subclass, against Mercedes and Bosch.

             1143. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

             1144. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             1145. Mercedes knew these representations were false when made, as did Bosch.

             1146. The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.


                                                    - 355 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 366 of 441 PageID: 4361



            1147. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1148. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1149. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1150. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.




                                                  - 356 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 367 of 441 PageID: 4362



            1151. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1152. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1153. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or



                                                  - 357 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 368 of 441 PageID: 4363



   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1154. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            1155. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1156. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1157. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and



                                                    - 358 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 369 of 441 PageID: 4364



   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1158. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1159. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1160. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            1161. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct



                                                 - 359 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 370 of 441 PageID: 4365



   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   T.       Claims brought on behalf of the Pennsylvania Subclass.

                                                COUNT I

             VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
                         AND CONSUMER PROTECTION LAW
                              (73 P.S. §§ 201-1, ET SEQ.)

            1162. Plaintiff Wendell A. Dingle (Plaintiff for purposes of all Pennsylvania Subclass

   Counts) incorporates by reference all paragraphs as though fully set forth herein.

            1163. Plaintiff brings this Count on behalf of the Pennsylvania Subclass.

            1164. Plaintiff purchased or leased their Polluting Vehicle primarily for personal, family

   or household purposes within the meaning of 73 P.S. § 201-9.2.

            1165. All of the acts complained of herein were perpetrated by Mercedes in the course of

   trade or commerce within the meaning of 73 P.S. § 201-2(3).

            1166. The Pennsylvania Unfair Trade Practices and Consumer Protection Law

   (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including: “Representing that

   goods or services have … characteristics, … [b]enefits or qualities that they do not have;”

   (ii) “Representing that goods or services are of a particular standard, quality or grade … if they are

   of another;” (iii) “Advertising goods or services with intent not to sell them as advertised;” and (iv)

   “Engaging in any other fraudulent or deceptive conduct which creates a likelihood of confusion or

   misunderstanding.” 73 P.S. § 201-2(4). In the course of Mercedes’ business, it willfully failed to

   disclose and actively concealed that the NOx reduction system in the Polluting Vehicles turns off

   or is limited during normal driving conditions, that the Polluting Vehicles emitted far more

   pollutants than gasoline powered vehicles, and that the Polluting Vehicles emitted far more

   pollution than a reasonable consumer would expect from a clean diesel, as described above.

                                                  - 360 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 371 of 441 PageID: 4366



   Accordingly, Mercedes engaged in deceptive business practices prohibited by the Pennsylvania

   CPL, including: representing that Polluting Vehicles have characteristics, uses, benefits, and

   qualities which they do not have; representing that Polluting Vehicles are of a particular standard,

   quality, and grade when they are not; advertising the Polluting Vehicles with the intent not to sell

   them as advertised; and engaging in fraudulent or deceptive conduct that creates a likelihood of

   confusion or of misunderstanding.

            1167. In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1168. Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1169. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1170. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1171. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            1172. Mercedes knew or should have known that its conduct violated the Pennsylvania

   CPL.



                                                  - 361 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 372 of 441 PageID: 4367



            1173. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiff and
                           the Subclass that contradicted these representations.

            1174. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1175. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.


                                                    - 362 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 373 of 441 PageID: 4368



            1176. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1177. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1178. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1179. Mercedes is liable to Plaintiff and the Pennsylvania Subclass for treble their actual

   damages or $100, whichever is greater, and attorneys’ fees and costs. 73 P.S. § 201-9.2(a). Plaintiff

   and the Pennsylvania Subclass are also entitled to an award of punitive damages given that

   Mercedes’ conduct was malicious, wanton, willful, oppressive, or exhibited a reckless indifference

   to the rights of others.

                                                COUNT II

              FRAUDULENT CONCEALMENT (BASED ON PENNSYLVANIA LAW)

            1180. Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            1181. This claim is brought on behalf of the Pennsylvania Subclass, against Mercedes and

   Bosch.

            1182. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with



                                                  - 363 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 374 of 441 PageID: 4369



   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

            1183. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1184. Mercedes knew these representations were false when made, as did Bosch.

            1185. The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1186. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1187. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during



                                                  - 364 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 375 of 441 PageID: 4370



   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1188. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1189. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.              As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            1190. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1191. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.




                                                 - 365 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 376 of 441 PageID: 4371



            1192. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1193. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.




                                                  - 366 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 377 of 441 PageID: 4372



            1194. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1195. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1196. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1197. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,



                                                    - 367 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 378 of 441 PageID: 4373



   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1198. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1199. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            1200. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   U.       Claims brought on behalf of the South Carolina Subclass.

                                                COUNT I

         VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                        (S.C. CODE ANN. §§ 39-5-10, ET SEQ.)

            1201. Plaintiff Caroline Ledlie (Plaintiff for purposes of all South Carolina Subclass

   Counts) incorporates by reference all preceding allegations as though fully set forth herein.

            1202. Plaintiff brings this Count on behalf of the South Carolina Subclass.




                                                 - 368 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 379 of 441 PageID: 4374



            1203. Mercedes, Plaintiff, and the South Carolina Subclass are “persons” within the

   meaning of S.C. CODE ANN. § 39-5-10(a).

            1204. Mercedes engaged in “trade” or “commerce” within the meaning of S.C. CODE ANN.

   § 39-5-10(b).

            1205. The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”) broadly

   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C.

   CODE ANN. § 39-5-20(a). In the course of Mercedes’ business, it willfully failed to disclose and

   actively concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions, that the Polluting Vehicles emitted far more pollutants than

   gasoline powered vehicles, and that the Polluting Vehicles emitted far more pollution than a

   reasonable consumer would expect from a clean diesel, as described above. Accordingly, Mercedes

   engaged in unfair and deceptive business practices prohibited by the South Carolina UTPA.

   Mercedes’ conduct was unfair because it (1) offends public policy as it has been established by

   statutes, the common law, or otherwise; (2) is immoral, unethical, oppressive, or unscrupulous; or

   (3) causes substantial injury to consumers. Mercedes’ conduct is deceptive because it has the

   capacity or tendency to deceive.

            1206. In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1207. Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.      They had no way of knowing that Mercedes’



                                                - 369 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 380 of 441 PageID: 4375



   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1208. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1209. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1210. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            1211. Mercedes knew or should have known that its conduct violated the South Carolina

   UTPA.

            1212. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiff and
                           the Subclass that contradicted these representations.

            1213. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass


                                                    - 370 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 381 of 441 PageID: 4376



   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1214. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1215. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1216. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1217. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1218. Pursuant to S.C. CODE ANN. § 39-5-140(a), Mercedes is liable to Plaintiff and the

   Subclass for damages in amounts to be proven at trial, treble damages for willful and knowing

   violations, punitive damages, and attorneys’ fees and costs, as well as any other remedies the Court

   may deem appropriate under the South Carolina UTPA.



                                                    - 371 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 382 of 441 PageID: 4377



                                                 COUNT II

                                  FRAUDULENT CONCEALMENT
                                (BASED ON SOUTH CAROLINA LAW)

             1219. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

             1220. This claim is brought on behalf of the South Carolina Subclass, against Mercedes

   and Bosch.

             1221. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

             1222. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             1223. Mercedes knew these representations were false when made, as did Bosch.

             1224. The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.




                                                   - 372 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 383 of 441 PageID: 4378



            1225. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1226. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1227. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1228. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.




                                                  - 373 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 384 of 441 PageID: 4379



            1229. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1230. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1231. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or



                                                  - 374 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 385 of 441 PageID: 4380



   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1232. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            1233. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1234. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1235. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and



                                                    - 375 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 386 of 441 PageID: 4381



   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1236. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1237. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1238. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

   V.       Claims brought on behalf of the Texas Subclass

                                                COUNT I

                   VIOLATIONS OF THE DECEPTIVE TRADE PRACTICES ACT



                                                 - 376 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 387 of 441 PageID: 4382



                            (TEX. BUS. & COM. CODE §§ 17.41, ET SEQ.)

            1239. Plaintiffs Shelby A. Jordan and Jimmy Bird (Plaintiffs for purposes of all Texas

   Subclass Counts) incorporate by reference all preceding allegations as though fully set forth herein.

            1240. Plaintiffs bring this Count on behalf of the Texas Subclass.

            1241. Plaintiffs and the Texas Subclass are individuals, partnerships and corporations with

   assets of less than $25 million (or are controlled by corporations or entities with less than $25

   million in assets). See TEX. BUS. & COM. CODE § 17.41.

            1242. The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

   provides a private right of action to a consumer where the consumer suffers economic damage as

   the result of either (i) the use of false, misleading or deceptive act or practice specifically

   enumerated in TEX. BUS. & COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of

   action by any person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

   several specific actions to be unlawful, including: “(5) Representing that goods or services have

   sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do not have,”

   “(7) Representing that goods or services are of a particular standard, quality, or grade, or that goods

   are of a particular style or model, if they are of another,” and (9) advertising goods or services with

   intent not to sell them as advertised.” An “unconscionable action or course of action,” means “an

   act or practice which, to a consumer’s detriment, takes advantage of the lack of knowledge, ability,

   experience, or capacity of the consumer to a grossly unfair degree.” TEX. BUS. & COM. CODE §

   17.45(5). As detailed herein, Mercedes has engaged in an unconscionable action or course of action

   and thereby caused economic damages to the Texas Subclass.

            1243. In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the Polluting Vehicles emitted far more pollutants than gasoline

                                                   - 377 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 388 of 441 PageID: 4383



   powered vehicles, and that the Polluting Vehicles emitted far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above. Accordingly, Mercedes engaged

   in deceptive business practices prohibited by the Texas DTPA, including: representing that

   Polluting Vehicles have characteristics, uses, benefits, and qualities which they do not have;

   representing that Polluting Vehicles are of a particular standard, quality, and grade when they are

   not; advertising Polluting Vehicles with intent not to sell them as advertised; and engaging in acts

   or practices which, to a consumer’s detriment, takes advantage of the lack of knowledge, ability,

   experience, or capacity of the consumer to a grossly unfair degree.

            1244. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the emissions controls were

   defective, and that the Polluting Vehicles emitted higher levels of pollutants than expected by a

   reasonable consumer from a clean diesel, as described above.

            1245. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1246. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1247. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1248. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.



                                                  - 378 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 389 of 441 PageID: 4384



            1249. Mercedes knew or should have known that its conduct violated the Texas DTPA.

            1250. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.   Possessed exclusive knowledge that it manipulated the emissions system in
                          the Polluting Vehicles to turn off or limit effectiveness in normal driving
                          conditions;

                     b.   Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                          and/or

                     c.   Made incomplete representations that it manipulated the emissions system in
                          the Polluting Vehicles to turn off or limit effectiveness in normal driving
                          conditions, while purposefully withholding material facts from Plaintiffs and
                          the Subclass that contradicted these representations.

            1251. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1252. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.



                                                 - 379 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 390 of 441 PageID: 4385



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

             1253. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

             1254. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             1255. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             1256. Plaintiffs and the Subclass seek damages and treble damages for Mercedes’ knowing

   violations.

             1257. Plaintiffs gave written notice prior to filing suit as required by TEX. BUS. & COM.

   CODE § 17.505(a).

                                                 COUNT II

                                      FRAUD BY CONCEALMENT
                                       (BASED ON TEXAS LAW)


             1258. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1259. This claim is brought on behalf of the Texas Subclass, against Mercedes and Bosch.

             1260. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

                                                   - 380 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 391 of 441 PageID: 4386



   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Subclass members information

   that is highly relevant to their purchasing decision.

            1261. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1262. Mercedes knew these representations were false when made, as did Bosch.

            1263. The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitting pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1264. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1265. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the



                                                  - 381 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 392 of 441 PageID: 4387



   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1266. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            1267. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1268. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1269. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiffs and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.



                                                  - 382 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 393 of 441 PageID: 4388



            1270. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1271. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.




                                                  - 383 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 394 of 441 PageID: 4389



            1272. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1273. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1274. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1275. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,



                                                 - 384 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 395 of 441 PageID: 4390



   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1276. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1277. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            1278. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   W.       Claims brought on behalf of the Utah Subclass.

                                                COUNT I

               VIOLATIONS OF THE UTAH CONSUMER SALES PRACTICES ACT
                          (UTAH CODE ANN. §§ 13-11-1, ET SEQ.)

            1279. Plaintiffs Seid Dilgisic and Tiffany Knight (Plaintiffs for purposes of all Utah

   Subclass Counts) incorporate by reference all paragraphs as though fully set forth herein.

            1280. Plaintiffs bring this Count on behalf of the Utah Subclass.




                                                 - 385 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 396 of 441 PageID: 4391



            1281. Mercedes is a “supplier” under the Utah Consumer Sales Practices Act (“Utah

   CSPA”), UTAH CODE ANN. § 13-11-3.

            1282. Plaintiffs and the Subclass members are “persons” under UTAH CODE ANN. § 13-

   11-3.

            1283. Sales of the Polluting Vehicles to Plaintiffs and the Subclass were “consumer

   transactions” within the meaning of UTAH CODE ANN. § 13-11-3.

            1284. The Utah CSPA makes unlawful any “deceptive act or practice by a supplier in

   connection with a consumer transaction” under UTAH CODE ANN. § 13-11-4. Specifically, “a

   supplier commits a deceptive act or practice if the supplier knowingly or intentionally: indicates

   that the subject of a consumer transaction has sponsorship, approval, performance characteristics,

   accessories, uses, or benefits, if it has not” or “(b) indicates that the subject of a consumer

   transaction is of a particular standard, quality, grade, style, or model, if it is not.” UTAH CODE ANN.

   § 13-11-4. “An unconscionable act or practice by a supplier in connection with a consumer

   transaction” also violates the Utah CSPA. UTAH CODE ANN. § 13-11-5. In the course of Mercedes’

   business, it willfully failed to disclose and actively concealed that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the Polluting

   Vehicles emitted far more pollutants than gasoline powered vehicles, and that the Polluting Vehicles

   emitted far more pollution than a reasonable consumer would expect from a clean diesel, as

   described above. Accordingly, Mercedes engaged in conduct prohibited by the Utah CSPA,

   including, among other things, engaging in unconscionable acts, representing that the Polluting

   Vehicles have characteristics, uses, benefits, and qualities which they do not have; and representing

   that the Polluting Vehicles are of a particular standard, quality, and grade when they are not.

   Mercedes also engaged in unlawful trade practices by employing deception, deceptive acts or



                                                  - 386 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 397 of 441 PageID: 4392



   practices, fraud, misrepresentations, or concealment, suppression or omission of any material fact

   with intent that others rely upon such concealment, suppression or omission, in connection with the

   sale of Polluting Vehicles.

            1285. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1286. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1287. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1288. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1289. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1290. Mercedes knew or should have known that its conduct violated the Utah CSPA.

            1291. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;



                                                  - 387 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 398 of 441 PageID: 4393



                     b.   Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                          and/or

                     c.   Made incomplete representations that it manipulated the emissions system in
                          the Polluting Vehicles to turn off or limit effectiveness in normal driving
                          conditions, while purposefully withholding material facts from Plaintiffs and
                          the Subclass that contradicted these representations.

            1292. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1293. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1294. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1295. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

                                                 - 388 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 399 of 441 PageID: 4394



   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             1296. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             1297. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs and the Subclass seek monetary

   relief against Mercedes measured as the greater of (a) actual damages in an amount to be determined

   at trial and (b) statutory damages in the amount of $2,000 for each Plaintiff and each Utah Subclass

   member, reasonable attorneys’ fees, and any other just and proper relief available under the Utah

   CSPA.

                                                 COUNT II

                                    FRAUDULENT CONCEALMENT
                                       (BASED ON UTAH LAW)

             1298. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1299. This claim is brought on behalf of the Utah Subclass, against Mercedes and Bosch.

             1300. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Subclass members information

   that is highly relevant to their purchasing decision.

             1301. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the


                                                   - 389 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 400 of 441 PageID: 4395



   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1302. Mercedes knew these representations were false when made, as did Bosch.

            1303. The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1304. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1305. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.




                                                  - 390 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 401 of 441 PageID: 4396



            1306. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            1307. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.              As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1308. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1309. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiffs and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1310. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or



                                                 - 391 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 402 of 441 PageID: 4397



   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1311. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            1312. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1313. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel



                                                  - 392 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 403 of 441 PageID: 4398



   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1314. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1315. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1316. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the



                                                 - 393 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 404 of 441 PageID: 4399



   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1317. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            1318. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   X.       Claims brought on behalf of the Virginia Subclass.

                                                COUNT I

                VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
                           (VA. CODE ANN. §§ 59.1-196, ET SEQ.)

            1319. Plaintiff Ulyana Lynevych (Plaintiff for purposes of all Virginia Subclass Counts)

   incorporate by reference all paragraphs as though fully set forth herein.

            1320. This claim is brought on behalf of the Virginia Subclass.

            1321. Mercedes is a “person” as defined by VA. CODE ANN. § 59.1-198. The transactions

   between Plaintiff and the other Subclass members on the one hand and Mercedes on the other,

   leading to the purchase or lease of the Polluting Vehicles by Plaintiff and the other Subclass

   members, are “consumer transactions” as defined by VA. CODE ANN. § 59.1-198, because the

   Polluting Vehicles were purchased or leased primarily for personal, family or household purposes.

            1322. The Virginia Consumer Protection Act (Virginia CPA) prohibits “(5)

   misrepresenting that goods or services have certain quantities, characteristics, ingredients, uses, or


                                                  - 394 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 405 of 441 PageID: 4400



   benefits; (6) misrepresenting that goods or services are of a particular standard, quality, grade, style,

   or model; … (8) advertising goods or services with intent not to sell them as advertised …; [and]

   (14) using any other deception, fraud, false pretense, false promise, or misrepresentation in

   connection with a consumer transaction[.]” VA. CODE ANN. § 59.1-200(A). In the course of

   Mercedes’ business, it willfully failed to disclose and actively concealed that the NOx reduction

   system in the Polluting Vehicles turns off or is limited during normal driving conditions, that the

   Polluting Vehicles emitted far more pollutants than gasoline powered vehicles, that the Polluting

   Vehicles emitted far more pollution than a reasonable consumer would expect from a clean diesel,

   as described above. Accordingly, Mercedes engaged in acts and practices violating VA. CODE ANN.

   § 59.1-200(A), including representing that Polluting Vehicles have characteristics, uses, benefits,

   and qualities which they do not have; representing that Polluting Vehicles are of a particular

   standard and quality when they are not; advertising Polluting Vehicles with the intent not to sell

   them as advertised; and otherwise engaging in deception, fraud, false pretense, false promise or

   misrepresentations and conduct likely to deceive.

            1323. In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1324. Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.          They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in




                                                   - 395 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 406 of 441 PageID: 4401



   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1325. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1326. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1327. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1328. Mercedes knew or should have known that its conduct violated the Virginia CPA.

            1329. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                           and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiffs and
                           the Subclass that contradicted these representations.

            1330. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

                                                    - 396 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 407 of 441 PageID: 4402



            1331. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1332. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1333. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1334. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1335. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiff and the Subclass seek monetary

   relief against Mercedes measured as the greater of (a) actual damages in an amount to be determined

   at trial and (b) statutory damages in the amount of $500 for each Plaintiff and each Subclass

   member. Because Mercedes’ conduct was committed willfully and knowingly, Plaintiff are entitled

   to recover, for each Plaintiff and each Subclass member, the greater of (a) three times actual

   damages or (b) $1,000.



                                                    - 397 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 408 of 441 PageID: 4403



            1336. Plaintiff also seek punitive damages, and attorneys’ fees, and any other just and

   proper relief available under VA. CODE ANN. § 59.1-204, et seq.

                                                COUNT II

                                     FRAUD BY CONCEALMENT
                                      (UNDER VIRGINIA LAW)

            1337. Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            1338. This claim is brought on behalf of the Virginia Subclass, against Mercedes and

   Bosch.

            1339. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

            1340. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1341. Mercedes knew these representations were false when made, as did Bosch.

            1342. The Polluting Vehicles purchased or leased by Plaintiff and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.


                                                  - 398 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 409 of 441 PageID: 4404



            1343. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1344. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1345. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1346. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.




                                                  - 399 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 410 of 441 PageID: 4405



            1347. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1348. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1349. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or



                                                  - 400 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 411 of 441 PageID: 4406



   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were

   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1350. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            1351. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1352. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1353. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and



                                                    - 401 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 412 of 441 PageID: 4407



   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1354. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1355. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1356. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            1357. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct



                                                 - 402 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 413 of 441 PageID: 4408



   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

   Y.       Claims brought on behalf of the Washington Subclass.

                                                COUNT I

             VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
                     (WASH. REV. CODE ANN. §§ 19.86.010, ET SEQ.)

            1358. Plaintiffs Michael Medler, Randolph Rolle and Robert Gershberg (Plaintiffs for

   purposes of all Washington Subclass Counts) incorporate by reference all preceding allegations as

   though fully set forth herein.

            1359. Plaintiffs bring this Count on behalf of the Washington Subclass.

            1360. Mercedes, Plaintiffs, and the Washington Subclass are a “person” under WASH. REV.

   CODE ANN. § 19.86.010(1) (“Washington CPA”).

            1361. Mercedes engaged in “trade” or “commerce” under WASH. REV. CODE ANN.

   § 19.86.010(2).

            1362. The Washington Consumer Protection Act (“Washington CPA”) broadly prohibits

   “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

   trade or commerce.” WASH. REV. CODE. ANN. § 19.96.010. In the course of Mercedes’ business,

   it willfully failed to disclose and actively concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that the Polluting Vehicles emitted

   far more pollutants than gasoline powered vehicles, and that the Polluting Vehicles emitted far more

   pollution than a reasonable consumer would expect from a clean diesel, as described above.

   Accordingly, Mercedes engaged in unfair and deceptive business practices prohibited by the

   Washington CPA. Mercedes’ conduct was unfair because it (1) offends public policy as it has been

   established by statutes, the common law, or otherwise; (2) is immoral, unethical, oppressive, or


                                                  - 403 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 414 of 441 PageID: 4409



   unscrupulous; or (3) causes substantial injury to consumers. Mercedes’ conduct is deceptive

   because it has the capacity or tendency to deceive.

            1363. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1364. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1365. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1366. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1367. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1368. Mercedes knew or should have known that its conduct violated the Washington

   CPA.

            1369. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;



                                                  - 404 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 415 of 441 PageID: 4410



                     b.   Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                          and/or

                     c.   Made incomplete representations that it manipulated the emissions system in
                          the Polluting Vehicles to turn off or limit effectiveness in normal driving
                          conditions, while purposefully withholding material facts from Plaintiffs and
                          the Subclass that contradicted these representations.

            1370. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1371. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1372. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1373. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

                                                 - 405 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 416 of 441 PageID: 4411



   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

             1374. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

             1375. Mercedes is liable to Plaintiffs and the Subclass for damages in amounts to be proven

   at trial, including attorneys’ fees, costs, and treble damages, as well as any other remedies the Court

   may deem appropriate under WASH. REV. CODE. ANN. § 19.86.090.

                                                 COUNT II

                                    FRAUDULENT CONCEALMENT
                                   (BASED ON WASHINGTON LAW)

             1376. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1377. This claim is brought on behalf of the Washington Subclass, against Mercedes and

   Bosch.

             1378. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Subclass members information

   that is highly relevant to their purchasing decision.

             1379. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the




                                                   - 406 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 417 of 441 PageID: 4412



   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1380. Mercedes knew these representations were false when made, as did Bosch.

            1381. The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1382. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1383. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.




                                                  - 407 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 418 of 441 PageID: 4413



            1384. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.

            1385. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.              As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1386. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1387. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiffs and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1388. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or



                                                 - 408 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 419 of 441 PageID: 4414



   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1389. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            1390. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1391. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel



                                                  - 409 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 420 of 441 PageID: 4415



   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1392. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1393. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1394. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the



                                                 - 410 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 421 of 441 PageID: 4416



   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

             1395. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

   Z.        Claims brought on behalf of the West Virginia Subclass.

                                                   COUNT I

                           VIOLATIONS OF THE WEST VIRGINIA CONSUMER
                                  CREDIT AND PROTECTION ACT
                                 (W. VA. CODE §§ 46A-1-101, ET SEQ.)

             1396. Plaintiff Melanie Johnson (Plaintiff for purposes of all West Virginia Subclass

   Counts) incorporates by reference all paragraphs as though fully set forth herein.

             1397. Plaintiff bring this Count on behalf of the West Virginia Subclass.

             1398. Mercedes is a “person” under W. VA. CODE § 46A-1-102(31).

             1399. Plaintiff and the West Virginia Subclass are “consumers,” as defined by W. VA.

   CODE §§ 46A-1-102(12) and 46A-6-102(2), who purchased or leased one or more Polluting

   Vehicles.

             1400. Mercedes engaged in trade or commerce as defined by W. VA. CODE § 46A-6-

   102(6).

             1401. The West Virginia Consumer Credit and Protection Act (“West Virginia CCPA”)

   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” W. VA.

   CODE § 46A-6-104. Without limitation, “unfair or deceptive” acts or practices include:

                     (E)     Representing that goods or services have sponsorship, approval,
                             characteristics, ingredients, uses, benefits or quantities that they do not have
                             or that a person has a sponsorship, approval, status, affiliation or connection
                             that he does not have; …


                                                     - 411 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 422 of 441 PageID: 4417



                     (G)   Representing that goods or services are of a particular standard, quality or
                           grade, or that goods are of a particular style or model if they are of another;
                           …

                     (I)   Advertising goods or services with intent not to sell them as advertised; …

                     (L)   Engaging in any other conduct which similarly creates a likelihood of
                           confusion or of misunderstanding;

                     (M)   The act, use or employment by any person of any deception, fraud, false
                           pretense, false promise or misrepresentation, or the concealment,
                           suppression or omission of any material fact with intent that others rely upon
                           such concealment, suppression or omission, in connection with the sale or
                           advertisement of any goods or services, whether or not any person has in fact
                           been misled, deceived or damaged thereby; [and]

                     (N)   Advertising, printing, displaying, publishing, distributing or broadcasting, or
                           causing to be advertised, printed, displayed, published, distributed or
                           broadcast in any manner, any statement or representation with regard to the
                           sale of goods or the extension of consumer credit including the rates, terms
                           or conditions for the sale of such goods or the extension of such credit, which
                           is false, misleading or deceptive or which omits to state material information
                           which is necessary to make the statements therein not false, misleading or
                           deceptive.

   W. VA. CODE § 46A-6-102(7).

            1402. In the course of Mercedes’ business, it willfully failed to disclose and actively

   concealed that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, that the Polluting Vehicles emitted far more pollutants than gasoline

   powered vehicles, and that the Polluting Vehicles emitted far more pollution than a reasonable

   consumer would expect from a clean diesel, as described above. Accordingly, Mercedes engaged

   in deceptive business practices prohibited by the West Virginia CCPA, including: (1) representing

   that the Polluting Vehicles have characteristics, uses, benefits, and qualities which they do not have;

   (2) representing that the Polluting Vehicles are of a particular standard, quality, and grade when

   they are not; (3) advertising the Polluting Vehicles with the intent not to sell them as advertised; (4)

   engaging in other conduct which similarly creates a likelihood of confusion or of misunderstanding;


                                                  - 412 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 423 of 441 PageID: 4418



   (5) employing deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

   suppression or omission of any material fact with intent that others rely upon such concealment,

   suppression or omission, in connection with the sale of Polluting Vehicles; and (6) advertising using

   false, misleading, or deceptive representations that omitted material information necessary to make

   the statements not false, misleading or deceptive.

            1403. In purchasing or leasing the Polluting Vehicles, Plaintiff and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1404. Plaintiff and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiff and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1405. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1406. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1407. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiff and the Subclass.

            1408. Mercedes knew or should have known that its conduct violated the West Virginia

   CCPA.




                                                  - 413 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 424 of 441 PageID: 4419



            1409. Mercedes owed Plaintiff and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiff and the Subclass; and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiff and
                           the Subclass that contradicted these representations.

            1410. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiff and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the other Subclass

   members relied on Mercedes’ material omissions and representations that the Polluting Vehicles

   they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1411. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.


                                                    - 414 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 425 of 441 PageID: 4420



            1412. Mercedes’ conduct proximately caused injuries to Plaintiff and the other Subclass

   members.

            1413. Plaintiff and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that Plaintiff

   and the other Subclass members overpaid for their Polluting Vehicles and did not receive the benefit

   of their bargain, and their Polluting Vehicles have suffered a diminution in value. These injuries

   are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1414. Mercedes’ violations present a continuing risk to Plaintiff as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.

            1415. Pursuant to W. VA. CODE § 46A-6-106, Plaintiff seeks monetary relief against

   Mercedes measured as the greater of (a) actual damages in an amount to be determined at trial and

   (b) statutory damages in the amount of $200 per violation of the West Virginia CCPA for each

   Plaintiff and each member of the West Virginia Subclass.

            1416. Plaintiff also seeks punitive damages against Mercedes because Mercedes carried

   out despicable conduct with willful and conscious disregard of the rights of others, subjecting

   Plaintiff to cruel and unjust hardship as a result. Mercedes’ unlawful conduct constitutes malice,

   oppression, and fraud warranting punitive damages.

            1417. Plaintiff further seeks restitution, punitive damages, costs of Court, attorneys’ fees

   under W. VA. CODE § 46A-5-101, et seq., and any other just and proper relief available under the

   West Virginia CCPA.

            1418. On March 28, 2016, Plaintiff sent a letter complying with W. VA. CODE § 46A-6-

   106(b). Because Mercedes failed to remedy its unlawful conduct within the requisite time period,

   Plaintiff seeks all damages and relief to which Plaintiff and the West Virginia Subclass are entitled.



                                                  - 415 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 426 of 441 PageID: 4421



                                                COUNT II

                                   FRAUDULENT CONCEALMENT
                                 (BASED ON WEST VIRGINIA LAW)

            1419. Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

            1420. This claim is brought on behalf of the West Virginia Subclass, against Mercedes and

   Bosch.

            1421. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiff and the other Subclass members information

   that is highly relevant to their purchasing decision.

            1422. Mercedes further affirmatively misrepresented to Plaintiff in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

            1423. Mercedes knew these representations were false when made, as did Bosch.

            1424. The Polluting Vehicles purchased or leased by Plaintiff and the other Class members

   were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered vehicles and

   at a much higher rate than a reasonable consumer would expect from a clean diesel and are

   unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions.

            1425. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were


                                                  - 416 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 427 of 441 PageID: 4422



   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiff and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1426. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1427. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiff and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiff and Subclass members.

            1428. Plaintiff and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                 As

   consumers, Plaintiff and Subclass members did not, and could not, unravel Mercedes’ deception on

   their own. Rather, Mercedes intended to deceive Plaintiff and Subclass members by concealing the

   true facts about the Polluting Vehicle emissions.

            1429. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe



                                                  - 417 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 428 of 441 PageID: 4423



   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1430. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiff’s and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiff and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1431. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiff or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without

   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiff and Subclass members, Mercedes had the duty to disclose not just the partial

   truth, but the entire truth. These omitted and concealed facts were material because they directly

   impact the purchase or lease decision, as well as the value of the Polluting Vehicles purchased or

   leased by Plaintiff and Subclass members. Whether a manufacturer’s products pollute, and whether

   that manufacturer tells the truth about the emissions characteristics of its vehicles, are material

   concerns to a consumer. Mercedes represented to Plaintiff and Subclass members that they were



                                                  - 418 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 429 of 441 PageID: 4424



   purchasing or leasing reduced emission diesel vehicles, when in fact, they were purchasing or

   leasing defective, high emission vehicles.

            1432. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiff and Subclass members.

            1433. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiff and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1434. Plaintiff and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiff’s and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiff, or Subclass members.

            1435. Because of the concealment and/or suppression of the facts, Plaintiff and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.



                                                    - 419 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 430 of 441 PageID: 4425



   Had Plaintiff and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiff and Subclass members who

   purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1436. The value of Plaintiff’s and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiff’s and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1437. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.

            1438. Accordingly, Defendants are liable to Plaintiff and Subclass members for damages

   in an amount to be proven at trial.

            1439. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.




                                                - 420 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 431 of 441 PageID: 4426



   AA.      Claims brought on behalf of the Wisconsin Subclass.

                                                COUNT I

                          VIOLATIONS OF THE WISCONSIN DECEPTIVE
                                  TRADE PRACTICES ACT
                                    (WIS. STAT. § 110.18)

            1440. Plaintiff Lars Dannberg and Zbigniew Kurzawa(Plaintiffs for purposes of all

   Wisconsin Subclass Counts) incorporate by reference all preceding allegations as though fully set

   forth herein.

            1441. Plaintiffs bring this claim on behalf of the Wisconsin Subclass.

            1442. Mercedes is a “person, firm, corporation or association” within the meaning of WIS.

   STAT. § 100.18(1).

            1443. Plaintiffs and Wisconsin Subclass members are members of “the public” within the

   meaning of WIS. STAT. § 100.18(1). Plaintiffs and Wisconsin Subclass members purchased or

   leased one or more Polluting Vehicles.

            1444. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”) prohibits a

   “representation or statement of fact which is untrue, deceptive or misleading.” WIS. STAT. §

   100.18(1). In the course of Mercedes’ business, it willfully failed to disclose and actively concealed

   that the NOx reduction system in the Polluting Vehicles turns off or is limited during normal driving

   conditions, that the Polluting Vehicles emitted far more pollutants than gasoline powered vehicles,

   and that the Polluting Vehicles emitted far more pollution than a reasonable consumer would expect

   from a clean diesel, as described above. Accordingly, Mercedes engaged in deceptive business

   practices prohibited by the Wisconsin DTPA.

            1445. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Subclass

   members were deceived by Mercedes’ failure to disclose that the NOx reduction system in the

   Polluting Vehicles turns off or is limited during normal driving conditions, that the emissions

                                                 - 421 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 432 of 441 PageID: 4427



   controls were defective, and that the Polluting Vehicles emitted higher levels of pollutants than

   expected by a reasonable consumer from a clean diesel, as described above.

            1446. Plaintiffs and Subclass members reasonably relied upon Mercedes’ material

   omissions and false misrepresentations.         They had no way of knowing that Mercedes’

   representations were false and gravely misleading. As alleged herein, Mercedes engaged in

   extremely sophisticated methods of deception. Plaintiffs and Subclass members did not, and could

   not, unravel Mercedes’ deception on their own.

            1447. Mercedes’ actions as set forth above occurred in the conduct of trade or commerce.

            1448. Mercedes’ unfair or deceptive acts or practices were likely to and did in fact deceive

   reasonable consumers.

            1449. Mercedes intentionally and knowingly failed to disclose and misrepresented material

   facts regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Subclass.

            1450. Mercedes knew or should have known that its conduct violated the Wisconsin

   DTPA.

            1451. Mercedes owed Plaintiffs and the Subclass a duty to disclose the truth about its

   emissions systems manipulation because Mercedes:

                     a.    Possessed exclusive knowledge that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions;

                     b.    Intentionally concealed the foregoing from Plaintiffs and the Subclass;
                           and/or

                     c.    Made incomplete representations that it manipulated the emissions system in
                           the Polluting Vehicles to turn off or limit effectiveness in normal driving
                           conditions, while purposefully withholding material facts from Plaintiffs and
                           the Subclass that contradicted these representations.

            1452. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that these Polluting Vehicles

                                                  - 422 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 433 of 441 PageID: 4428



   were defective and emitted pollutants at a much higher rate than gasoline powered vehicles and that

   the emissions far exceeded those expected by a reasonable consumer from a clean diesel, because,

   having volunteered to provide information to Plaintiffs and Subclass members, Mercedes had the

   duty to disclose not just the partial truth, but the entire truth. Further, Plaintiffs and the other

   Subclass members relied on Mercedes’ material omissions and representations that the Polluting

   Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

            1453. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.

   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1454. Mercedes’ conduct proximately caused injuries to Plaintiffs and the other Subclass

   members.

            1455. Plaintiffs and the other Subclass members were injured and suffered ascertainable

   loss, injury-in-fact, and/or actual damage as a proximate result of Mercedes’ conduct in that

   Plaintiffs and the other Subclass members overpaid for their Polluting Vehicles and did not receive

   the benefit of their bargain, and their Polluting Vehicles have suffered a diminution in value. These

   injuries are the direct and natural consequence of Mercedes’ misrepresentations and omissions.

            1456. Mercedes’ violations present a continuing risk to Plaintiffs as well as to the general

   public. Mercedes’ unlawful acts and practices complained of herein affect the public interest.



                                                  - 423 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 434 of 441 PageID: 4429



             1457. Plaintiffs and the Wisconsin Subclass are entitled to damages and other relief

   provided for under WIS. STAT. § 100.18(11)(b)(2). Because Mercedes’ conduct was committed

   knowingly and/or intentionally, Plaintiffs` and the Wisconsin Subclass are entitled to treble

   damages.

             1458. Plaintiffs and the Wisconsin Subclass also seek court costs and attorneys’ fees under

   WIS. STAT. § 110.18(11)(b)(2).

                                                 COUNT II

                                    FRAUDULENT CONCEALMENT
                                     (BASED ON WISCONSIN LAW)

             1459. Plaintiffs incorporate by reference all preceding allegations as though fully set forth

   herein.

             1460. This claim is brought on behalf of the Wisconsin Subclass, against Mercedes and

   Bosch.

             1461. Mercedes intentionally concealed that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, and that the Polluting Vehicles

   had defective emissions controls, emitted pollutants at a higher level than gasoline powered vehicles

   and higher than a reasonable consumer would expect from a clean diesel, or Mercedes acted with

   reckless disregard for the truth, and denied Plaintiffs and the other Subclass members information

   that is highly relevant to their purchasing decision.

             1462. Mercedes further affirmatively misrepresented to Plaintiffs in advertising and other

   forms of communication, including standard and uniform material provided with each car, that the

   Polluting Vehicles it was selling had no significant defects, were Earth-friendly and low- emission

   vehicles, and would perform and operate properly when driven in normal usage.

             1463. Mercedes knew these representations were false when made, as did Bosch.


                                                   - 424 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 435 of 441 PageID: 4430



            1464. The Polluting Vehicles purchased or leased by Plaintiffs and the other Subclass

   members were, in fact, defective, emitted pollutants at a much higher rate than gasoline powered

   vehicles and at a much higher rate than a reasonable consumer would expect from a clean diesel

   and are unreliable because the NOx reduction system in the Polluting Vehicles turns off or is limited

   during normal driving conditions.

            1465. Mercedes had a duty to disclose that the NOx reduction system in the Polluting

   Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles were

   defective and emitted pollutants at a much higher rate than gasoline powered vehicles, and that the

   emissions far exceeded those expected by a reasonable consumer and were unreliable, because

   Plaintiffs and the other Subclass members relied on Mercedes’ material omissions and

   representations that the Polluting Vehicles they were purchasing were reduced emission vehicles,

   efficient, and free from defects.

            1466. As alleged in this Complaint, at all relevant times, Mercedes has held out the

   Polluting Vehicles to be reduced emissions vehicles. Mercedes disclosed certain details about the

   BlueTEC Clean Diesel engine, but nonetheless, Mercedes intentionally failed to disclose the

   important facts that the NOx reduction system in the Polluting Vehicles turns off or is limited during

   normal driving conditions, and that the Polluting Vehicles had defective emissions controls and

   emitted higher levels of pollutants than expected by a reasonable consumer from a clean diesel,

   making other disclosures about the emission system deceptive.

            1467. The truth about the defective emissions controls and Mercedes’ manipulations of

   those controls was known only to Mercedes; Plaintiffs and the Subclass members did not know of

   these facts and Mercedes actively concealed these facts from Plaintiffs and Subclass members.




                                                  - 425 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 436 of 441 PageID: 4431



            1468. Plaintiffs and Subclass members reasonably relied upon Mercedes’ deception. They

   had no way of knowing that Mercedes’ representations were false and/or misleading.                  As

   consumers, Plaintiffs and Subclass members did not, and could not, unravel Mercedes’ deception

   on their own. Rather, Mercedes intended to deceive Plaintiffs and Subclass members by concealing

   the true facts about the Polluting Vehicle emissions.

            1469. Mercedes also concealed and suppressed material facts concerning what is evidently

   the true culture of Mercedes—one characterized by an emphasis on profits and sales above

   providing a clean diesel vehicle. Consumers buy diesel cars from Mercedes because they believe

   they are clean diesel cars. They do not want to be spewing noxious gases into the environment.

   And yet, that is precisely what the Polluting Vehicles are doing.

            1470. Mercedes’ omissions and false representations were material to consumers, because

   they concerned the quality of the Polluting Vehicles, and also because the representations played a

   significant role in Plaintiffs’ and Subclass members’ decision to purchase the Polluting Vehicles

   and establishing the value of the vehicles. As Mercedes well knew, its customers, including

   Plaintiffs and Subclass members, highly valued that the vehicles they were purchasing or leasing

   were fuel efficient, clean diesel cars with reduced emissions, and they paid accordingly.

            1471. Mercedes had a duty to disclose the emissions defect and defective design of

   emissions controls in the Polluting Vehicles because details of the true facts were known and/or

   accessible only to Mercedes, because Mercedes had exclusive knowledge as to such facts, and

   because Mercedes knew these facts were not known to or reasonably discoverable by Plaintiffs or

   Subclass members. Mercedes also had a duty to disclose because it made general affirmative

   representations about the qualities of its vehicles with respect to emissions, starting with references

   to them as reduced emissions diesel cars, which were misleading, deceptive, and incomplete without



                                                  - 426 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 437 of 441 PageID: 4432



   the disclosure of the additional facts set forth above regarding the actual emissions of its vehicles,

   and its actual practices with respect to the vehicles at issue. Having volunteered to provide

   information to Plaintiffs and Subclass members, Mercedes had the duty to disclose not just the

   partial truth, but the entire truth. These omitted and concealed facts were material because they

   directly impact the purchase or lease decision, as well as the value of the Polluting Vehicles

   purchased or leased by Plaintiffs and Subclass members. Whether a manufacturer’s products

   pollute, and whether that manufacturer tells the truth about the emissions characteristics of its

   vehicles, are material concerns to a consumer. Mercedes represented to Plaintiffs and Subclass

   members that they were purchasing or leasing reduced emission diesel vehicles, when in fact, they

   were purchasing or leasing defective, high emission vehicles.

            1472. Mercedes actively concealed and/or suppressed these material facts, in whole or in

   part, to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

   vehicles, which perception would hurt the brand’s image and cost Mercedes money, and it did so

   at the expense of Plaintiffs and Subclass members.

            1473. Mercedes has still not made full and adequate disclosures, and continues to defraud

   Plaintiffs and Subclass members by concealing material information regarding the emissions

   qualities of its referenced vehicles.

            1474. Plaintiffs and Subclass members were unaware of the omitted material facts

   referenced herein, and they would not have acted as they did if they had known of the concealed

   and/or suppressed facts, in that they would not have purchased purportedly reduced emissions diesel

   cars manufactured by Mercedes, would have paid less, and/or would not have continued to drive

   their heavily polluting vehicles, or would have taken other affirmative steps in light of the

   information concealed from them. Plaintiffs’ and Subclass members’ actions were justified.



                                                  - 427 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 438 of 441 PageID: 4433



   Mercedes was in exclusive control of the material facts, and such facts were not generally known

   to the public, Plaintiffs, or Subclass members.

            1475. Because of the concealment and/or suppression of the facts, Plaintiffs and Subclass

   members have sustained damage because they were deprived of the benefit of the bargain, they own

   vehicles that are diminished in value as a result of Mercedes’ concealment of the true quality and

   quantity of those vehicles’ emissions and Mercedes’ failure to timely disclose the defect or defective

   design of the BlueTEC Clean Diesel engine system, the actual emissions qualities and quantities of

   Mercedes-branded vehicles, and the serious issues engendered by Mercedes’ corporate policies.

   Had Plaintiffs and Subclass members been aware of the true emissions facts with regard to the

   Polluting Vehicles, and the Company’s disregard for the truth, Plaintiffs and Subclass members

   who purchased or leased new or certified previously owned vehicles would have paid less for their

   vehicles or would not have purchased or leased them at all.

            1476. The value of Plaintiffs’ and Subclass members’ vehicles has diminished as a result

   of Mercedes’ fraudulent concealment of the defective emissions controls of the Polluting Vehicles,

   which has greatly tarnished the Mercedes brand name attached to Plaintiffs’ and Subclass members’

   vehicles and made any reasonable consumer reluctant to purchase any of the Polluting Vehicles, let

   alone pay what otherwise would have been fair market value for the vehicles.

            1477. Bosch played a critical role in facilitating, and itself contributed to, Mercedes’

   fraudulent concealment. Bosch knew that Mercedes would use and had used the Bosch technology

   as a means to turn off or limit emission controls during normal driving conditions so that the

   Polluting Vehicles would not be clean diesels, and in fact Bosch helped Mercedes do so. Without

   Bosch’s complicity and silence, Mercedes could not have perpetrated the fraudulent scheme alleged

   herein, and Bosch’s actions themselves constitute fraudulent concealment.



                                                 - 428 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 439 of 441 PageID: 4434



            1478. Accordingly, Defendants are liable to Plaintiffs and Subclass members for damages

   in an amount to be proven at trial.

            1479. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

   intent to defraud, and in reckless disregard of Plaintiffs’ and Subclass members’ rights and the

   representations that Mercedes made to them, in order to enrich Defendants. Defendants’ conduct

   warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

   future, which amount is to be determined according to proof.

                                         REQUEST FOR RELIEF

            WHEREFORE, Plaintiffs, individually and on behalf of members of the Nationwide Class

   and State Subclasses, respectfully request that the Court enter judgment in their favor and against

   Mercedes, as follows:

            A.       Certification of the proposed Nationwide Class and State Subclasses, including

   appointment of Plaintiffs’ counsel as Class Counsel;

            B.       Restitution, including at the election of Class members, recovery of the purchase

   price of their Polluting Vehicles, or the overpayment or diminution in value of their Polluting

   Vehicles;

            C.       Damages, including punitive damages, costs, and disgorgement in an amount to be

   determined at trial, except that monetary relief under certain consumer protection statutes, as stated

   above, shall be limited prior to completion of the applicable notice requirements;

            D.       An order requiring Mercedes to pay both pre- and post-judgment interest on any

   amounts awarded;

            E.       An award of costs and attorneys’ fees; and

            F.       Such other or further relief as may be appropriate.



                                                   - 429 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 440 of 441 PageID: 4435



                                      DEMAND FOR JURY TRIAL

            Plaintiffs hereby demand a jury trial for all claims so triable.

    DATED: March 15, 2019                          Respectfully submitted,

                                                   CARELLA, BYRNE, CECCHI, OLSTEIN,
                                                   BRODY & AGNELLO, P.C.

                                                   By /s/ James E. Cecchi
                                                       James E. Cecchi
                                                   5 Becker Farm Road
                                                   Roseland, New Jersey 07068
                                                   Tel: (973) 994-1700
                                                   Fax: (973) 994-1744

                                                   Steve W. Berman
                                                   Sean R. Matt
                                                   HAGENS BERMAN SOBOL SHAPIRO LLP
                                                   1301 Second Avenue, Suite 2000
                                                   Seattle, Washington 98101
                                                   Tel: (206) 623-7292
                                                   Fax: (206) 623-0594
                                                   steve@hbsslaw.com
                                                   sean@hbsslaw.com

                                                   Interim Lead Counsel for Plaintiffs and the
                                                   Proposed Classes

                                                   Christopher A. Seeger
                                                   SEEGER WEISS LLP
                                                   77 Water Street, New York,
                                                   New York, NY 10005
                                                   Tel: (212) 584-0700
                                                   Fax: (212) 584-0799
                                                   cseeger@seegerweiss.com

                                                   Bob Hilliard
                                                   HILLIARD MUNOZ GONZALES LLP
                                                   719 S Shoreline Blvd, # 500
                                                   Corpus Christi, TX 78401
                                                   Tel: (361) 882-1612
                                                   bobh@hmglawfirm.com




                                                    - 430 -
   010585-11/1108566 V1
Case 2:16-cv-00881-JLL-JAD Document 185 Filed 03/15/19 Page 441 of 441 PageID: 4436



                                      Jeffrey S. Goldenberg
                                      GOLDENBERG SCHNEIDER, L.P.A.
                                      One West Fourth Street, 18th Floor
                                      Cincinnati, OH 45202-3604
                                      Tel: (513) 345-4291
                                      Fax: (513) 345-8294
                                      jgoldenberg@gs-legal.com

                                      David Freydin
                                      Timothy A. Scott
                                      LAW OFFICES OF DAVID FREYDIN, PC
                                      8707 Skokie Blvd., Suite 305
                                      Skokie, Illinois 60077
                                      Tel: (847) 972-6157
                                      Fax: (866) 897-7577
                                      david.freydin@freydinlaw.com

                                      Joseph F. Rice, Esq.
                                      Jodi Westbrook Flowers, Esq.
                                      Kevin R. Dean, Esq.
                                      MOTLEY RICE, LLC
                                      28 Bridgeside Boulevard
                                      Mount Pleasant, SC 29464
                                      Tel: (843) 216-9000
                                      Fax: (843) 2216-9450
                                      jrice@motleyrice.com
                                      jflowers@motleyrice.com
                                      kdean@motleyrice.com

                                      Benjamin L. Bailey
                                      BAILEY GLASSER LLP
                                      209 Capitol Street
                                      Charleston, WV 25301
                                      Tel 304.345.6555
                                      Fax: 304.342.1110
                                      Email: bbailey@baileyglasser.com

                                      Other Attorneys for Plaintiffs and the Proposed
                                      Classes




                                      - 431 -
   010585-11/1108566 V1
